1:23-cv-01184-CRL-JEH # 318-2   Filed: 04/22/24   Page 1 of 65




              Exhibit 
             1:23-cv-01184-CRL-JEH # 318-2                  Filed: 04/22/24      Page 2 of 65
                                                                      Johnnie Lee Savory 02/17/2023

·1· · · · · IN THE UNITED STATES DISTRICT COURT            ·1· ·APPEARANCES:

·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS               ·2· · · · · THE SOTOS LAW FIRM

·3· · · · · · · · · ·EASTERN DIVISION                      ·3· · · · · BY:· MR. JAMES G. SOTOS

·4· ·JOHNNIE LEE SAVORY,· · · · )                          ·4· · · · · BY:· MR. KYLE CHRISTIE

·5· · · · · · · ·Plaintiff,· · ·)                          ·5· · · · · 141 WEST JACKSON BOULEVARD

·6· · ·vs.· · · · · · · · · · · )· No. 17-CV-00204         ·6· · · · · SUITE 1240-A

·7· ·WILLIAM CANNON, as· · · · ·)                          ·7· · · · · CHICAGO, IL, 60604

·8· ·Administrator for the· · · )                          ·8· · · · · 630-735-3300

·9· ·Estate of CHARLES· · · · · )                          ·9· · · · · Jsotos@jsotoslaw.com

10· ·CANNON,· · · · · · · · · · )                          10· · · · · Kchristie@jsotoslaw.com

11· · · · · · · ·Defendants.· · )                          11· · · · · · · ·Representing the Defendant.

12· · · · · The videotaped deposition of JOHNNIE LEE       12

13· ·SAVORY, called for examination pursuant to the        13· ·***ALSO PRESENT:· JOHN D'ANDREA, VIDEOGRAPHER***

14· ·Rules of Civil Procedure for the United States        14

15· ·District Courts pertaining to the taking of           15

16· ·depositions, taken before MARY ELLYN D'ANDREA,        16

17· ·taken at 141 West Jackson Boulevard, Chicago,         17

18· ·Illinois on February 17, 2023, at the hour of         18

19· ·1:00 p.m.                                             19

20                                                         20

21                                                         21

22                                                         22

23· ·REPORTED BY:· MARY ELLYN D'ANDREA, CSR                23

24· ·LICENSE NO:· ·084-002318                              24

                                                       1                                                        3

·1· ·APPEARANCES:                                          ·1· · · · · · · · · · I N D E X.

·2· · · · · LOEVY & LOEVY                                  ·2· ·WITNESS· · · · · · · · · · · · · · · EXAMINATION

·3· · · · · BY:· MR. LOCKE E. BOWMAN, III                  ·3· ·JOHNNIE LEE SAVORY

·4· · · · · BY:· MS. LINDSAY HAGY                          ·4· · ·BY MR. SOTOS· · · · · · · · · · · · · · 7

·5· · · · · BY:· MR. STEVEN ART (via zoom)                 ·5

·6· · · · · 311 NORTH ABERDEEN                             ·6

·7· · · · · 3rd FLOOR                                      ·7

·8· · · · · CHICAGO, IL, 60607                             ·8

·9· · · · · 312-243-5900                                   ·9

10· · · · · Locke@loevy.com                                10· · · · · · · · ·E X H I B I T S

11· · · · · Lindsay@loevy.com                              11· ·NUMBER· · · · · · · · · · · · · · ·MARKED FOR ID

12· · · · · Sart@loevy.com                                 12· ·SAVORY Deposition Exhibit

13                                                         13· · · ·(Exhibits 1-26 pre-marked and retained)

14· · · · · · · ·And                                       14

15                                                         15· ·Exhibit No. 27· · · · · · · · · · · · · · 89

16· · · · · PEOPLE'S LAW OFFICES                           16· ·Exhibit No. 28· · · · · · · · · · · · · · 194

17· · · · · BY:· MR. G. FLINT TAYLOR, JR.                  17· ·Exhibit No. 29· · · · · · · · · · · · · · 202

18· · · · · BY:· MR. BRAD THOMSEN                          18· · · · (Exhibits 27-29 marked and retained)

19· · · · · 1180 NORTH MILWAUKEE AVENUE                    19

20· · · · · CHICAGO, IL, 60622                             20

21· · · · · 773.235-0070                                   21

22· · · · · Flint.taylor10@gmail.com                       22

23· · · · · Brad@peopleslawoffice.com                      23

24· · · · · · · · · · Representing the Plaintiff;          24

                                                       2                                                        4

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24      Page 3 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· · · · · · THE VIDEOGRAPHER:· Good afternoon.· My       ·1· · · · · · · · · JOHNNIE LEE SAVORY,
·2· ·name is John D'Andrea, Legal Video Specialist         ·2· ·having been first duly sworn, was examined and
·3· ·with McCorkle Litigation Services located in          ·3· ·testified as follows:
·4· ·Chicago, Illinois.                                    ·4· · · · · · · · · · EXAMINATION
·5· · · · · · I am the videographer on Friday,             ·5· ·BY MR. SOTOS:
·6· ·February 17, 2023 for the recording of the            ·6· · · ·Q.· ·Mr. Savory, thank you for being here.
·7· ·deposition of Johnnie Lee Savory being taken at       ·7· · · · · · This is your second go around for your
·8· ·141 West Jackson Boulevard in Chicago, Illinois.      ·8· ·deposition, correct?
·9· ·at the time of 13:11 in the matter of Johnnie         ·9· · · ·A.· ·Yes, sir.
10· ·Lee Savory versus William Cannon et al., filed        10· · · ·Q.· ·Do you recall last time being kind of
11· ·in the United States District Court for the           11· ·given all the ground rules by Ms. Schroeder?
12· ·Northern District of Illinois, Eastern Division,      12· · · ·A.· ·Somewhat, yes.
13· ·Case No. 17 CV 00204.                                 13· · · ·Q.· ·Do you need me to repeat all those?
14· · · · · Will Counsel please identify themselves        14· · · ·A.· ·Yes, I would like you to.
15· ·for the record beginning with Plaintiff's             15· · · ·Q.· ·All right.· Well, you know, this is a
16· ·Counsel, and the court reporter, Mea D'Andrea         16· ·question and answer session, so you should
17· ·will swear in the witness.                            17· ·understand that I'll be asking questions, let me
18· · · · · · MR. TAYLOR:· Flint Taylor.· That's           18· ·finish my questions, and then you give your
19· ·F-l-i-n-t, Taylor for Mr. Savory.                     19· ·answer.· I will try and let you finish your
20· · · · · · MR. BOWMAN:· Locke, L-o-c-k-e, Bowman        20· ·answer before I ask another question.
21· ·on behalf of Savory.                                  21· · · · · · If you don't understand any of my
22· · · · · · MS. HAGY:· Lindsay, L-i-n-d-s-a-y,           22· ·questions, let me know.· If you do answer the
23· ·Hagy, H-a-g-y, on behalf of Mr. Savory.               23· ·question, I'll assume you understood it.
24· · · · · · MR. THOMSEN:· Brad Thomsen on behalf of      24· · · · · · If you want to take a break, just let
                                                       5                                                          7

·1· ·Mr. Savory.                                           ·1· ·me know, I'm just going to ask you not to take a
·2· · · · · · MR. SOTOS:· Jim Sotos on behalf of the       ·2· ·break while there is a question pending.
·3· ·Defendant.                                            ·3· · · · · · Try to make your answers verbal.· We
·4· · · · · · MR. CHRISTIE:· Kyle Christie on behalf       ·4· ·will all have a tendency to shrug our shoulders,
·5· ·of the Defendants.                                    ·5· ·or say you uh-huh, ugh-ugh when we communicate,
·6· · · · · · · · · ·(Whereupon, the witness was duly      ·6· ·but if you do that here, the court reporter
·7· · · · · · · · · · sworn.)                              ·7· ·won't be able to take it down.
·8· · · · · · MR. TAYLOR:· One brief thing, Jim, as        ·8· · · · · · So, you know, it will probably happen
·9· ·I'm sure you're aware this is the continued           ·9· ·once in awhile anyway, but just try to be as
10· ·deposition of Johnnie Savory pursuant to Court        10· ·verbal as you can.
11· ·Order, and the Judge has delineated the topics,       11· · · ·A.· ·Yes, sir.
12· ·and I'm sure you're familiar with the topics, as      12· · · ·Q.· ·Okay.· All right.
13· ·we are, and we hopefully will just proceed in         13· · · · · · So, I have -- I have a stack of
14· ·that manner.                                          14· ·exhibits there that I asked your Counsel to
15· · · · · · MR. SOTOS:· That's the plan.                 15· ·place in front of you.· We are going to try and
16· · · · · · MR. TAYLOR:· Okay.· Good.                    16· ·just run through those in the time that's
17· · · · · · MR. SOTOS:· Let the record reflect this      17· ·allotted.· We've got a four hour window here,
18· ·is the deposition, the continued deposition of        18· ·and we are going to try and go through those as
19· ·the Plaintiff, Johnnie Savory, taken pursuant to      19· ·best we can.· All right.
20· ·notice and in accordance with all applicable          20· · · · · · MR. SOTOS:· So, if you could take the
21· ·rules.                                                21· ·-- if you could just give him the first one,
22                                                         22· ·Deposition Exhibit No. 1.
23                                                         23· · · · · · You can even put the stack in front of
24                                                         24· ·him, or give them to him one at a time, it's up
                                                       6                                                          8

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24         Page 4 of 65
                                                                       Johnnie Lee Savory 02/17/2023


·1· ·to you.                                               ·1· ·BY MR. SOTOS:
·2· · · · · · MR. TAYLOR:· We will share them.             ·2· · · ·Q.· ·You can answer.
·3· ·BY MR. SOTOS:                                         ·3· · · ·A.· ·Okay.· In my last deposition I think I
·4· · · ·Q.· ·Mr. Savory, do you have an injury, or        ·4· ·said I known him since third grade.
·5· ·--                                                    ·5· · · ·Q.· ·Since third grade.· All right.
·6· · · ·A.· ·-- no, I need my glasses to be able to       ·6· · · ·A.· ·Yes, sir.
·7· ·see it.                                               ·7· · · ·Q.· ·And according to the report you stated
·8· · · ·Q.· ·I brought mine, too.                         ·8· ·that you had also known Connie and said that she
·9· · · · · · MR. BOWMAN:· I think that there are          ·9· ·had changed your diapers?
10· ·some folks on zoom, so maybe just identify this       10· · · · · · MR. TAYLOR:· Same objection.
11· ·for the record so the folks can now follow.           11· ·BY MR. SOTOS:
12· · · · · · MR. SOTOS:· Sure.                            12· · · ·Q.· ·Do you recall stating that to the
13· ·BY MR. SOTOS:                                         13· ·officers?
14· · · ·Q.· ·So, while you're getting your glasses        14· · · ·A.· ·No.
15· ·ready, let me state, your lawyer, your Counsel        15· · · ·Q.· ·Okay.· Is it that you don't recall
16· ·has placed in front of you a document that has        16· ·saying it, or are you saying that you did not
17· ·been marked Exhibit No. 1 for your second             17· ·say that?
18· ·deposition.· It's Bates stamped Savory 5763           18· · · ·A.· ·I did not say that.· I did not know
19· ·through 5766.· It's January 25, 1977 report of        19· ·Connie.
20· ·Defendant, Cannon.                                    20· · · ·Q.· ·Okay.· So, do you have any idea where
21· · · · · · So, are you able to see that okay?           21· ·the officers may have gotten that information
22· · · ·A.· ·Yes.                                         22· ·from to include it in the report?
23· · · ·Q.· ·So, I'll, just -- let me just tell you       23· · · ·A.· ·No, sir.
24· ·this is a report that purports to summarize your      24· · · · · · MR. BOWMAN:· Objection on form.
                                                       9                                                         11

·1· ·first interview at the Peoria Police Department       ·1· · · · · · MR. TAYLOR:· Objection --
·2· ·when you were brought into the Department by          ·2· · · · · · MR. SOTOS:· -- there must have been
·3· ·Defendants, Pinkney and Haynes and then               ·3· ·something wrong for the question for them both
·4· ·interviewed by Defendants Cannon and Fiers; do        ·4· ·to object at the same time.
·5· ·you remember that?                                    ·5· · · · · · MR. TAYLOR:· Different grounds.
·6· · · · · · MR. BOWMAN:· Object to the form of the       ·6· ·BY MR. SOTOS:
·7· ·question.                                             ·7· · · ·Q.· ·As far as you know, do you know of any
·8· ·BY MR. SOTOS:                                         ·8· ·place where the officers would have gotten that
·9· · · ·Q.· ·Yeah, there may have been other              ·9· ·information other than through their
10· ·officers there.· So, do you remember your first       10· ·conversation with you?
11· ·interview at the Peoria Police Department on          11· · · ·A.· ·No, sir.
12· ·January 25?                                           12· · · · · · MR. BOWMAN:· Objection, foundation.
13· · · ·A.· ·Somewhat yes.                                13· ·BY MR. SOTOS:
14· · · ·Q.· ·All right.· I just want to ask you some      14· · · ·Q.· ·All right.
15· ·questions sir about that particular interview.        15· · · · · · MR. BOWMAN:· Johnnie, will you wait for
16· · · ·A.· ·Yes, sir.                                    16· ·just a minute so I get an objection out.· Thank
17· · · ·Q.· ·Okay.· According to the report, you          17· ·you.
18· ·told the officers who were interviewing you, and      18· ·BY MR. SOTOS:
19· ·this is in the first paragraph that you had           19· · · ·Q.· ·So, I'm still on the first paragraph of
20· ·known Scopey all of his life.                         20· ·the report right now.
21· · · · · · Is that -- as far as you know today a        21· · · · · · The next line says, Johnnie states that
22· ·generally accurate statement of what you said?        22· ·he has been to Scopey's house on numerous
23· · · · · · MR. TAYLOR:· Objection to form.              23· ·occasions including the house on Garden along
24                                                         24· ·with the residence on Rice Street.
                                                      10                                                         12

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                1:23-cv-01184-CRL-JEH # 318-2               Filed: 04/22/24      Page 5 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· · · · · · Did you tell the officers something          ·1· ·BY MR. SOTOS:
·2· ·along those lines during the interview?               ·2· · · ·Q.· ·January 17th, the day before they were
·3· · · · · · MR. TAYLOR:· Objection to the form.          ·3· ·killed.
·4· ·BY MR. SOTOS:                                         ·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·You can answer.                              ·5· · · ·Q.· ·Okay.· And did you tell them that you
·6· · · ·A.· ·Would you repeat that again?                 ·6· ·attended school and were released at 6:30 at
·7· · · ·Q.· ·Sure.· According to the report, the          ·7· ·which time you walked to Jefferson Street and
·8· ·report says that Johnnie states that Scopey           ·8· ·boarded the bus with Scopey?
·9· ·was -- yeah, that Scopey -- I'm reading the           ·9· · · · · · MR. TAYLOR:· I'm going to object to the
10· ·wrong line.                                           10· ·form, because it has multiple pieces to that
11· · · · · · The report states that Johnnie states        11· ·question.
12· ·that he has been to Scopey's house on numerous        12· ·BY MR. SOTOS:
13· ·occasions including the house on Garden along         13· · · ·Q.· ·Did you understand the question okay?
14· ·with the residence on Rice Street.                    14· · · · · · I am referring to the second to last
15· · · · · · Did you state that to the officers that      15· ·sentence in the first paragraph where it says
16· ·day?                                                  16· ·Johnnie states they attended school and was
17· · · ·A.· ·No, sir.                                     17· ·released at 6:30 when they walked to Jefferson
18· · · ·Q.· ·Okay.· Did you know that Johnnie Lee --      18· ·Street and boarded the bus?
19· ·excuse me, that Scopey lived at one point in his      19· · · ·A.· ·I know we boarded the school bus, yes.
20· ·life on Rice Street?                                  20· · · ·Q.· ·Okay.· Were you released from school at
21· · · ·A.· ·No.                                          21· ·6:30?
22· · · ·Q.· ·Had you ever been to his house on Rice       22· · · ·A.· ·Yes.
23· ·Street?                                               23· · · ·Q.· ·And did you tell the officers that?
24· · · ·A.· ·No.                                          24· · · ·A.· ·Yes.
                                                      13                                                         15

·1· · · ·Q.· ·Had you ever been to his house on            ·1· · · ·Q.· ·Okay.· And did you tell the officers
·2· ·Garden prior to January 17th, 1977?                   ·2· ·that you then took the bus to 3033 West Garden
·3· · · ·A.· ·No.                                          ·3· ·Street where Scopey lived?
·4· · · ·Q.· ·So, just to be clear, it's your              ·4· · · ·A.· ·Yes.
·5· ·testimony that you did not tell that to the           ·5· · · ·Q.· ·All right.· Did you tell the officers
·6· ·officer?                                              ·6· ·that when you arrived at the house, that you saw
·7· · · ·A.· ·Yes, sir.                                    ·7· ·Scopey reach into the mailbox to pull out a key?
·8· · · ·Q.· ·According to the report you said that        ·8· · · ·A.· ·I don't recall that.
·9· ·Scopey was your best friend.                          ·9· · · ·Q.· ·You don't remember, or you didn't say
10· · · · · · Did you tell the officer that?               10· ·that?
11· · · ·A.· ·Yes.                                         11· · · ·A.· ·I don't -- I don't recall.
12· · · ·Q.· ·Did you tell the officer that you            12· · · ·Q.· ·Do you remember arriving at the house
13· ·attended school with Scopey at Loucks,                13· ·and reaching in the mail and seeing Scopey take
14· ·L-o-u-c-k's School?                                   14· ·the key of the mailbox?
15· · · ·A.· ·Yes.                                         15· · · ·A.· ·No.
16· · · ·Q.· ·And did you tell them that you were          16· · · ·Q.· ·You don't remember that happening?
17· ·attending the late afternoon high school with         17· · · ·A.· ·No, I don't.· No, I did not see him or
18· ·Scopey?                                               18· ·say that.
19· · · ·A.· ·Yes.                                         19· · · ·Q.· ·Okay.· I just want to make sure I'm
20· · · ·Q.· ·Did you tell them that you arrived at        20· ·clear.· You don't remember if you saw that now,
21· ·the school on Monday January 17th at around 3:30      21· ·or you're saying that didn't happen?
22· ·and met with Scopey?                                  22· · · ·A.· ·I did not see him reach in no mailbox.
23· · · · · · MR. TAYLOR:· Objection to form.              23· · · ·Q.· ·Do you remember, as you sit here today,
24· · · · · · THE WITNESS:· What day did you say?          24· ·how he got into the house?
                                                      14                                                         16

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                1:23-cv-01184-CRL-JEH # 318-2               Filed: 04/22/24         Page 6 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· · · ·A.· ·I believe -- I believe it was a              ·1· · · ·A.· ·Yes, but I don't remember what officers
·2· ·doormat.                                              ·2· ·I was talking to at the time.
·3· · · ·Q.· ·He got the key under the doormat?            ·3· · · ·Q.· ·Okay.· At some point you made a comment
·4· · · ·A.· ·I believe that's where he got the key.       ·4· ·-- a statement to some officer about the coffee
·5· · · ·Q.· ·And you think -- do you believe, as you      ·5· ·table --
·6· ·sit here today, that that's what you told the         ·6· · · ·A.· ·-- yes --
·7· ·officers?                                             ·7· · · ·Q.· ·-- you just don't remember exactly when
·8· · · ·A.· ·About what I just said?                      ·8· ·or who?
·9· · · ·Q.· ·Yeah, about where he got the key from?       ·9· · · ·A.· ·Yes.
10· · · ·A.· ·Yes.                                         10· · · ·Q.· ·Okay.· What do you remember saying to
11· · · ·Q.· ·All right.· Can you turn to the second       11· ·some officer about the coffee table?
12· ·page, because you'll be pleased to hear that          12· · · ·A.· ·We moved it because we were playing and
13· ·we're not going to go line by line through the        13· ·wrestling, and we just didn't want to
14· ·entire report.· We'll cover a good deal of it.        14· ·accidentally bump into the table.
15· · · · · · In the first full paragraph on the           15· · · ·Q.· ·Right.
16· ·second page it states, that after entering the        16· · · ·A.· ·The same as in my last deposition.
17· ·house that you and Scopey went into the living        17· · · ·Q.· ·Okay.· And then the next sentence says
18· ·room, and Scopey moved the coffee table to on         18· ·that you told the officers that Scopey took the
19· ·top of the chair located on the north wall --         19· ·portable TV set off of the table and placed it
20· · · · · · MR. TAYLOR:· -- objection, form.             20· ·on the floor so that it wouldn't be broken.
21· ·BY MR. SOTOS:                                         21· · · · · · MR. TAYLOR:· Objection, form.
22· · · ·Q.· ·Do you see where it states that, the         22· ·BY MR. SOTOS:
23· ·first sentence in that first full paragraph?          23· · · ·Q.· ·Do you recall telling the officers
24· · · ·A.· ·No.                                          24· ·that?
                                                      17                                                         19

·1· · · ·Q.· ·You're saying no, you didn't say that?       ·1· · · ·A.· ·No.
·2· · · ·A.· ·I did not say that.                          ·2· · · ·Q.· ·Okay.· Now, you never told any officer
·3· · · ·Q.· ·But you see where the report says that?      ·3· ·that at any time?
·4· · · ·A.· ·I see where it says that.                    ·4· · · · · · MR. TAYLOR:· Objection, form.
·5· · · ·Q.· ·Did you say anything to the officers in      ·5· · · · · · THE WITNESS:· No.
·6· ·regard to anyone moving the coffee table after        ·6· ·BY MR. SOTOS:
·7· ·you entered the house?                                ·7· · · ·Q.· ·Did you ever make a statement to any
·8· · · · · · MR. TAYLOR:· Objection.· Just for            ·8· ·police officers about the movement of the
·9· ·clarification, Jim, you're talking about any          ·9· ·television set after you entered the house?
10· ·officer, or just this officer at this time            10· · · ·A.· ·Are you asking -- well, could you say
11· ·that's reflected in the report?                       11· ·that question again?
12· · · · · · MR. SOTOS:· Right now I'm asking about       12· · · ·Q.· ·Did you ever say anything to any
13· ·this -- when he talked to the first officer the       13· ·officer about the TV set being moved anywhere
14· ·first time you went to the police station.            14· ·after you went to the house with Scopey on
15· ·BY MR. SOTOS:                                         15· ·January 17th?
16· · · ·Q.· ·Did you make any statement about anyone      16· · · ·A.· ·As I stated, we did not physically
17· ·moving the coffee table?                              17· ·remove the television from the stand, so no.
18· · · ·A.· ·46 years ago -- can you give me a            18· · · ·Q.· ·Okay.· You didn't take -- did you move
19· ·minute?· It's 46 years, almost 50 years ago.          19· ·the stand with the TV set on it?
20· · · ·Q.· ·If you don't remember, you can say           20· · · ·A.· ·The stand had wheels on it, so just
21· ·that.· I understand it's been awhile.                 21· ·pushed it to the side, that's about it, we
22· · · ·A.· ·Yes, but not --                              22· ·didn't pick it up or --
23· · · ·Q.· ·-- go ahead.· I didn't mean to cut you       23· · · ·Q.· ·-- you just pushed it aside?
24· ·off there.                                            24· · · ·A.· ·There you go.
                                                      18                                                         20

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24         Page 7 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· · · ·Q.· ·Okay.· And did you turn it around so         ·1· ·those sticks?
·2· ·that it faced the wall?                               ·2· · · ·A.· ·To the best of my knowledge, yes.
·3· · · ·A.· ·I'm not sure.                                ·3· · · ·Q.· ·So, you didn't -- you didn't see them
·4· · · ·Q.· ·Where did you push it from?                  ·4· ·while you were wrestling -- play wrestling with
·5· · · ·A.· ·Just a few inches in the living room         ·5· ·him then, right?
·6· ·just, you know, we were playing in the middle of      ·6· · · ·A.· ·No, we were just playing.
·7· ·the living room.                                      ·7· · · ·Q.· ·How about when you went to Marva Jones'
·8· · · ·Q.· ·So, you just moved it a couple inches?       ·8· ·house that evening, did you bring any sticks
·9· · · ·A.· ·It seemed like it.· I couldn't imagine,      ·9· ·with you?
10· ·I don't know exactly, it wasn't that far.             10· · · ·A.· ·No, sir.
11· · · ·Q.· ·Okay.· So, why did you move it at all?       11· · · ·Q.· ·Did Scopey have any sticks with him?
12· · · ·A.· ·Because we were playing and wrestling,       12· · · ·A.· ·No, sir.
13· ·you know, just like little boys do.                   13· · · ·Q.· ·Okay.· Did anyone have -- did you tell
14· · · ·Q.· ·So, did you move it far enough that it       14· ·the officers that either you or -- not you --
15· ·wouldn't be in the way when you were wrestling?       15· ·did you tell the officers that Scopey had a
16· · · ·A.· ·I mean, it's a small house, so we            16· ·knife at the house on January 17th?
17· ·didn't bump into it; let me just say that.            17· · · · · · MR. TAYLOR:· Objection as to form.
18· · · ·Q.· ·According to the report in the next          18· · · · · · Are you referring to at any time, or
19· ·sentence you said that, according the report,         19· ·from the report?
20· ·the officer wrote that you said that Scopey then      20· ·BY MR. SOTOS:
21· ·went to his bedroom and got a black nightstick        21· · · ·Q.· ·At any point in time did you ever tell
22· ·and karate sticks which were attached by a            22· ·an officer that Johnnie -- not Johnnie -- that
23· ·chain; do you see that?                               23· ·Scopey had a knife on January 17th?
24· · · · · · MR. TAYLOR:· Objection, form -- you          24· · · ·A.· ·Not to my recollection.
                                                      21                                                         23

·1· ·didn't ask the question --                            ·1· · · ·Q.· ·Did you know Scopey to occasionally
·2· · · · · · MR. SOTOS:· I'm just asking -- you're        ·2· ·carry a knife prior to January 17th?
·3· ·getting ahead of yourself.                            ·3· · · · · · MR. TAYLOR:· Objection, form.
·4· · · · · · MR. TAYLOR:· Yeah, you got it.               ·4· ·BY MR. SOTOS:
·5· ·BY MR. SOTOS:                                         ·5· · · ·Q.· ·Had you ever seen Scopey carry a knife
·6· · · ·Q.· ·Do you see that statement in there?          ·6· ·during all the years that you knew him?
·7· · · ·A.· ·Yes, I see the statement.                    ·7· · · ·A.· ·No.
·8· · · ·Q.· ·Is that what you told the officers?          ·8· · · ·Q.· ·And you were close friends, right?
·9· · · ·A.· ·No.                                          ·9· · · · · · MR. TAYLOR:· Objection to form.
10· · · · · · MR. TAYLOR:· Let me get my objection         10· · · · · · THE WITNESS:· I considered us to be.
11· ·in.· That was an objection to form.                   11· ·BY MR. SOTOS:
12· ·BY MR. SOTOS:                                         12· · · ·Q.· ·Okay.· So, did you ever tell these
13· · · ·Q.· ·Did you tell the officers anything           13· ·officers, or any officers, that you and Scopey
14· ·about Scopey at any point getting a nightstick        14· ·had identical knives that you had purchased at
15· ·and karate sticks when he was in the house?           15· ·Murray's for a dollar 49?
16· · · ·A.· ·No.                                          16· · · ·A.· ·No.
17· · · ·Q.· ·Did Scopey ever have a nightstick or a       17· · · ·Q.· ·You never said anything to any officer
18· ·karate stick when you were with him on January        18· ·about you or Scopey having a knife, or buying a
19· ·17th?                                                 19· ·knife?
20· · · ·A.· ·I believe, to the best of my knowledge,      20· · · ·A.· ·No.
21· ·that I seen those sticks when Officer Cannon          21· · · ·Q.· ·The next paragraph it says that after
22· ·showed me pictures of the home and the crime          22· ·practicing, Johnnie went to the bathroom where
23· ·scene.                                                23· ·he combed his hair.
24· · · ·Q.· ·That's the first time you ever saw           24· · · · · · Do you remember telling the officers,
                                                      22                                                         24

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                1:23-cv-01184-CRL-JEH # 318-2               Filed: 04/22/24         Page 8 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·any officer that at any time?                         ·1· · · · · · MR. TAYLOR:· Objection to form.
·2· · · · · · MR. TAYLOR:· Objection to form.              ·2· ·BY MR. SOTOS:
·3· · · · · · THE WITNESS:· No.                            ·3· · · ·Q.· ·Do you remember at the time knowing
·4· ·BY MR. SOTOS:                                         ·4· ·anybody named Melvin?
·5· · · ·Q.· ·Do you remember ever having a                ·5· · · ·A.· ·No, sir.
·6· ·conversation with any officer in regards to           ·6· · · ·Q.· ·So, you don't have any idea where the
·7· ·combing your hair at Scopey's residence on            ·7· ·officers got that information from?
·8· ·January 17th?                                         ·8· · · · · · MR. BOWMAN:· Objection, foundation.
·9· · · ·A.· ·Not to my recollection.                      ·9· ·BY MR. SOTOS:
10· · · ·Q.· ·You're not saying that that didn't           10· · · ·Q.· ·Is that true; you don't have any idea
11· ·happen, you just don't remember it as you're          11· ·where the officer got that name from?
12· ·sitting here today?                                   12· · · · · · MR. BOWMAN:· Objection, foundation.
13· · · ·A.· ·I'm saying --                                13· · · · · · THE WITNESS:· No.
14· · · · · · MR. BOWMAN:· -- objection, form.             14· · · · · · MR. BOWMAN:· Johnnie, you've got to let
15· ·BY MR. SOTOS:                                         15· ·me get my objection in.
16· · · ·Q.· ·Is that correct?                             16· · · · · · MR. SOTOS:· And then you have to answer
17· · · ·A.· ·I'm saying I don't remember.                 17· ·it.
18· · · ·Q.· ·All right.· You remember telling the         18· · · · · · MR. BOWMAN:· He answered; he said no.
19· ·officers that you and Scopey left at one point        19· · · · · · MR. SOTOS:· Okay.
20· ·and went to Marva Jones' house, apartment?            20· ·BY MR. SOTOS:
21· · · ·A.· ·Yes.                                         21· · · ·Q.· ·Do you remember telling the officers
22· · · ·Q.· ·Okay.· And that did happen, correct?         22· ·that night that Scopey told you he was seeing a
23· · · ·A.· ·Yes.                                         23· ·25 year old white female?
24· · · ·Q.· ·Okay.· And when you got to her house,        24· · · ·A.· ·No, sir.
                                                      25                                                         27

·1· ·neither one of you was holding any kind of an         ·1· · · ·Q.· ·Do you remember Scopey ever telling you
·2· ·stick or anything of that nature?                     ·2· ·that?
·3· · · · · · MR. TAYLOR:· Objection to the form.          ·3· · · ·A.· ·No, sir.
·4· · · · · · THE WITNESS:· No, sir, neither one of        ·4· · · ·Q.· ·Is it fair to say that Scopey never did
·5· ·us.                                                   ·5· ·tell you that, or you don't remember?
·6· ·BY MR. SOTOS:                                         ·6· · · ·A.· ·I never heard him say that.
·7· · · ·Q.· ·Then you went for chicken with               ·7· · · ·Q.· ·Okay.· You got back to Scopey's house
·8· ·Johnnie -- with Scopey?· Sorry.                       ·8· ·around 10:00 or so, correct?
·9· · · ·A.· ·Yes.                                         ·9· · · · · · MR. BOWMAN:· Objection.· Is this -- are
10· · · ·Q.· ·All right.· And did you tell the             10· ·you asking about the report, or are you asking
11· ·officers that after getting the chicken you           11· ·about --
12· ·chased somebody named Melvin Hoskins home?            12· · · · · · MR. SOTOS:· -- I'm just trying to set
13· · · ·A.· ·No, sir.                                     13· ·the stage to move on, so, you know --
14· · · ·Q.· ·Okay.· Are you saying that that didn't       14· · · · · · MR. BOWMAN:· -- okay.· Objection to the
15· ·happen, or you don't recall telling the officers      15· ·form of the question.
16· ·that?                                                 16· ·BY MR. SOTOS:
17· · · ·A.· ·It didn't happen.                            17· · · ·Q.· ·Okay.· Is that right; did you get back
18· · · ·Q.· ·Didn't happen.· Did you know a Melvin        18· ·to Scopey's about 10:00 or so?
19· ·Hoskins?                                              19· · · ·A.· ·I assume that was about right.
20· · · ·A.· ·No, sir.                                     20· · · ·Q.· ·All right.· And you told the officers
21· · · ·Q.· ·You don't recognize that name at all?        21· ·that?
22· · · ·A.· ·No, sir.                                     22· · · ·A.· ·Yes, sir.
23· · · ·Q.· ·Did you know anybody named Melvin?           23· · · ·Q.· ·All right.· Do you recall telling them
24· · · ·A.· ·No, sir.                                     24· ·that -- well, and Scopey's family was present
                                                      26                                                         28

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24         Page 9 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·when you got back to the house?                       ·1· ·BY MR. SOTOS:
·2· · · · · · MR. TAYLOR:· Objection, form.                ·2· · · ·Q.· ·You didn't meet Scopey's sister at a
·3· ·BY MR. SOTOS:                                         ·3· ·Kroger food store a day or two before the 17th?
·4· · · ·Q.· ·The -- Scopey's family was present when      ·4· · · ·A.· ·No, sir.
·5· ·you got back to the house?                            ·5· · · ·Q.· ·You weren't there with Ray Mason, and
·6· · · ·A.· ·Yes.                                         ·6· ·his sister Rosemary?
·7· · · ·Q.· ·Okay.· And do you recall what you told       ·7· · · · · · MR. TAYLOR:· Form and foundation.
·8· ·the officers you did when you got back to the         ·8· · · · · · THE WITNESS:· No, sir.
·9· ·house?                                                ·9· ·BY MR. SOTOS:
10· · · ·A.· ·Yes, I believe so.                           10· · · ·Q.· ·Okay.· So, you -- I think you said you
11· · · ·Q.· ·What do you remember telling them?           11· ·were drawing at the house when you went back,
12· · · ·A.· ·That we came in, and his mother, step        12· ·and his family was there, correct?
13· ·-- his mother, stepfather, he introduced me to        13· · · ·A.· ·Yes, sir.
14· ·them and his sister, and his little -- her            14· · · ·Q.· ·Okay.· Did you wrestle again?
15· ·little child, his nephew I guess, and we              15· · · ·A.· ·No, sir.
16· ·proceeded into the kitchen where we began to do       16· · · ·Q.· ·Not at all, not even play wrestling?
17· ·a little artwork.                                     17· · · ·A.· ·No, sir.
18· · · ·Q.· ·And that's what you told the officers?       18· · · ·Q.· ·You left about 11:00, is that right?
19· · · ·A.· ·Yes, sir.                                    19· · · ·A.· ·I believe so.
20· · · ·Q.· ·You said that you told them that             20· · · ·Q.· ·You told the officers that, correct?
21· ·Johnnie introduced you to his sister?                 21· · · ·A.· ·I don't remember exactly what time it
22· · · · · · MR. TAYLOR:· Objection, form.                22· ·was, but yes, it was somewhere around there.
23· ·BY MR. SOTOS:                                         23· · · ·Q.· ·Did you go straight home?
24· · · ·Q.· ·Did you say that -- maybe I misheard         24· · · ·A.· ·Yes, sir.
                                                      29                                                         31

·1· ·you, did you say --                                   ·1· · · ·Q.· ·And you told the officers that, too,
·2· · · · · · MR. BOWMAN:· -- objection to the form        ·2· ·correct?
·3· ·of the question.                                      ·3· · · ·A.· ·Yes, sir.
·4· ·BY MR. SOTOS:                                         ·4· · · ·Q.· ·Okay.· You didn't -- and when you got
·5· · · ·Q.· ·Do you remember telling the officers         ·5· ·home, did you call Scopey again?
·6· ·that Johnnie -- excuse me, Scopey introduced you      ·6· · · ·A.· ·No, sir.
·7· ·to his sister when you got back to the house          ·7· · · ·Q.· ·You didn't?
·8· ·that night?                                           ·8· · · ·A.· ·No, sir.
·9· · · · · · MR. TAYLOR:· Same objection.                 ·9· · · ·Q.· ·Did you tell the officers that you did
10· · · · · · THE WITNESS:· I'm gonna say he               10· ·call Scopey?
11· ·introduced me to his entire family that was           11· · · ·A.· ·No, sir, I don't have no recollection
12· ·sitting in the living room.                           12· ·of telling them that.
13· ·BY MR. SOTOS:                                         13· · · ·Q.· ·And that's fine, if you don't recall
14· · · ·Q.· ·Is that the first time you met his           14· ·that's fine.· I'm trying to, you know, draw a
15· ·sister?                                               15· ·distinction between things that you know didn't
16· · · ·A.· ·That was the first time I ever met the       16· ·happen, or things you just don't remember.
17· ·entire family.                                        17· · · ·A.· ·Okay.
18· · · ·Q.· ·You didn't meet her at -- you didn't         18· · · ·Q.· ·So, for this particular question, is it
19· ·see her at a Kroger store a day or two before --      19· ·that you don't recall telling the officers that
20· · · · · · MR. TAYLOR:· -- objection.                   20· ·you called Scopey when you got home that night,
21· · · · · · MR. SOTOS:· -- the 17th?                     21· ·or you know that you didn't do that?
22· · · · · · MR. TAYLOR:· Didn't mean to interrupt        22· · · ·A.· ·I know I didn't do it.
23· ·you.· Form, and foundation.                           23· · · ·Q.· ·You know that you didn't.· So, you
24                                                         24· ·didn't tell the officers that you and Scopey had
                                                      30                                                         32

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24     Page 10 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·made plans for you to return to his house on the      ·1· ·first interview with the Police Department?
·2· ·morning of the 18th at 8:00?                          ·2· · · ·A.· ·Yes, sir.
·3· · · · · · MR. TAYLOR:· Objection to form.              ·3· · · ·Q.· ·Okay.· And did you tell them that you
·4· · · · · · THE WITNESS:· No, I have no                  ·4· ·went to Methodist Hospital to visit your
·5· ·recollection of that.                                 ·5· ·grandmother when you did wake up?
·6· ·BY MR. SOTOS:                                         ·6· · · · · · MR. TAYLOR:· Objection, form, and
·7· · · ·Q.· ·And beyond not having a recollection of      ·7· ·foundation.
·8· ·it, is it your testimony that that did not            ·8· · · · · · THE WITNESS:· No.
·9· ·happen?                                               ·9· ·BY MR. SOTOS:
10· · · ·A.· ·To the best of my knowledge, yes, sir.       10· · · ·Q.· ·You didn't say that?
11· · · ·Q.· ·Are you entirely sure?· I'm only             11· · · ·A.· ·No.
12· ·asking, because you're qualifying it a little.        12· · · ·Q.· ·Was your grandmother in the Methodist
13· · · ·A.· ·I'm doing the best I can after almost        13· ·Hospital on the morning of January 18th?
14· ·50 years.                                             14· · · ·A.· ·I don't believe so, but I don't know.
15· · · ·Q.· ·No, I get that.                              15· · · ·Q.· ·Had she have ever -- had she been in
16· · · ·A.· ·Yes, sir.                                    16· ·the Methodist Hospital at any time near January
17· · · ·Q.· ·So -- all right.· In any event, going        17· ·18th around that timeframe?
18· ·to the bottom of that page, do you recall             18· · · · · · MR. TAYLOR:· Objection to form.
19· ·telling the officers that you woke up on the          19· · · · · · THE WITNESS:· I can't remember her
20· ·morning of the 18th at about 10:00 in the             20· ·being in there around that time.
21· ·morning?                                              21· ·BY MR. SOTOS:
22· · · ·A.· ·No, sir.                                     22· · · ·Q.· ·So, you definitely didn't tell the
23· · · ·Q.· ·And is it your testimony you didn't say      23· ·police officers that she was in there, and you
24· ·that?                                                 24· ·went to visit her on the 18th of January?
                                                      33                                                         35

·1· · · ·A.· ·Yes, sir.                                    ·1· · · ·A.· ·Never, did not.
·2· · · ·Q.· ·Did you tell them what time you got up       ·2· · · ·Q.· ·Moving on to later that afternoon, do
·3· ·in the morning?                                       ·3· ·you remember telling the officers -- when I say
·4· · · ·A.· ·I believe in my deposition I said I got      ·4· ·that afternoon, I mean now when you're
·5· ·up at 8 or 8:30.                                      ·5· ·discussing with the officers the afternoon of
·6· · · ·Q.· ·Right.· And is it your testimony that        ·6· ·the 18th, the day of the murders, do you
·7· ·that's what you told the officers at the police       ·7· ·remember telling the officers that you went to
·8· ·station on January 25th when they interviewed         ·8· ·school, and you got kicked out of school for
·9· ·you?                                                  ·9· ·reading a magazine in class?
10· · · · · · MR. TAYLOR:· Objection to form.              10· · · · · · MR. TAYLOR:· Jim, objection.· Just so
11· · · · · · MR. BOWMAN:· So, this is confusing, now      11· ·we're clear, as Locke pointed out before, you're
12· ·are we talking about the first session?               12· ·focusing now on this one conversation with
13· · · · · · MR. SOTOS:· That's a fair point.             13· ·Cannon and whomever else?
14· ·BY MR. SOTOS:                                         14· ·BY MR. SOTOS:
15· · · ·Q.· ·During your first conversation with the      15· · · ·Q.· ·That's -- right now I'm asking you
16· ·officers at the Peoria Police Department on           16· ·about your first interview with the police
17· ·January 25th, did you tell them that you woke up      17· ·officers on January 25th after you left the
18· ·at 10:00, or did you tell them that you woke up       18· ·school and you were at the Peoria Police
19· ·earlier than that as you had just testified?          19· ·Department, according to this report on the top
20· · · ·A.· ·I testified here under oath that I woke      20· ·of the third page it says that you stated that
21· ·up at 8, 8:30, to the best of my knowledge, from      21· ·on Tuesday you got kicked out of school for
22· ·that, that's what I remember.                         22· ·reading a magazine in class; and I'm asking
23· · · ·Q.· ·And is that what you remember telling        23· ·whether you did tell the officers that?
24· ·the officers as well on January 25th during that      24· · · ·A.· ·Yes.
                                                      34                                                         36

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24      Page 11 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· · · ·Q.· ·Okay.· And then you said that you were       ·1· · · ·Q.· ·All right.· Did you tell them that when
·2· ·sent to the principal's office?                       ·2· ·you got to Scopey's house, you saw a number of
·3· · · ·A.· ·Yes.                                         ·3· ·police officers there -- a number of police cars
·4· · · ·Q.· ·And did you say that while you were in       ·4· ·there, and then you talked to a police officer?
·5· ·the principal's office, you heard something on        ·5· · · · · · MR. TAYLOR:· Objection as to form.
·6· ·the radio about an accident on Garden Street?         ·6· · · · · · THE WITNESS:· Yes.
·7· · · · · · MR. TAYLOR:· Objection as to form and        ·7· ·BY MR. SOTOS:
·8· ·foundation.                                           ·8· · · ·Q.· ·Okay.· Do you remember at some point
·9· · · · · · THE WITNESS:· No.                            ·9· ·during this conversation the officer started
10· ·BY MR. SOTOS:                                         10· ·saying that you were making inconsistent
11· · · ·Q.· ·All right.· And you're certain you           11· ·statements; did they confront you with
12· ·never said that?                                      12· ·statements that they were claiming you made that
13· · · ·A.· ·Yes.                                         13· ·were inconsistent with what they knew?
14· · · ·Q.· ·Did you then state that you left the         14· · · · · · MR. TAYLOR:· Objection as to form.
15· ·principal's office at around 4:30 and caught the      15· · · · · · THE WITNESS:· Yes.
16· ·bus at Harrison and Jefferson Street?                 16· ·BY MR. SOTOS:
17· · · ·A.· ·Yes.                                         17· · · ·Q.· ·All right.· Do you remember them saying
18· · · ·Q.· ·And then went to Marva Jones'                18· ·to you that they had checked, and they had
19· ·apartment?                                            19· ·determined that you didn't make a call to Scopey
20· · · ·A.· ·Yes.                                         20· ·when you got home that night?
21· · · ·Q.· ·Okay.· And that's true?                      21· · · · · · MR. TAYLOR:· Same objection.
22· · · ·A.· ·Yes.                                         22· · · · · · THE WITNESS:· I don't remember, because
23· · · ·Q.· ·All right.· Did you tell them that           23· ·it always was two and three officers asking me
24· ·while you were at Marva's house until about           24· ·questions at the same time, so it was so
                                                      37                                                         39

·1· ·6:00 p.m. you saw the news on television and          ·1· ·confusing.
·2· ·recognized the fence that runs along Scopey's         ·2· ·BY MR. SOTOS:
·3· ·house?                                                ·3· · · ·Q.· ·Do you remember any officer saying, you
·4· · · · · · MR. TAYLOR:· Objection as to form.           ·4· ·know, we checked --
·5· · · · · · THE WITNESS:· No.                            ·5· · · · · · MR. BOWMAN:· -- it seemed like he was
·6· ·BY MR. SOTOS:                                         ·6· ·still talking.
·7· · · ·Q.· ·You didn't say that?                         ·7· · · · · · MR. SOTOS:· What, guys --
·8· · · ·A.· ·No.                                          ·8· · · · · · MR. TAYLOR:· -- yeah, we are saying the
·9· · · ·Q.· ·Okay.· Did you say anything like that?       ·9· ·same thing.
10· · · · · · MR. TAYLOR:· Objection as to form.           10· · · · · · MR. SOTOS:· All right.
11· · · · · · THE WITNESS:· No.                            11· · · · · · THE WITNESS:· Like I was saying, it was
12· ·BY MR. SOTOS:                                         12· ·so chaotic and confusing, they said quite a few
13· · · ·Q.· ·Okay.· Did you tell them that from           13· ·things to me, you know, inconsistent
14· ·Marva's house you then went to Scopey's house?        14· ·statement -- just I didn't understand much of
15· · · ·A.· ·Yes.                                         15· ·what they were doing, but all I know is I wasn't
16· · · ·Q.· ·Did you say anything to the officers at      16· ·there on the 18th, that's all I know.
17· ·that time about why you went to Scopey's house?       17· ·BY MR. SOTOS:
18· · · ·A.· ·Yes.                                         18· · · ·Q.· ·Do you remember one of those things
19· · · ·Q.· ·And what did you tell them?                  19· ·that they were saying being, you know, we
20· · · ·A.· ·That I didn't see him in school, so I        20· ·checked, and we don't think you called Scopey
21· ·wanted to know why he wasn't at school.               21· ·when you got home that night; do you remember
22· · · ·Q.· ·Okay.· And you told the officers that,       22· ·them saying that to you?
23· ·too?                                                  23· · · ·A.· ·They could have, but I don't know.
24· · · ·A.· ·Yes.                                         24· · · ·Q.· ·Did you tell them that I never said
                                                      38                                                         40

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             1:23-cv-01184-CRL-JEH # 318-2                  Filed: 04/22/24      Page 12 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·that I did call him when I got home?                  ·1· ·only there to see if I could help them, I was
·2· · · · · · MR. BOWMAN:· Objection, foundation and       ·2· ·not a suspect, and nothing, so they said I might
·3· ·form.                                                 ·3· ·have saw something -- remember something, so I
·4· · · · · · THE WITNESS:· I cannot remember all the      ·4· ·don't know what was going on and didn't know why
·5· ·things, but I know that I couldn't have told          ·5· ·I had to take the polygraph test, but all I
·6· ·them that, because I didn't -- we didn't have a       ·6· ·wanted to go home, because I had been there --
·7· ·phone, so it just don't make no sense to me, so       ·7· ·oh, God for three something -- and I was hungry,
·8· ·I don't pretty much know where they got it from,      ·8· ·just yeah.
·9· ·and after being told you're inconsistent and          ·9· · · ·Q.· ·Do you remember which officer told you
10· ·calling me liars and things like that, I really       10· ·you could go home?
11· ·just didn't know what was going on.                   11· · · ·A.· ·No.
12· ·BY MR. SOTOS:                                         12· · · ·Q.· ·All right.· So, you went to the
13· · · ·Q.· ·They asked you to take a polygraph           13· ·polygraph, correct?
14· ·after this conversation, correct?                     14· · · ·A.· ·Yes.
15· · · · · · MR. TAYLOR:· Objection, form.                15· · · ·Q.· ·All right.· And, you know, before that
16· · · · · · THE WITNESS:· Yes.                           16· ·you had mentioned seeing some photos, correct?
17· ·BY MR. SOTOS:                                         17· · · ·A.· ·Yes, sir.
18· · · ·Q.· ·Okay.· Did you agree to take the             18· · · ·Q.· ·I'm going to show you, or ask you to
19· ·polygraph examination?                                19· ·look at Exhibit No. 3 which is a series of
20· · · · · · MR. TAYLOR:· Objection as to the form.       20· ·photos.
21· · · · · · THE WITNESS:· I asked them when can I        21· · · · · · MR. SOTOS:· Could you place that in
22· ·go home, and they said that I could go home if I      22· ·front of him, please?
23· ·take the polygraph test.                              23· · · · · · MR. TAYLOR:· Do you want the court
24                                                         24· ·reporter to mark those?
                                                      41                                                         43

·1· ·BY MR. SOTOS:                                         ·1· · · · · · MR. SOTOS:· I marked them.
·2· · · ·Q.· ·That was -- because I don't want to          ·2· · · · · · MR. TAYLOR:· Are you okay with that.
·3· ·confuse you --                                        ·3· · · · · · THE COURT REPORTER:· Yes.
·4· · · · · · MR. TAYLOR:· -- I don't think -- I           ·4· ·BY MR. SOTOS:
·5· ·don't know, but I don't think he finished his         ·5· · · ·Q.· ·Deposition Exhibit No. 3, Peoria-Savory
·6· ·answer yet.· Have you finished?                       ·6· ·28595 through 28597.
·7· · · · · · THE WITNESS:· And then I was going to        ·7· · · · · · So, do those look like the photos that
·8· ·ask you which polygraph test are you referring        ·8· ·they showed you on the evening of January 25?
·9· ·to?                                                   ·9· · · · · · MR. TAYLOR:· Objection, form.
10· ·BY MR. SOTOS:                                         10· · · · · · MR. BOWMAN:· Form and foundation.
11· · · ·Q.· ·That's what I was going to say. I            11· ·BY MR. SOTOS:
12· ·don't want to confuse you, so I want to make          12· · · ·Q.· ·Do those look like photos that you saw
13· ·sure you understand it.                               13· ·on the evening of January 25th?
14· · · · · · Now, I'm talking about the first             14· · · · · · MR. TAYLOR:· Same objections.
15· ·polygraph the night of the 25th with Jenkins,         15· · · · · · THE WITNESS:· I don't remember all the
16· ·not the one on the 26th with Bowers.                  16· ·photos they showed me.· Officer Detective Cannon
17· · · ·A.· ·Okay.                                        17· ·showed me tons of them, and -- but these could
18· · · ·Q.· ·So, for the one on the 25th, did you         18· ·be some of the same ones, you know.
19· ·agree to take that polygraph?                         19· · · · · · MR. TAYLOR:· Jim, could I ask for
20· · · ·A.· ·Yes, once they said I could go home.         20· ·clarification a bit on this exhibit?
21· · · ·Q.· ·Okay.· And so it was on the 25th where       21· · · · · · It looks like the first page, is that
22· ·you asked one of the officers if you could go         22· ·six pictures in one picture?· I mean, and the
23· ·home, and what did they say?                          23· ·second page --
24· · · ·A.· ·They told me I could go home, but I was      24· · · · · · MR. SOTOS:· -- they look to me like six
                                                      42                                                         44

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24        Page 13 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·separate Polaroid pictures and the backs of them      ·1· ·recall doing that?
·2· ·on Page 2, and --                                     ·2· · · · · · MR. TAYLOR:· Objection, form and
·3· · · · · · MR. TAYLOR:· -- okay.                        ·3· ·foundation.
·4· · · · · · MR. SOTOS:· And the third page looks to      ·4· · · · · · THE WITNESS:· No, I didn't tell them
·5· ·be bigger version of one of the pictures on the       ·5· ·that.
·6· ·first page with the TV set in it.                     ·6· ·BY MR. SOTOS:
·7· · · · · · MR. TAYLOR:· Okay.· Thank you.               ·7· · · ·Q.· ·All right.· Did you tell him that the
·8· · · · · · MR. SOTOS:· And did you put Exhibit 2        ·8· ·rod that's pictured it looks like the bottom row
·9· ·in front of him, please?                              ·9· ·in the middle was -- you thought that it was
10· · · · · · MR. TAYLOR:· 2.                              10· ·brown or tan in color, and then you confirmed
11· ·BY MR. SOTOS:                                         11· ·that that was an object you had seen?
12· · · ·Q.· ·I'm also going to have you look at           12· · · · · · MR. TAYLOR:· Objection, form, and
13· ·those pictures in conjunction with the report         13· ·foundation.
14· ·that your Counsel is going to hand you which is       14· ·BY MR. SOTOS:
15· ·Exhibit No. 2, Savory 5948-5949.                      15· · · ·Q.· ·Did you do that?
16· · · · · · MR. BOWMAN:· And this is a report dated      16· · · ·A.· ·No.
17· ·in February of '77 by an officer named Haynes.        17· · · ·Q.· ·Did you tell him that you recognized
18· · · · · · MR. SOTOS:· Haynes, correct.                 18· ·the beer can in the picture in the bottom
19· · · · · · MR. TAYLOR:· I'm not finding that in         19· ·left-hand corner?
20· ·this stack.                                           20· · · · · · MR. TAYLOR:· Same objection.
21· · · · · · MR. BOWMAN:· I have it.                      21· · · · · · THE WITNESS:· No.
22· · · · · · MR. TAYLOR:· You got it?                     22· ·BY MR. SOTOS:
23· · · · · · MR. SOTOS:· He took it from you.             23· · · ·Q.· ·All right.· So, is it fair to say you
24· · · · · · MR. BOWMAN:· I have it.· Would you give      24· ·didn't confirm to this officers that you
                                                      45                                                         47

·1· ·it to Johnnie?                                        ·1· ·recognized any of the objects depicted in those
·2· · · · · · MR. TAYLOR:· Yes.                            ·2· ·photos?
·3· · · · · · MR. SOTOS:· There should be another          ·3· · · · · · MR. TAYLOR:· Objection, form and
·4· ·one.                                                  ·4· ·foundation.
·5· · · · · · MR. BOWMAN:· You should give him that        ·5· · · · · · THE WITNESS:· No, I didn't, sir.
·6· ·one from your stack, and this is our stack here.      ·6· ·BY MR. SOTOS:
·7· · · · · · MR. TAYLOR:· Is this 2?· This is 6.          ·7· · · ·Q.· ·You did not do that?
·8· · · · · · MR. BOWMAN:· That's 6.· Here, Johnnie,       ·8· · · ·A.· ·No, sir.
·9· ·go ahead and take this.                               ·9· · · ·Q.· ·All right.· At the polygraph on the
10· · · · · · MR. TAYLOR:· That's 1 -- I don't know        10· ·25th that you took with Mr. Jenkins, I think you
11· ·where that one is.                                    11· ·said during your last deposition he didn't yell
12· · · · · · MR. BOWMAN:· Do you have another stack       12· ·at you, correct?
13· ·over there?· Why don't you just hand me that?         13· · · ·A.· ·Yes, sir.
14· ·We're good, Jim.                                      14· · · ·Q.· ·Okay.· Do you remember how long that
15· · · · · · MR. SOTOS:· Okay.                            15· ·polygraph lasted?
16· ·BY MR. SOTOS:                                         16· · · ·A.· ·I don't remember exactly how long time
17· · · ·Q.· ·So, if you look at that report, Mr.          17· ·it took.
18· ·Savory, in the -- this report purports to             18· · · ·Q.· ·15, 20 minutes sound right, or do you
19· ·describe the officer's questions to you about         19· ·not remember?
20· ·those pictures that are in Exhibit No. 3, and he      20· · · · · · MR. BOWMAN:· Objection to the form of
21· ·says that you confirmed that the television set       21· ·the question.
22· ·in the picture in the top left-hand corner was        22· · · · · · THE WITNESS:· It could have been -- I
23· ·the same one that you had mentioned that Scopey       23· ·don't know, 30 maybe, I'm not sure.
24· ·had set on the floor on January 17th; do you          24
                                                      46                                                         48

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24       Page 14 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· ·BY MR. SOTOS:                                         ·1· ·that?
·2· · · ·Q.· ·All right.· That's fine.                     ·2· · · ·A.· ·Yes, to the best of my knowledge, no, I
·3· · · · · · Do you remember having any problems          ·3· ·don't remember saying that.
·4· ·with Mr. Jenkins during the polygraph as you          ·4· · · ·Q.· ·Looking at the next sentence, did you
·5· ·were interacting with him in terms of how he          ·5· ·tell him that the television set was placed
·6· ·treated you or talked to you?                         ·6· ·against the wall?
·7· · · · · · MR. TAYLOR:· Objection as to the form.       ·7· · · ·A.· ·No.
·8· · · · · · THE WITNESS:· No.                            ·8· · · ·Q.· ·Did you tell him that you moved the
·9· ·BY MR. SOTOS:                                         ·9· ·television set on its rolling table -- or not
10· · · ·Q.· ·If you look at Page 2 -- I'm sorry, I'm      10· ·you, that Scopey moved it on its rolling table?
11· ·going to ask your Counsel to place in front of        11· · · ·A.· ·That's what I remember.
12· ·you Exhibit No. 4, and that is a -- purports to       12· · · ·Q.· ·All right.· So, you do remember saying
13· ·be a report of the polygraph, the Bates numbered      13· ·that, you just don't -- you just didn't say that
14· ·I can't read on my copy.                              14· ·it was placed against the wall?
15· · · · · · MR. CHRISTIE:· Do you want me to state       15· · · ·A.· ·Yes, sir.
16· ·it for the record?                                    16· · · ·Q.· ·All right.· Did you tell Jenkins that
17· · · · · · MR. SOTOS:· Yes.                             17· ·you had lied to the police when you had told
18· · · · · · MR. CHRISTIE:· Savory LL005893 to 5895.      18· ·them that the television set was placed on the
19· ·BY MR. SOTOS:                                         19· ·floor?
20· · · ·Q.· ·Okay.· And when you were in this             20· · · · · · MR. TAYLOR:· Objection, form,
21· ·polygraph with Mr. Jenkins, was it just the two       21· ·foundation.
22· ·of you who were present?                              22· ·BY MR. SOTOS:
23· · · ·A.· ·Yes.                                         23· · · ·Q.· ·As reflected in the report?
24· · · ·Q.· ·Okay.                                        24· · · ·A.· ·I never told the police officer that it
                                                      49                                                         51

·1· · · ·A.· ·Excuse me.                                   ·1· ·was placed on the floor.
·2· · · ·Q.· ·Do you need to get up?                       ·2· · · ·Q.· ·So, you would have had no reason to
·3· · · ·A.· ·Fixing the chair.· It shrunk on me a         ·3· ·tell Jenkins that you were lying?
·4· ·little bit.                                           ·4· · · ·A.· ·No, sir.
·5· · · ·Q.· ·If you need a break at some point, say       ·5· · · ·Q.· ·All right.· Looking at the next
·6· ·so.                                                   ·6· ·paragraph, did you tell Jenkins about chasing a
·7· · · ·A.· ·Okay.· No, no, no.· Let's continue.          ·7· ·boy named Melvin home from Chad's Chicken?
·8· · · ·Q.· ·Okay.· So, it was just the two of you        ·8· · · ·A.· ·No, sir, I didn't tell him that.
·9· ·who were present?                                     ·9· · · ·Q.· ·Okay.· Did you tell him that you and
10· · · ·A.· ·Yes.                                         10· ·Scopey did make arrangements to see each other
11· · · ·Q.· ·All right.· If you turn to the top of        11· ·the following morning, because you were going to
12· ·Page 2 of that report, do you recall telling Mr.      12· ·contact the girl named Tina who lived in
13· ·Jenkins that you and Scopey practice martial          13· ·Harrison Homes?
14· ·arts using karate weapons and acting as though        14· · · · · · MR. TAYLOR:· Objection, form,
15· ·you were fighting?                                    15· ·foundation.
16· · · · · · MR. TAYLOR:· Objection as to the form        16· · · · · · THE WITNESS:· No, sir.
17· ·and foundation.                                       17· ·BY MR. SOTOS:
18· ·BY MR. SOTOS:                                         18· · · ·Q.· ·All right.· Did you know a girl named
19· · · ·Q.· ·Do you recall if you told him -- you         19· ·Tina who lived in the Harrison Homes?
20· ·see that up at the top of that paragraph, right?      20· · · ·A.· ·No, sir.
21· · · ·A.· ·Yes.                                         21· · · ·Q.· ·Did you tell Mr. Jenkins that you were
22· · · ·Q.· ·All right.· Do you recall saying that?       22· ·going to contact Tina because you guys were
23· · · ·A.· ·No.                                          23· ·going to become players, and that when he asked
24· · · ·Q.· ·And are you saying that you did not say      24· ·what you meant by players, you said that you
                                                      50                                                         52

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24     Page 15 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· ·were going to become pimps?                           ·1· · · ·Q.· ·When you went to Scopey's house on the
·2· · · · · · MR. TAYLOR:· Objection, form,                ·2· ·18th, you didn't know they had been killed?
·3· ·foundation.                                           ·3· · · ·A.· ·No, sir.
·4· · · · · · THE WITNESS:· No, sir.                       ·4· · · ·Q.· ·Even when you left there, you didn't
·5· ·BY MR. SOTOS:                                         ·5· ·know they had been killed?
·6· · · ·Q.· ·You didn't say anything like that?           ·6· · · ·A.· ·No, sir.
·7· · · ·A.· ·No, sir.                                     ·7· · · ·Q.· ·There were a lot of police cars there,
·8· · · ·Q.· ·At the time did you have any kind of a       ·8· ·right?
·9· ·plan to become a pimp?                                ·9· · · ·A.· ·Yes.
10· · · ·A.· ·No, sir.                                     10· · · ·Q.· ·Did you know whether they had been hurt
11· · · ·Q.· ·Okay.· Was Ray Mason a pimp?                 11· ·or --
12· · · ·A.· ·I don't know what he was.                    12· · · ·A.· ·-- I didn't know anything.· I didn't
13· · · ·Q.· ·Did you ever remember thinking that at       13· ·know what had happened, and didn't nobody
14· ·the time?                                             14· ·explain or say nothing to me about what
15· · · ·A.· ·No, sir.                                     15· ·happened.
16· · · ·Q.· ·Okay.· Did you tell Jenkins that you         16· · · ·Q.· ·And you testified earlier that you went
17· ·went to Ray Mason's house on the 17th after           17· ·there because he wasn't in school?
18· ·leaving Scopey's house?                               18· · · ·A.· ·Exactly.
19· · · ·A.· ·No, sir.                                     19· · · ·Q.· ·And I think that was covered in your
20· · · ·Q.· ·You never said that?                         20· ·last deposition --
21· · · ·A.· ·No, sir.                                     21· · · ·A.· ·-- yes --
22· · · ·Q.· ·Okay.· And did you tell Mr. Jenkins          22· · · ·Q.· ·So, I won't do that again.
23· ·that you were supposed to be at Scopey's house        23· · · ·A.· ·Yes, sir.
24· ·the next morning at 8:00 but ended up sleeping        24· · · ·Q.· ·So, when you look at the last, this
                                                      53                                                         55

·1· ·in until 10, and then visiting your grandmother       ·1· ·paragraph we just talked about where it says he
·2· ·in the hospital?                                      ·2· ·did not become aware of the killing until he
·3· · · · · · MR. TAYLOR:· Objection as to the form.       ·3· ·heard about it on the news; that part is true,
·4· · · · · · THE WITNESS:· No, sir.                       ·4· ·correct?
·5· ·BY MR. SOTOS:                                         ·5· · · · · · MR. TAYLOR:· Objection, form.
·6· · · ·Q.· ·Moving on to the next paragraph, did         ·6· ·BY MR. SOTOS:
·7· ·you tell Jenkins that you didn't become aware of      ·7· · · ·Q.· ·You did tell Jenkins that, right?
·8· ·the killing until you heard about it on the           ·8· · · ·A.· ·Yes.
·9· ·news, and that you went there and talked to a         ·9· · · · · · MR. TAYLOR:· Same objection.
10· ·policeman?                                            10· ·BY MR. SOTOS:
11· · · · · · MR. TAYLOR:· Objection, form.                11· · · ·Q.· ·Okay.· And then when it says and that
12· · · · · · THE WITNESS:· No.                            12· ·he went there and talked to a policeman, it's
13· ·BY MR. SOTOS:                                         13· ·your testimony that you didn't tell him you went
14· · · ·Q.· ·When did you hear about the killing?         14· ·there after you heard about it, you went there
15· · · ·A.· ·On the news of the night of the 17th.        15· ·before you heard about it?
16· · · ·Q.· ·You mean the 18th?                           16· · · · · · MR. TAYLOR:· Form objection.
17· · · ·A.· ·At 9:00 -- 18th, right.                      17· · · · · · THE WITNESS:· Yes, sir.
18· · · ·Q.· ·You meant the 18th, right?                   18· ·BY MR. SOTOS:
19· · · ·A.· ·Yes.                                         19· · · ·Q.· ·Fair to say?
20· · · ·Q.· ·9:00, and that was when you were at          20· · · ·A.· ·Yes, sir.
21· ·who's house?                                          21· · · ·Q.· ·All right.· And when you were there on
22· · · ·A.· ·The Ivy's.                                   22· ·the scene, did you ask -- there were newspaper
23· · · ·Q.· ·Ivy's house?                                 23· ·reporters there, too, it wasn't just the police?
24· · · ·A.· ·Yes, sir.                                    24· · · ·A.· ·Yes.
                                                      54                                                         56

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24        Page 16 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· · · ·Q.· ·Okay.· Did you talk to any of the            ·1· ·feel like you're now going over something that
·2· ·police reporters -- excuse me, the, you know,         ·2· ·he testified to.
·3· ·the TV reporters or journalists about what was        ·3· · · · · · MR. SOTOS:· I get it.· I get it.· We
·4· ·going on there?                                       ·4· ·will come back to that.
·5· · · · · · MR. TAYLOR:· Objection, form.                ·5· · · · · · Let's go back to the --· I didn't want
·6· · · · · · THE WITNESS:· No, sir.                       ·6· ·to jump around, but I think I have to because of
·7· ·BY MR. SOTOS:                                         ·7· ·some of these issues you're pointing out.
·8· · · ·Q.· ·Okay.· And you didn't talk to the            ·8· ·BY MR. SOTOS:
·9· ·police about what was going on there?                 ·9· · · ·Q.· ·Let's go back to when you're
10· · · ·A.· ·I asked, but I didn't get no answer, so      10· ·interviewed by the officers on the 25th, we
11· ·you know, I mean I just stood around in the           11· ·talked about the polygraph, you left the
12· ·crowd like the other people were standing in the      12· ·polygraph, and what do you recall happening
13· ·crowd.                                                13· ·after you left the polygraph, did you go to the
14· · · ·Q.· ·You asked the police?                        14· ·police station after that?
15· · · ·A.· ·Yes.                                         15· · · · · · MR. TAYLOR:· Objection.· Are we are
16· · · · · · MR. TAYLOR:· Objection, form.                16· ·talking about the first polygraph?
17· ·BY MR. SOTOS                                          17· · · · · · MR. SOTOS:· Right.
18· · · ·Q.· ·But you didn't ask a journalist, you         18· ·BY MR. SOTOS:
19· ·didn't have any conversation with a journalist?       19· · · ·Q.· ·After the first polygraph -- you ended
20· · · ·A.· ·Really didn't know who was journalist        20· ·up spending the night in the detention home,
21· ·who was in there to be truthful, so no.               21· ·correct?
22· · · ·Q.· ·Okay.· Well, the people you asked, did       22· · · ·A.· ·Yes.
23· ·they have police uniforms on?                         23· · · ·Q.· ·Okay.· Were you read your Miranda
24· · · ·A.· ·Yes, only one officer though.                24· ·rights before you were taken there?
                                                      57                                                         59

·1· · · ·Q.· ·You just asked one officer?                  ·1· · · ·A.· ·Yes.
·2· · · ·A.· ·Yeah, I didn't ask.                          ·2· · · ·Q.· ·All right.· And I think you testified
·3· · · ·Q.· ·Okay.· So, you didn't ask more than one      ·3· ·in your last deposition that you slept there
·4· ·person about what was going on there at the           ·4· ·from about 1:30 until 8:00 in the morning?
·5· ·house?                                                ·5· · · ·A.· ·Yes.
·6· · · ·A.· ·No, sir.                                     ·6· · · ·Q.· ·All right.· And then when did you first
·7· · · ·Q.· ·And you were there for how long?             ·7· ·talk to the police that next morning?
·8· · · ·A.· ·It wasn't long, because I had to catch       ·8· · · ·A.· ·God, as soon as we got to the station.
·9· ·a bus and get back to my side of town, so I           ·9· · · ·Q.· ·Okay.· So, I'm going to ask you about a
10· ·don't know, maybe -- I don't know, 30 minutes,        10· ·report in a minute that reflects an interview
11· ·40 minutes.· It wasn't long.                          11· ·between you and Officer Fiers and Officer Haynes
12· · · · · · I think the last bus run -- I can't          12· ·at around 10:15, 10:30 in the morning on the
13· ·remember exact time, but it wasn't long.              13· ·26th, but I don't have any report of any
14· · · ·Q.· ·All right.· And then you got on a bus        14· ·interview before that.
15· ·and you went where?                                   15· · · · · · Were you talked to by the police before
16· · · ·A.· ·Went home.                                   16· ·10:15, 10:30 in the morning on the 26th?
17· · · ·Q.· ·Went home.· So, when you got back home,      17· · · ·A.· ·I don't remember exactly what time it
18· ·what did you do then on the 17th?                     18· ·was, but I know it was still early.· I hadn't
19· · · · · · MR. BOWMAN:· Are we on documents now --      19· ·ate no breakfast, no nothing, given nothing, and
20· · · · · · MR. SOTOS:· -- memory -- okay.· I mean       20· ·it seemed like they started in as soon as I --
21· ·we can do that that way, I understand.                21· ·we got to the station.· As I said it was always
22· · · · · · MR. BOWMAN:· I mean, you know, it is         22· ·two or three people in there, and they never
23· ·what it is.· The Judge made that distinction,         23· ·really let me answer the questions; they was
24· ·and I realize it's a little hard, but it does         24· ·always asking me questions before I could even
                                                      58                                                         60

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24        Page 17 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·answer them, and just I couldn't process. I           ·1· · · ·Q.· ·Makes sense.· Okay.
·2· ·mean I was 14 years old, I couldn't process all       ·2· · · · · · Do you remember who the officers were
·3· ·that was going on at that time.                       ·3· ·that interviewed you on the morning of the 26th?
·4· · · ·Q.· ·I understand.· But I'm asking --             ·4· · · ·A.· ·No.
·5· · · · · · MR. TAYLOR:· -- he was still --              ·5· · · ·Q.· ·All right.· Do you remember the officer
·6· · · · · · MR. SOTOS:· -- that's not what I'm           ·6· ·reading you your Miranda rights before the
·7· ·asking.                                               ·7· ·interview that morning?
·8· ·BY MR. SOTOS:                                         ·8· · · · · · MR. TAYLOR:· Objection, form.
·9· · · ·Q.· ·I'm not even on the interview yet.           ·9· ·BY MR. SOTOS:
10· ·When we get to the interview, you can definitely      10· · · ·Q.· ·You knew what Miranda rights were at
11· ·explain it.                                           11· ·the time, right?
12· · · · · · Now I'm just trying to find out if you       12· · · ·A.· ·Somewhat, yes.
13· ·remember if you started talking with the police       13· · · ·Q.· ·You had a general idea what they were?
14· ·prior to 10:23 in the morning, which is what my       14· · · ·A.· ·Yes, sir.
15· ·report reflects?                                      15· · · ·Q.· ·All right.· Do you remember the
16· · · · · · MR. TAYLOR:· I just want to make it          16· ·officers reading them to you on the morning of
17· ·clear, Jim, that I continue to object for your        17· ·the 26th?
18· ·not allowing him to finish his answer.                18· · · ·A.· ·Yes, sir.
19· · · · · · MR. SOTOS:· All right.                       19· · · ·Q.· ·All right.· I'm going to ask your
20· · · · · · THE WITNESS:· It seemed as though as         20· ·counsel to place in front of you Exhibit 6 which
21· ·soon as we got to the station, questioning            21· ·is a police report signed by Defendant Fiers,
22· ·began.                                                22· ·F-i-e-r-s, Savory 5848 through 5850.
23· ·BY MR. SOTOS:                                         23· · · · · · I'm going to ask you some questions
24· · · ·Q.· ·And do you remember what time you got        24· ·about the report.· Okay.
                                                      61                                                         63

·1· ·to the station?                                       ·1· · · · · · According to the report it says that
·2· · · ·A.· ·When we left the Gift Avenue Detention       ·2· ·after an officer read you your Miranda rights
·3· ·Center.                                               ·3· ·that you said you understood them, and you did
·4· · · ·Q.· ·All right.· And you didn't have              ·4· ·wish to talk to the officers, is that accurate?
·5· ·breakfast at the Gift -- all right -- you could       ·5· · · ·A.· ·No.
·6· ·have, right, they had breakfast there?                ·6· · · ·Q.· ·Okay.· Do you remember what you said
·7· · · ·A.· ·No, sir.                                     ·7· ·after you were read the Miranda rights?
·8· · · ·Q.· ·They didn't have breakfast available?        ·8· · · ·A.· ·Yes, can I go home.
·9· · · ·A.· ·They had breakfast, they never gave me       ·9· · · ·Q.· ·That's what --
10· ·a chance to get it.                                   10· · · ·A.· ·-- when am I going home?
11· · · ·Q.· ·How about the night before, did you eat      11· · · ·Q.· ·Okay.· And did they respond?
12· ·something the night before?                           12· · · ·A.· ·No.
13· · · · · · MR. TAYLOR:· Objection, form.                13· · · ·Q.· ·Okay.· Did you ever say that you
14· · · · · · THE WITNESS:· They gave me a Snickers        14· ·understood the rights and you did wish to talk
15· ·and a Dr. Pepper pop.                                 15· ·to the officers?
16· ·BY MR. SOTOS:                                         16· · · ·A.· ·No.
17· · · ·Q.· ·All right.· So, now we're at -- you're       17· · · ·Q.· ·Okay.· Can you turn to Page 2 of this
18· ·at the police station on the 26th, and you said       18· ·report?· Do you see the first full paragraph
19· ·you recall talking to police officers as soon as      19· ·that starts out with this officer?
20· ·you got the to the station?                           20· · · ·A.· ·Um-hm.
21· · · ·A.· ·Yes, sir.                                    21· · · · · · THE COURT REPORTER:· Yes?
22· · · ·Q.· ·You can't remember exactly what time,        22· · · · · · THE WITNESS:· Yes.
23· ·it was 40 something years later?                      23· ·BY MR. SOTOS:
24· · · ·A.· ·No, sir.                                     24· · · ·Q.· ·So, I'll just read this into the
                                                      62                                                         64

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24       Page 18 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·record.· According to the report the officer          ·1· ·suggests there might be an issues there, but
·2· ·asked you if you had made any statements to           ·2· ·beyond that.
·3· ·Marva Jones, and that you initially denied            ·3· ·BY MR. SOTOS:
·4· ·making any statements to her.                         ·4· · · ·Q.· ·Do you remember, or did you tell the
·5· · · · · · Do you remember having a discussion          ·5· ·officers that you did tell Marva he split her
·6· ·with the officers that morning about any              ·6· ·stomach wide open, Marva, you should have seen
·7· ·statements you may have made to Marva Jones?          ·7· ·it, you just don't know?
·8· · · · · · MR. TAYLOR:· Objection as to form.           ·8· · · · · · MR. TAYLOR:· Same objection.
·9· · · · · · THE WITNESS:· It's possible he could         ·9· · · · · · THE WITNESS:· I never made such a
10· ·have asked me that, and I told him no.                10· ·statement to anyone.
11· ·BY MR. SOTOS:                                         11· ·BY MR. SOTOS:
12· · · ·Q.· ·Do you remember him -- do you remember       12· · · ·Q.· ·You never said that, and never told the
13· ·the officer telling you that other officers had       13· ·officer you said that?
14· ·interviewed Marva Jones earlier that day, more        14· · · ·A.· ·No, sir.
15· ·like in the middle of the night between the 25th      15· · · · · · MR. BOWMAN:· Objection, compound.
16· ·and the 26th?                                         16· ·BY MR. SOTOS:
17· · · ·A.· ·They could have.                             17· · · ·Q.· ·All right.· Have you seen this report
18· · · ·Q.· ·You just don't remember?                     18· ·before today where according to the officer you
19· · · ·A.· ·No, sir.                                     19· ·confirmed that you did make that statement to
20· · · ·Q.· ·Do you remember an officer quoting you       20· ·Marva Jones?
21· ·a statement from Marva Jones where she -- where       21· · · ·A.· ·I don't remember seeing this report.
22· ·they claim that she said you told her that he         22· · · ·Q.· ·Is this the first time -- is this like
23· ·split her stomach wide open, Marva, you should        23· ·the first time you remember hearing, other than
24· ·have seen it.· Do you remember the officers           24· ·through conversations with your lawyers, that
                                                      65                                                         67

·1· ·telling you that that's what Marva Jones told         ·1· ·the officers claimed that you admitted saying
·2· ·him?                                                  ·2· ·that to Marva Jones?
·3· · · · · · MR. TAYLOR:· Objection as to form and        ·3· · · · · · MR. TAYLOR:· I'm going to object to the
·4· ·foundation.                                           ·4· ·form and foundation of that.
·5· · · · · · THE WITNESS:· No, sir.                       ·5· · · · · · MR. SOTOS:· It's all right.· We can
·6· · · · · · MR. SOTOS:· All right.                       ·6· ·move beyond it.
·7· · · · · · MR. BOWMAN:· Could I have that question      ·7· ·BY MR. SOTOS:
·8· ·back, please?                                         ·8· · · ·Q.· ·Go ahead.· Do you want to say
·9· · · · · · · · · ·(Whereupon, the record was read       ·9· ·something?
10· · · · · · · · · · as requested.)                       10· · · ·A.· ·I just want to make it clear I ain't
11· · · · · · MR. BOWMAN:· Thank you.                      11· ·never made no statement like that to any officer
12· ·BY MR. SOTOS:                                         12· ·or anyone --
13· · · ·Q.· ·Do you remember that?                        13· · · ·Q.· ·-- right --
14· · · ·A.· ·No.                                          14· · · ·A.· ·-- ever.
15· · · ·Q.· ·So, did you ever tell the officers that      15· · · ·Q.· ·And you never talked to Marva Jones
16· ·you did, in fact, say to Marva at some point, he      16· ·about that at any time -- I mean did you ever
17· ·split her stomach wide open, Marva, you should        17· ·talk to Marva Jones about the -- about Scopey
18· ·have seen it, you just don't know?                    18· ·and Connie having been killed at any time?
19· · · · · · MR. TAYLOR:· Objection.· Go ahead.           19· · · ·A.· ·That answer is no.
20· · · · · · MR. BOWMAN:· Form of the question.           20· · · ·Q.· ·So you never had a conversation --
21· · · · · · MR. SOTOS:· You guys have the same           21· · · ·A.· ·-- never had a conversation with her or
22· ·objections, just one if you can do it.                22· ·anyone else regarding --
23· · · · · · MR. TAYLOR:· We want to make sure.           23· · · ·Q.· ·-- okay --
24· · · · · · MR. SOTOS:· It's confirmatory, it            24· · · ·A.· ·-- this case.
                                                      66                                                         68

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24        Page 19 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· · · ·Q.· ·Okay.· How about Ray Mason, did you          ·1· ·different aspect.
·2· ·ever talk to Ray Mason about Connie and Scopey        ·2· · · ·A.· ·Okay.
·3· ·being killed?                                         ·3· · · ·Q.· ·They didn't object when you started
·4· · · ·A.· ·No, sir.                                     ·4· ·doing it though.
·5· · · ·Q.· ·Okay.· Did you finally get something to      ·5· · · · · · MR. TAYLOR:· Objection to you saying
·6· ·eat about noon; does that sound right to you, or      ·6· ·what we would have done.
·7· ·do you remember?                                      ·7· ·BY MR. SOTOS:
·8· · · · · · MR. TAYLOR:· Objection, form.                ·8· · · ·Q.· ·Okay.· So, anyway, so yeah, you did
·9· · · · · · THE WITNESS:· It was probably somewhere      ·9· ·cover that in your last deposition about your
10· ·around that time.                                     10· ·dad being there, and you weren't able to
11· ·BY MR. SOTOS:                                         11· ·communicate with him I think you said.
12· · · ·Q.· ·Okay.· Steak and Shake hamburger, and        12· · · · · · So, then you did talk with the officers
13· ·if not --                                             13· ·again after lunch, correct?
14· · · ·A.· ·-- something like that.                      14· · · ·A.· ·Yes.
15· · · ·Q.· ·Okay.· All right.· And did you get           15· · · ·Q.· ·Now, you remember Percy Baker being
16· ·about a 30 minute break or so in between talking      16· ·there when you talked to the officers on the
17· ·to the first officers in the morning, and then        17· ·26th at all?
18· ·talking to the officers again in the afternoon        18· · · · · · MR. TAYLOR:· Objection, form.
19· ·for lunch -- strike that.· That was a long way        19· ·BY MR. SOTOS:
20· ·of just asking, was the lunch break about             20· · · ·Q.· ·At any point do you remember Percy
21· ·30 minutes or so?                                     21· ·Baker being there on the 26th?
22· · · ·A.· ·Don't know how long it was, but let me       22· · · ·A.· ·I can remember him being there, I just
23· ·give my clarification of that.· I can't               23· ·don't remember when and where.
24· ·remember, I know it's not the question, but they      24· · · · · · I don't recall him sitting in on no
                                                      69                                                         71

·1· ·allowed me to see my dad as I explained in my         ·1· ·sessions that we had.
·2· ·last deposition, don't know what time, but I'm        ·2· · · ·Q.· ·At all?
·3· ·sure it was before they gave me something to          ·3· · · ·A.· ·Not to my memory.
·4· ·eat, and don't know, as I explained before, what      ·4· · · ·Q.· ·All right.· So, that's something that
·5· ·they said to him, but it become so chaotic            ·5· ·you don't remember it; you're are not saying he
·6· ·again, and also they -- after seeing my dad, and      ·6· ·never did, you just don't remember?
·7· ·they took me back in for questioning, and then        ·7· · · ·A.· ·I'm saying I ain't never seen him in
·8· ·they decided to scrub me naked.                       ·8· ·the police -- in the interrogation room, or
·9· · · ·Q.· ·We're going to get to that.                  ·9· ·whatever kind of room you want to call it, while
10· · · ·A.· ·I'm just saying -- I know you're             10· ·we were while -- while they was engaging in
11· ·speeding it up, but a lot of things happened in       11· ·conversation with me.
12· ·between lunch and -- I mean I was -- I                12· · · ·Q.· ·So, you're saying he was not there, not
13· ·just didn't --                                        13· ·just that you don't remember it; you're saying
14· · · ·Q.· ·-- here's why I'm doing that, because I      14· ·he wasn't there at all?
15· ·got exactly four hours --                             15· · · ·A.· ·I'm saying he was there, but he was in
16· · · ·A.· ·-- okay, go ahead.                           16· ·the present in the interrogation room.
17· · · ·Q.· ·So, if like I would have asked you           17· · · ·Q.· ·At any point?
18· ·about what happened with your dad like you just       18· · · ·A.· ·To my knowledge, at any point.
19· ·told me, these guys would have started objecting      19· · · ·Q.· ·When you say to my knowledge, I'm not
20· ·and saying that was covered last time and --          20· ·-- if you're saying you don't remember, I
21· · · ·A.· ·-- okay --                                   21· ·understand that, but if you're saying you know
22· · · ·Q.· ·-- and you can't do that, that's the         22· ·that he wasn't there, I'm just trying to figure
23· ·reason I'm trying to move through this and just       23· ·out which one it is.
24· ·ask you specific questions about the                  24· · · · · · MR. TAYLOR:· Objection, asked and
                                                      70                                                         72

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24      Page 20 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·answered.                                             ·1· · · ·A.· ·Yes.
·2· ·BY MR. SOTOS:                                         ·2· · · ·Q.· ·Okay.· And then how about the 26th if
·3· · · ·Q.· ·So, you can -- can you clear that up         ·3· ·he wasn't present in the interview or
·4· ·for me?                                               ·4· ·interrogation room at any point, what do -- how
·5· · · ·A.· ·He was never present --                      ·5· ·do you remember interacting with him on the
·6· · · ·Q.· ·-- all right --                              ·6· ·26th?
·7· · · ·A.· ·-- during any interrogation.                 ·7· · · ·A.· ·I believe that he had accompanied us to
·8· · · ·Q.· ·Okay.· And did you see him on the 25th       ·8· ·the second polygraph test, I believe.
·9· ·at all, the night before?                             ·9· · · ·Q.· ·On the 26th?
10· · · ·A.· ·Yes.                                         10· · · ·A.· ·Yes.
11· · · ·Q.· ·Okay.· In what capacity did you see him      11· · · ·Q.· ·Is that the first time you remember
12· ·then, describe for me how you saw him on the          12· ·interacting with him on the 26th?
13· ·25th?                                                 13· · · ·A.· ·Yes.
14· · · · · · MR. TAYLOR:· Objection to form.              14· · · ·Q.· ·Okay.· So, do you remember some time
15· · · · · · THE WITNESS:· He came in right before        15· ·after lunch telling the -- telling whatever
16· ·we were taken into the interrogation -- I mean        16· ·officers present that you would tell everything
17· ·to the polygraph exam.                                17· ·but only to Marcella Brown?
18· ·BY MR. SOTOS:                                         18· · · · · · MR. TAYLOR:· Objection, form and
19· · · ·Q.· ·Before the polygraph?                        19· ·foundation.
20· · · ·A.· ·Yes.                                         20· ·BY MR. SOTOS:
21· · · ·Q.· ·Did you have a conversation with him at      21· · · ·Q.· ·Okay.· So, if you look at that report
22· ·that point?                                           22· ·that I've got, the paragraph that starts out at
23· · · ·A.· ·Briefly he asked me would I go and take      23· ·the approximately 12:00; do you see that?· In
24· ·a polygraph, and I agreed to go take the              24· ·the fourth line, just read that sentence,
                                                      73                                                         75

·1· ·polygraph test if I could go home.                    ·1· ·because -- go ahead.· I'll wait for you.
·2· · · ·Q.· ·Okay.· And that was the only                 ·2· · · ·A.· ·You mean the second paragraph?
·3· ·interaction you remember with Percy Baker on the      ·3· · · ·Q.· ·Yeah.
·4· ·25th?                                                 ·4· · · ·A.· ·And what line from the second
·5· · · ·A.· ·Yes.                                         ·5· ·paragraph?
·6· · · ·Q.· ·Okay.· You knew Percy Baker at that          ·6· · · ·Q.· ·The fourth line that says, after a
·7· ·time, right?                                          ·7· ·short time Johnnie made the statement that he
·8· · · ·A.· ·Yes.                                         ·8· ·would tell everything, but he would only tell it
·9· · · ·Q.· ·What was your relationship with him?         ·9· ·to Officer Marcella Brown.
10· · · ·A.· ·He was my -- I was on temporary              10· · · ·A.· ·No, I never made that statement.
11· ·probation for truancy, so he was my probation         11· · · · · · MR. TAYLOR:· Did you have a question?
12· ·officer.                                              12· · · · · · MR. SOTOS:· That was the question.
13· · · ·Q.· ·Okay.· Did you feel like you had a good      13· · · · · · MR. TAYLOR:· All right.· Objection.
14· ·relationship with him, a mutual relationship, or      14· ·BY MR. SOTOS:
15· ·a bad relationship?                                   15· · · ·Q.· ·So, you didn't make that statement?
16· · · · · · MR. TAYLOR:· Objection, form.                16· · · ·A.· ·No, sir.
17· ·BY MR. SOTOS:                                         17· · · ·Q.· ·Okay.· Do you remember saying anything
18· · · ·Q.· ·Or how would you describe your               18· ·to the officers who were present about talking
19· ·relationship with him?                                19· ·to Marcella Brown?
20· · · ·A.· ·He was okay.                                 20· · · ·A.· ·No.
21· · · ·Q.· ·Okay.· So, this brief conversation           21· · · · · · MR. BOWMAN:· Could I hear that back?
22· ·about the polygraph, is that the only                 22· · · · · · · · · ·(Whereupon, the record was read
23· ·interaction you remember having with him on the       23· · · · · · · · · · as requested.)
24· ·25th, the first day you were brought in?              24· · · · · · MR. BOWMAN:· Thank you.
                                                      74                                                         76

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             1:23-cv-01184-CRL-JEH # 318-2                  Filed: 04/22/24        Page 21 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· · · · · · THE WITNESS:· No, sir.                       ·1· ·pretty much giving up anyway.
·2· ·BY MR. SOTOS:                                         ·2· · · · · · I mean I don't know what all took
·3· · · ·Q.· ·And you don't remember Percy Baker           ·3· ·place, it was just so confusing because of
·4· ·being present when you said something along the       ·4· ·everything that took place that morning, it was
·5· ·lines of wanting to talk to Marcella Brown?           ·5· ·just --
·6· · · · · · MR. TAYLOR:· Objection, form, and            ·6· ·BY MR. SOTOS:
·7· ·foundation.                                           ·7· · · ·Q.· ·-- by that point you were already
·8· · · · · · MR. SOTOS:· I'm not talking about the        ·8· ·thinking about giving up when you were talking
·9· ·polygraph now, I'm talking about after lunch on       ·9· ·to Marcella Brown in the afternoon of the 26th?
10· ·the 26th.                                             10· · · · · · MR. BOWMAN:· Objection --
11· · · · · · THE WITNESS:· As I stated before, Percy      11· · · · · · MR. TAYLOR:· -- objection, form.
12· ·Baker was never present during no interrogation.      12· ·BY MR. SOTOS:
13· ·BY MR. SOTOS:                                         13· · · ·Q.· ·I want to make sure we get the times
14· · · ·Q.· ·Well, Marcella Brown did come in the         14· ·when this was happening.
15· ·room at some point, right?                            15· · · ·A.· ·Yes, as I explained why yes, in the
16· · · ·A.· ·Along with three other officers -- two       16· ·last deposition; it was, you know, people have
17· ·other officers.· It was always two and three          17· ·to understand that I didn't know if I was going
18· ·officers, so yes, I remember her coming into the      18· ·or coming because what had all took place.
19· ·room.                                                 19· · · · · · I went through hell for the first few
20· · · ·Q.· ·And at some point Marcella Brown was         20· ·hours, if that makes any sense.
21· ·one of them?                                          21· · · ·Q.· ·The first few hours on the 26th?
22· · · ·A.· ·Yes, sir.                                    22· · · ·A.· ·Yes, sir.
23· · · ·Q.· ·Okay.· And you had not asked for her?        23· · · ·Q.· ·Okay.· By that point had any officers
24· · · ·A.· ·No, sir.                                     24· ·yelled at you?
                                                      77                                                         79

·1· · · ·Q.· ·Did you know her when she entered the        ·1· · · · · · MR. TAYLOR:· Objection.· I think this
·2· ·room?                                                 ·2· ·was all gone over in the prior dep.· Am I right,
·3· · · ·A.· ·Yes, sir.                                    ·3· ·Locke, or should --
·4· · · ·Q.· ·Okay.· From prior contacts you had had       ·4· · · · · · MR. BOWMAN:· -- how about we take just
·5· ·with her?                                             ·5· ·a little break.· It's been over an hour, and
·6· · · · · · MR. TAYLOR:· Objection, form.· I think       ·6· ·just 10 minutes.
·7· ·this was covered in the first depression, Jim.        ·7· · · · · · MR. SOTOS:· Sure.· That's fine.
·8· · · · · · MR. SOTOS:· All right.                       ·8· · · · · · THE VIDEOGRAPHER:· The time is 14:27,
·9· ·BY MR. SOTOS:                                         ·9· ·and we are off the record.
10· · · ·Q.· ·You knew her anyway?                         10· · · · · · · · · ·(Whereupon, a short recess was
11· · · ·A.· ·I knew of her, yes.                          11· · · · · · · · · · taken.)
12· · · ·Q.· ·Okay.· But you weren't expecting her to      12· · · · · · THE VIDEOGRAPHER:· We are back on the
13· ·come in when she did, it was like the first time      13· ·record, and the time is 14:40.
14· ·-- when you saw her, you hadn't asked for her,        14· · · · · · MR. TAYLOR:· Jim, we talked it over,
15· ·or weren't expecting her, she just kind of -- as      15· ·Locke and I, and he corrected me in terms of
16· ·far as you knew, she was just showing up on her       16· ·thinking that you were -- that you could go into
17· ·own?                                                  17· ·that area that I objected to you going into in
18· · · ·A.· ·Yes, sir.                                    18· ·terms of what was and wasn't kosher, so --
19· · · ·Q.· ·All right.· And then you talked to           19· · · · · · MR. SOTOS:· -- right, right, because
20· ·Marcella Brown and other officers about the same      20· ·otherwise I would get there still, it would have
21· ·events, correct?                                      21· ·to be a roundabout way, but it's all, I think
22· · · · · · MR. TAYLOR:· Objection, form.                22· ·we're going to get there.
23· · · · · · THE WITNESS:· I just remember a bunch        23· · · · · · You know, one of the things that the
24· ·of chaotic conversations, yes, it was -- I was        24· ·Court addressed was any place where he said the
                                                      78                                                         80

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24       Page 22 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· ·Defendants lied, and so --                            ·1· · · ·Q.· ·Okay.
·2· · · · · · MR. TAYLOR:· -- okay.                        ·2· · · ·A.· ·No, and then after that, I was still
·3· ·BY MR. SOTOS:                                         ·3· ·naked and gave me an oversized jumpsuit, jail
·4· · · ·Q.· ·Okay.· So when we were back on the           ·4· ·jumpsuit and --
·5· ·record, and Mr. Savory, when we broke I was           ·5· · · ·Q.· ·-- you had your underwear on though?
·6· ·asking you -- we were starting to talk about the      ·6· · · ·A.· ·He took everything.
·7· ·afternoon of the 26th.· You said by this point        ·7· · · ·Q.· ·Okay.
·8· ·you were getting to the point you were starting       ·8· · · · · · MR. TAYLOR:· He shook his head no.
·9· ·to give up.                                           ·9· · · · · · MR. SOTOS:· I understand.· I mean he
10· · · · · · So, then I asked you whether or not by       10· ·said it, he said they took everything. I
11· ·that point any officer had yelled at you.             11· ·understand.
12· · · ·A.· ·No.                                          12· ·BY MR. SOTOS:
13· · · ·Q.· ·Okay.· And nobody had physically abused      13· · · ·Q.· ·Okay.· So, when you mentioned Officer
14· ·you in any way at that point?                         14· ·Brown wanting your hat, how do you describe that
15· · · · · · MR. TAYLOR:· Objection as to form.           15· ·as physical abuse?
16· ·BY MR. SOTOS:                                         16· · · · · · MR. TAYLOR:· Objection, form.
17· · · ·Q.· ·Is that true?                                17· · · · · · THE WITNESS:· That's what I'm
18· · · ·A.· ·No, it's not.                                18· ·describing as physical --· I'm describing going
19· · · ·Q.· ·You had been physically abused by that       19· ·in the bathroom being scrubbed naked and having
20· ·point?                                                20· ·hairs plucked from your body and not knowing
21· · · ·A.· ·Yes.                                         21· ·why.
22· · · ·Q.· ·In what way?                                 22· · · · · · I mean nothing about it felt good,
23· · · ·A.· ·After being questioned by a couple of        23· ·nothing about it -- I just felt violated. I
24· ·the officers and Officer Brown; I believe it was      24· ·mean this is my extent of my physical abuse, but
                                                      81                                                         83

·1· ·Officer Brown who suggested that I was wearing a      ·1· ·at that moment, but it didn't get better after
·2· ·hat or something, and she said that -- she was        ·2· ·that moment.
·3· ·going to take my hat, and then soon thereafter        ·3· ·BY MR. SOTOS:
·4· ·another officer came in that I did not see, and       ·4· · · ·Q.· ·But you took your own clothes off,
·5· ·they told me that I had to go to washroom with        ·5· ·right?
·6· ·this officer and give him my clothes.                 ·6· · · ·A.· ·Yes.
·7· · · · · · And after I went in, that officer told       ·7· · · ·Q.· ·Okay.· And they gave you clothes to put
·8· ·me that I had to scrub naked, and at that point       ·8· ·on?
·9· ·he took out some tweezer, and I asked him what        ·9· · · ·A.· ·Later.
10· ·he's doing, and he said he had to take hairs          10· · · ·Q.· ·How long after you took your clothes
11· ·from every place on my body.                          11· ·off was it before you got clothes to replace
12· · · ·Q.· ·How many hairs were pulled?                  12· ·them with?
13· · · ·A.· ·He plucked hairs from the top of my          13· · · ·A.· ·I don't remember.
14· ·head to my pubic area.                                14· · · ·Q.· ·Okay.· Can you estimate for me?
15· · · ·Q.· ·Could you give me an idea how many?          15· · · ·A.· ·It was -- it was before we went to the
16· · · ·A.· ·I don't know.· All I know he took it         16· ·second polygraph test, so somewhere in there,
17· ·from my head, and I think different sides of my       17· ·afternoon, something, you know.
18· ·head, and my private parts, and I had never been      18· · · ·Q.· ·Okay.· And it was somewhere in the
19· ·naked or had that happen to me -- I didn't know       19· ·afternoon when they took your clothes, too,
20· ·why it was happening then, and then --                20· ·right?
21· · · ·Q.· ·-- you didn't do any of those yourself;      21· · · ·A.· ·I'm not sure about that time, but
22· ·you didn't use the tweezers to pull any of them       22· ·somewhere after that interrogation you were
23· ·yourself?                                             23· ·talking about with Teplitz and other officers,
24· · · ·A.· ·No.                                          24· ·whatever time that was.
                                                      82                                                         84

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24        Page 23 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· · · ·Q.· ·It was after that?                           ·1· · · ·Q.· ·During the interrogation?
·2· · · ·A.· ·Yes.                                         ·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·Okay.· So, after the interrogation by        ·3· · · ·Q.· ·They were confusing you?
·4· ·Teplitz and other officers, and before you went       ·4· · · ·A.· ·To say the least, yes.
·5· ·to the polygraph, it was in that period where         ·5· · · ·Q.· ·Okay.· They weren't yelling at you?
·6· ·they had you take your clothes off, and plucked       ·6· · · ·A.· ·No.
·7· ·the hairs from you, and then gave you clothes to      ·7· · · ·Q.· ·Okay.· Were they doing anything other
·8· ·replace your clothes with?                            ·8· ·than what you've described so far that you
·9· · · · · · MR. TAYLOR:· Objection, form.                ·9· ·can -- beyond what you've already said, that you
10· · · · · · THE WITNESS:· They went out and got          10· ·construe as being abusive?
11· ·some clothes from somewhere.· I mean they didn't      11· · · ·A.· ·Yeah --
12· ·have none on location, because I was so small I       12· · · · · · MR. TAYLOR:· -- objection, form.
13· ·guess, I don't know.                                  13· · · · · · THE WITNESS:· They kept telling me that
14· ·BY MR. SOTOS:                                         14· ·my recollection was not correct as I was making
15· · · ·Q.· ·But it was -- this all happened between      15· ·inconsistent statement; when I was telling them
16· ·the end of the interrogation by Marcella Teplitz      16· ·the truth, they was telling me I was lying, and
17· ·and others, and before you were taken to the          17· ·it just never was going -- it was just too hard
18· ·polygraph, that's the timeframe?                      18· ·for me to comprehend what they were -- they
19· · · · · · MR. TAYLOR:· Same objection.                 19· ·never asked me just one single question, they
20· · · · · · THE WITNESS:· The jumpsuit and the           20· ·was always asking me a question, and then
21· ·hairs happened while in -- being interrogated,        21· ·another officer asking me another question, and
22· ·but I think they stopped it, and they came took       22· ·another one, and then they really never -- I
23· ·me immediately during that time.                      23· ·never got a chance to really say anything, but
24                                                         24· ·when I did try to tell them the truth, they
                                                      85                                                         87

·1· ·BY MR. SOTOS:                                         ·1· ·didn't -- they didn't want to hear it.· It's
·2· · · ·Q.· ·Okay.                                        ·2· ·just like everything I was saying was not true,
·3· · · ·A.· ·You know what I'm saying.                    ·3· ·and I didn't understand it.
·4· · · ·Q.· ·Yeah, I'm just trying to get the             ·4· ·BY MR. SOTOS:
·5· ·timeframe.                                            ·5· · · ·Q.· ·Did you ever admit to the officers on
·6· · · · · · So, like when they took the hairs, I'm       ·6· ·the 26th that you had lied to officers
·7· ·assuming, correct me if I'm wrong, I'm not            ·7· ·previously about anything?
·8· ·trying to put words in your mouth, I'm trying to      ·8· · · · · · MR. TAYLOR:· Objection, form,
·9· ·understand it.                                        ·9· ·foundation.
10· · · · · · So, when they took hairs was after they      10· · · · · · THE WITNESS:· I have no memory about
11· ·took your clothes, right, because that's when         11· ·that.
12· ·you didn't have any clothes on?                       12· ·BY MR. SOTOS:
13· · · ·A.· ·Yes, sir, right.                             13· · · ·Q.· ·You don't remember ever saying I lied
14· · · ·Q.· ·And so was that after Officer Teplitz        14· ·about something?
15· ·and the other officers were done questioning          15· · · ·A.· ·No.
16· ·you, or did they then bring you back in and           16· · · ·Q.· ·Okay.· You testified that the
17· ·question you again before going to the                17· ·television stand -- that the television was on a
18· ·polygraph, do you remember?                           18· ·stand that had wheels on it, and it was
19· · · ·A.· ·I believe they brought me back into          19· ·rolled -- it was rolled out of the way so you
20· ·interrogation room and again interrogated me          20· ·guys could wrestle, is that right?
21· ·again.                                                21· · · · · · MR. TAYLOR:· Objection, form.
22· · · ·Q.· ·Okay.· And so -- and you said there was      22· · · · · · THE WITNESS:· I think that's my
23· ·always more than one officer in there?                23· ·remembrance.
24· · · ·A.· ·Yes.                                         24
                                                      86                                                         88

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24        Page 24 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·BY MR. SOTOS:                                         ·1· ·remember this coffee table.· I'm just, you know.
·2· · · ·Q.· ·Okay.· Well, I'm asking are you certain      ·2· ·BY MR. SOTOS:
·3· ·that there was a stand in that room on wheels?        ·3· · · ·Q.· ·And you specifically remember a stand
·4· · · ·A.· ·Yes, to the best of my understanding,        ·4· ·with wheels on it?
·5· ·what I remember, yes.                                 ·5· · · ·A.· ·That's what I remember.
·6· · · ·Q.· ·Okay.                                        ·6· · · ·Q.· ·You have never seen a photo of a stand
·7· · · ·A.· ·It had to be sitting on something.           ·7· ·with wheels on it throughout the 45 years or so
·8· · · · · · MR. SOTOS:· Could I see that picture of      ·8· ·that this matter has been pending in one fashion
·9· ·the coffee table.                                     ·9· ·or another, correct?
10· · · · · · Okay.· I'm going to ask you to mark --       10· · · · · · MR. BOWMAN:· Objection, form,
11· ·can you mark this as Exhibit No. 27.· Thank you.      11· ·foundation.
12· · · · · · · · · ·(Whereupon, SAVORY Deposition         12· · · · · · THE WITNESS:· In 46 years I've only
13· · · · · · · · · · Exhibit No. 27 was marked for        13· ·seen the photos in this case in 1977 during my
14· · · · · · · · · · identification.)                     14· ·-- in there with Officer Cannon, and then he
15· ·BY MR. SOTOS:                                         15· ·showed me a bunch of photos, so I don't remember
16· · · ·Q.· ·Mr. Savory, I'm going to place in front      16· ·them.
17· ·of you a document that's been marked as Exhibit       17· ·BY MR. SOTOS:
18· ·No. 27.· It's Peoria Savory 12824 and 12825.          18· · · ·Q.· ·And you don't remember ever seeing a
19· · · · · · And does that look like the living room      19· ·photo of a stand with wheels on it, do you?
20· ·that you were in on January 17th, 1977?               20· · · · · · MR. TAYLOR:· Objection, foundation and
21· · · · · · MR. TAYLOR:· Objection, form and             21· ·form.
22· ·foundation.                                           22· · · · · · THE WITNESS:· As I stated to you, I
23· · · · · · THE WITNESS:· It could be, because I         23· ·don't remember seeing -- I don't remember all
24· ·don't remember exactly what their house -- I          24· ·the photos that they showed me.· There were a
                                                      89                                                         91

·1· ·only been there one time, so I don't got a true       ·1· ·lot of photos.· I don't know, it could be -- it
·2· ·recollection of everything that's in there.           ·2· ·could have been hundreds of them, or what have
·3· ·BY MR. SOTOS:                                         ·3· ·you.
·4· · · ·Q.· ·Okay.· Do you see the coffee table up        ·4· ·BY MR. SOTOS:
·5· ·against the wall there?                               ·5· · · ·Q.· ·But you don't remember seeing one that
·6· · · ·A.· ·I do.                                        ·6· ·showed a stand with wheels on it, correct?
·7· · · ·Q.· ·And is it your testimony that the TV         ·7· · · ·A.· ·I can't say I did or I didn't.
·8· ·set was not on that coffee table when you went        ·8· · · ·Q.· ·Okay.· Can you look at --
·9· ·into the house?                                       ·9· · · · · · MR. SOTOS:· -- can you put in front of
10· · · ·A.· ·I'm not sure, because I don't know if        10· ·him Exhibit 9?
11· ·someone rearranged this or not.· I'm not sure,        11· · · · · · MR. TAYLOR:· 9?
12· ·that's not what I remember.                           12· · · · · · MR. SOTOS:· Yeah, it's a report dated
13· · · ·Q.· ·Would you agree with me that that table      13· ·January 26th from Charles Cannon.
14· ·doesn't have wheels on it?                            14· ·BY MR. SOTOS:
15· · · ·A.· ·Yes.                                         15· · · ·Q.· ·Mr. Savory, your Counsel has just
16· · · ·Q.· ·Okay.· And if I told you that Scopey's       16· ·placed in front of you Defendant's Exhibit
17· ·mother testified that the television set was          17· ·No. 9, Bates stamped Savory 5838 through 5842,
18· ·sitting on that coffee table, would that cause        18· ·and I want to first ask you a question about the
19· ·you to rethink your statement that the                19· ·first paragraph.
20· ·television set was on a stand with wheels that        20· · · · · · You indicated that you had a brief
21· ·was moved?                                            21· ·exchange with Percy Baker on the 25th in regards
22· · · · · · MR. TAYLOR:· Are you finished?               22· ·to the polygraph, correct?
23· ·Objection, form and foundation.                       23· · · ·A.· ·Yes.
24· · · · · · THE WITNESS:· This is -- I don't             24· · · ·Q.· ·Do you see in the first paragraph of
                                                      90                                                         92

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24       Page 25 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·this report that's dated the 26th, on top it          ·1· ·anything to do with the murders that happened on
·2· ·says in the first paragraph at approximately          ·2· ·Garden Street?
·3· ·2100 hours, so that's 9:00 on Tuesday the 25th        ·3· · · · · · MR. TAYLOR:· Objection, form and
·4· ·this officer being Cannon talked to Percy Baker       ·4· ·foundation.
·5· ·in the detective division, Baker had been called      ·5· · · · · · THE WITNESS:· No, sir.
·6· ·to the police station regarding Johnnie Savory        ·6· ·BY MR. SOTOS:
·7· ·who is a ward of the Court.                           ·7· · · ·Q.· ·Can you go down to the third paragraph
·8· · · · · · After Baker was briefed about Johnnie's      ·8· ·on that -- bottom paragraph on that first page
·9· ·possible involvement in this case, he stated he       ·9· ·which essentially states that the officers --
10· ·had learned that Johnnie had spent Monday night,      10· ·well, if you look at the second paragraph, you
11· ·January 17th, at the home of Ray Mason who lives      11· ·will see that according to the report Defendants
12· ·on Kettle Street?                                     12· ·Cannon and Haynes interviewed Ray Mason at
13· · · · · · Baker stated that Johnnie told him that      13· ·1:30 in the morning on the 26th; do you see
14· ·Mason knew something about the murders that           14· ·that?
15· ·happened on Garden Street; do you see that            15· · · ·A.· ·Yes.
16· ·paragraph?                                            16· · · ·Q.· ·Okay.· And that they asked -- the
17· · · ·A.· ·Yes.                                         17· ·officers asked Mason if, in fact, he knew
18· · · ·Q.· ·Okay.· Do you remember talking to Percy      18· ·anything about the murders, and that according
19· ·Baker on the 25th and telling him that you spent      19· ·to the report Mason said that you were telling a
20· ·the night of the 17th at Ray Mason's house?           20· ·lie about him knowing -- you know what -- strike
21· · · · · · MR. TAYLOR:· Objection.                      21· ·that.· Let's -- let me move beyond that.
22· · · · · · MR. BOWMAN:· Foundation.                     22· · · · · · Do you see where three lines from the
23· · · · · · THE WITNESS:· No, I did not.                 23· ·bottom where Ray Mason, according to the report
24                                                         24· ·anyway, told the officers that you had been at
                                                      93                                                         95

·1· ·BY MR. SOTOS:                                         ·1· ·his home at about 5:00 in the afternoon on the
·2· · · ·Q.· ·You did not tell him that?                   ·2· ·17th?
·3· · · ·A.· ·No.                                          ·3· · · ·A.· ·I see it.
·4· · · ·Q.· ·Okay.· Did you tell anybody -- have you      ·4· · · ·Q.· ·Okay.· That's not true?
·5· ·ever told anybody that you spent the night of         ·5· · · · · · MR. TAYLOR:· Objection.
·6· ·January 17th at Ray Mason's house?                    ·6· ·BY MR. SOTOS:
·7· · · · · · MR. TAYLOR:· Objection, foundation.          ·7· · · ·Q.· ·You weren't there?
·8· · · · · · THE WITNESS:· No, sir.                       ·8· · · · · · MR. TAYLOR:· Form, foundation.
·9· ·BY MR. SOTOS:                                         ·9· · · · · · THE WITNESS:· No, I was in school.
10· · · ·Q.· ·Were you at Ray Mason's house at any         10· ·BY MR. SOTOS:
11· ·point on January 17th from the time you woke up       11· · · ·Q.· ·At 5:00?
12· ·until the time you went to bed?                       12· · · ·A.· ·Yeah.
13· · · · · · MR. TAYLOR:· Same objection.                 13· · · ·Q.· ·Okay.· If you go to the next page, and
14· · · · · · THE WITNESS:· No, sir.                       14· ·if you look at the third full paragraph that
15· ·BY MR. SOTOS:                                         15· ·starts out Mason stated on January 15th; do you
16· · · ·Q.· ·And did you tell Percy Baker that Ray        16· ·see that?
17· ·Mason knew something about the murders that           17· · · ·A.· ·Um-hm.
18· ·happened on Garden Street?                            18· · · ·Q.· ·Okay.· According to this paragraph,
19· · · · · · MR. TAYLOR:· Same objection.                 19· ·Mason told the officers that you and he were at
20· · · · · · THE WITNESS:· No, sir.                       20· ·a Kroger, he said on the 15th, other documents
21· ·BY MR. SOTOS:                                         21· ·say the 16th, and that you were there with -- at
22· · · ·Q.· ·Did you ever tell anybody that?              22· ·the Kroger with Mason and his sister-in-law,
23· · · ·A.· ·No, sir.                                     23· ·Rosemary Hamilton when you ran into Connie and
24· · · ·Q.· ·Did you ever think that Ray Mason had        24· ·Scopey and then gave them a ride home; do you
                                                      94                                                         96

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24        Page 26 of 65
                                                                       Johnnie Lee Savory 02/17/2023


·1· ·see that?                                             ·1· · · · · · THE WITNESS:· No.
·2· · · ·A.· ·I see it.                                    ·2· ·BY MR. SOTOS:
·3· · · ·Q.· ·Okay.· Did that happen?                      ·3· · · ·Q.· ·Okay.· Not on the 18th or any other
·4· · · · · · MR. TAYLOR:· Objection, form,                ·4· ·day?
·5· ·foundation.                                           ·5· · · ·A.· ·Not on any day.
·6· · · · · · THE WITNESS:· No.                            ·6· · · ·Q.· ·Okay.· Okay.· And you don't ever
·7· ·BY MR. SOTOS:                                         ·7· ·remember being on a phone call where Mason's
·8· · · ·Q.· ·Okay.· Do you have any -- let me ask it      ·8· ·mother, Jessie, Ms. Jessie was on the phone when
·9· ·this way.· Aside from the date, were you ever at      ·9· ·she said it's a sin the way people are killing
10· ·a Kroger with Ray Mason and his sister-in-law,        10· ·each other; did that ever happen?
11· ·Rosemary Hamilton, where you ran into anybody         11· · · · · · MR. TAYLOR:· Objection, form,
12· ·and gave them a ride home?                            12· ·foundation.
13· · · · · · MR. TAYLOR:· Objection, form,                13· · · · · · THE WITNESS:· No.
14· ·foundation.                                           14· ·BY MR. SOTOS:
15· · · · · · THE WITNESS:· No, not to my                  15· · · ·Q.· ·Okay.· And just -- and if I already
16· ·understanding, not to my recollection that ain't      16· ·asked this, I apologize, I just want to make
17· ·never took place.                                     17· ·sure that I did.
18· ·BY MR. SOTOS:                                         18· · · · · · Is it your testimony that you never
19· · · ·Q.· ·So, if I ask you to assume that this         19· ·talked to Marva Jones about the murders in any
20· ·paragraph that the officers accurately                20· ·respect at any time?
21· ·recounting what Mason said, do you know of any        21· · · · · · MR. TAYLOR:· Objection, form,
22· ·reason why Mason would make up that whole story?      22· ·foundation.
23· · · · · · MR. TAYLOR:· Objection, form and             23· · · · · · THE WITNESS:· No.
24· ·foundation.                                           24
                                                      97                                                         99

·1· · · · · · THE WITNESS:· I don't even want to           ·1· ·BY MR. SOTOS:
·2· ·assume.· I just -- I know that it didn't happen,      ·2· · · ·Q.· ·It's correct that you did not do that?
·3· ·and I wasn't with him.                                ·3· · · ·A.· ·Yes, sir.
·4· ·BY MR. SOTOS:                                         ·4· · · ·Q.· ·I want to ask you some questions about
·5· · · ·Q.· ·And you don't know of any reason why he      ·5· ·your conversation with the officers
·6· ·would say that if it wasn't true?                     ·6· ·interrogation on the afternoon of the 26th when
·7· · · · · · MR. TAYLOR:· Same objection.                 ·7· ·Marcella Teplitz was there.· Okay.· She did a
·8· · · · · · THE WITNESS:· I cannot speculate or          ·8· ·report of that.
·9· ·assume why this statement was made by him.            ·9· · · · · · MR. SOTOS:· So, I'm going to ask your
10· ·BY MR. SOTOS:                                         10· ·Counsel to place Exhibit 10 in front of you.
11· · · ·Q.· ·Okay.· Can you look at the next page.        11· · · · · · MR. BOWMAN:· Did you take this --
12· ·The bottom paragraph according to this report,        12· · · · · · MR. TAYLOR:· Yes, I think I did.
13· ·Mason told Cannon and -- well, he told to             13· · · · · · MR. SOTOS:· So, for the record, your
14· ·Cannon anyway that on the morning of the 18th,        14· ·Counsel has placed in front of you Exhibit 10
15· ·the morning of the murders, that you called at        15· ·which is Savory LL 005827 through 00593, and
16· ·some point and said something sad just happened,      16· ·this as a report that Marcella Brown, who later
17· ·and he asked you what, and you said that some of      17· ·back Teplitz did according to the date on report
18· ·your friends got killed.                              18· ·on January 26th, 1977.
19· · · · · · You have to look at the bottom of the        19· ·BY MR. SOTOS:
20· ·page and then go on to the top of the next page.      20· · · ·Q.· ·So, I'm going to ask you some questions
21· · · ·A.· ·Okay.· What is your question?                21· ·about this report for awhile now.
22· · · ·Q.· ·Did you ever make that call?                 22· · · ·A.· ·Yes, sir.
23· · · · · · MR. TAYLOR:· Objection to form and           23· · · ·Q.· ·In the first paragraph Ms. Brown states
24· ·foundation.                                           24· ·that Percy Baker told her that you had asked to
                                                      98                                                        100

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24      Page 27 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· ·talk to her and that you were willing to tell         ·1· ·the Kroger and gave them a ride home; except
·2· ·her everything about the case, and that you           ·2· ·according to this report that happened on
·3· ·wanted to talk to her alone.                          ·3· ·January 16th not the 15th; do you see that in
·4· · · · · · Did any of that actually take place?         ·4· ·that second paragraph?
·5· · · · · · MR. TAYLOR:· Objection, form and             ·5· · · ·A.· ·Yes.
·6· ·foundation.                                           ·6· · · ·Q.· ·Okay.· Did you tell Marcella Brown if
·7· · · · · · THE WITNESS:· No.                            ·7· ·that occurred?
·8· ·BY MR. SOTOS:                                         ·8· · · · · · MR. TAYLOR:· Objection, form,
·9· · · ·Q.· ·Okay.· So, you never told Percy Baker        ·9· ·foundation.
10· ·that you'd like to talk to Marcella Brown,            10· · · · · · THE WITNESS:· No.
11· ·correct?                                              11· ·BY MR. SOTOS:
12· · · ·A.· ·Yes.                                         12· · · ·Q.· ·Okay.· In the next paragraph you
13· · · · · · MR. TAYLOR:· Same objection.                 13· ·describe -- I'm sorry, she describes you
14· ·BY MR. SOTOS:                                         14· ·explaining what you did on the 17th of January
15· · · ·Q.· ·You never told him that you were             15· ·the day before the murders, and that you said
16· ·willing to tell Marcella Brown everything about       16· ·when you got up you went to Georgie's house; did
17· ·the case, correct?                                    17· ·you tell her that?
18· · · · · · MR. TAYLOR:· Objection, form,                18· · · · · · MR. TAYLOR:· Objection, form,
19· ·foundation.                                           19· ·foundation.
20· · · · · · THE WITNESS:· Correct.                       20· · · · · · THE WITNESS:· Yes.
21· ·BY MR. SOTOS:                                         21· ·BY MR. SOTOS:
22· · · ·Q.· ·And you didn't tell Baker that you           22· · · ·Q.· ·Who is Georgie?
23· ·wanted to talk to her alone?                          23· · · ·A.· ·She is a wonderful mother and
24· · · · · · MR. TAYLOR:· Same objection.                 24· ·grandmother of a lot of children.
                                                     101                                                        103

·1· · · · · · THE WITNESS:· Correct.                       ·1· · · ·Q.· ·So is that Georgia Smolley?
·2· ·BY MR. SOTOS:                                         ·2· · · ·A.· ·Yes, sir.
·3· · · ·Q.· ·Okay.· And I think you testified you         ·3· · · ·Q.· ·So, you did tell Marcella Teplitz --
·4· ·don't remember talking to her alone, there were       ·4· ·excuse me, Brown at the time that you went to
·5· ·always other officers present?                        ·5· ·Georgie's house on the morning of the 17th, the
·6· · · ·A.· ·Yes.                                         ·6· ·day before the murders?
·7· · · ·Q.· ·Okay.· So, according to this report, if      ·7· · · ·A.· ·Yes.
·8· ·you look at the second paragraph, you said that       ·8· · · ·Q.· ·Okay.· And that you then went to,
·9· ·you wanted Officer Brown to write everything          ·9· ·according to the report, that you then went to
10· ·down that you said as you told your story; do         10· ·Tina's house about 9:00; did you tell her that?
11· ·you remember saying that to her?                      11· · · · · · MR. TAYLOR:· Objection, form,
12· · · · · · MR. TAYLOR:· Same objection; form and        12· ·foundation.
13· ·foundation.                                           13· · · · · · THE WITNESS:· No, no, no.
14· · · · · · THE WITNESS:· No.                            14· ·BY MR. SOTOS:
15· ·BY MR. SOTOS:                                         15· · · ·Q.· ·Here it's in the second line of that
16· · · ·Q.· ·And is it the case that you did not say      16· ·have bottom paragraph, it says he then went to
17· ·that to her?                                          17· ·Tina's house about 9:00?
18· · · · · · MR. TAYLOR:· Same objection.                 18· · · ·A.· ·No, I didn't -- what's wrong this is
19· · · · · · THE WITNESS:· Correct.                       19· ·the date that's not -- that's not correct for
20· ·BY MR. SOTOS:                                         20· ·the date.· The date is wrong going to Georgia's
21· · · ·Q.· ·Okay.· You'll see she goes on in that        21· ·house.
22· ·paragraph to describe the same thing that we had      22· · · ·Q.· ·What date should be there?
23· ·just talked where Ray Mason said that he, and         23· · · ·A.· ·I believe the 18th.
24· ·you, and Rosemary ran into Connie and Scopey at       24· · · ·Q.· ·Okay.
                                                     102                                                        104

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24        Page 28 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· · · ·A.· ·The morning of the 18th.                     ·1· · · ·A.· ·I don't remember that.· I don't
·2· · · ·Q.· ·So, it's your testimony that you did         ·2· ·remember telling her that.
·3· ·tell Marcella these things, but you said they         ·3· · · ·Q.· ·Okay.· And when it states that you went
·4· ·happened on the 18th not the 17th?                    ·4· ·downtown to see your probation officer, Percy
·5· · · · · · MR. TAYLOR:· Objection to the form and       ·5· ·Baker in the next sentence, did you tell
·6· ·foundation of that question.                          ·6· ·Marcella that you did that?
·7· ·BY MR. SOTOS:                                         ·7· · · ·A.· ·Yes.
·8· · · ·Q.· ·Is that correct?                             ·8· · · ·Q.· ·Was that the 17th, or the 18th, or
·9· · · ·A.· ·Yes, sir.                                    ·9· ·both?
10· · · ·Q.· ·Okay.· So, you did tell her you went to      10· · · ·A.· ·That's the 18th.
11· ·Georgie's house in the morning, right?                11· · · ·Q.· ·The 18th?
12· · · ·A.· ·The 18th.                                    12· · · ·A.· ·Yes.
13· · · ·Q.· ·Of the 18th.· Okay.                          13· · · ·Q.· ·Okay.· Now, the report then goes on to
14· · · · · · And then you did tell her you went to        14· ·say that you went to school, and then left after
15· ·Tina's house about 9:00 a.m.?                         15· ·school with Scopey; is that true?
16· · · ·A.· ·Did not.                                     16· · · ·A.· ·Well --
17· · · ·Q.· ·You didn't tell her that?                    17· · · · · · MR. TAYLOR:· -- hold on, objection.
18· · · ·A.· ·No.                                          18· ·BY MR. SOTOS:
19· · · ·Q.· ·Did you tell her you went to Tina's          19· · · ·Q.· ·Now, we're talking about the 17th.
20· ·house at all?                                         20· · · ·A.· ·Yes, this is, you know --
21· · · ·A.· ·I think I can remember answering --          21· · · · · · MR. BOWMAN:· -- again, are you asking
22· ·this question was asked of me before, I will          22· ·about what happened or --
23· ·give you what I said before.                          23· · · · · · MR. SOTOS:· -- I'm asking if it's
24· · · ·Q.· ·As far as the 18th goes?                     24· ·accurate where the report says referring to the
                                                     105                                                        107

·1· · · ·A.· ·Yes, I mean in the deposition, yes.          ·1· ·17th that you and Scopey left school together,
·2· · · ·Q.· ·I understand.· And you did go to Tina's      ·2· ·and Scopey asked you to come to his house.
·3· ·house at some point on the 18th for sure, right?      ·3· · · · · · THE WITNESS:· Yes.
·4· · · ·A.· ·Yes.                                         ·4· ·BY MR. SOTOS:
·5· · · ·Q.· ·And that was Tina Ivy, correct?              ·5· · · ·Q.· ·All right.· Okay.· And if you go on to
·6· · · ·A.· ·Yes.                                         ·6· ·the next page, in the top paragraph it states
·7· · · ·Q.· ·And what time did you go there?              ·7· ·that you then placed a bet on a card drawing;
·8· · · ·A.· ·I went to -- when I left the Smolley's       ·8· ·you and Scopey, and Scopey won $2; do you see
·9· ·home, I went to Mrs. Williams' home -- all of us      ·9· ·that?
10· ·live in the same area, and she had some foster        10· · · ·A.· ·Where did you say?
11· ·children there, a couple of boys that I used to       11· · · ·Q.· ·Fourth line down from the top; they
12· ·babysit, and I stayed there with them for             12· ·then placed a bet on card drawing and victim
13· ·awhile, and it could have been like, I don't          13· ·James won $2; do you remember that?
14· ·know, around 10:30, 11:00, something of that          14· · · ·A.· ·No.
15· ·nature.                                               15· · · ·Q.· ·You said that didn't happen?
16· · · ·Q.· ·If you look at the next line it says         16· · · · · · MR. TAYLOR:· Object, form, foundation.
17· ·that you left and went down with Georgie's            17· · · · · · THE WITNESS:· No, I don't remember
18· ·daughter, Darlene Harris.                             18· ·telling her that.
19· · · · · · Did you tell Marcella that you did that      19· ·BY MR. SOTOS:
20· ·either on the 17th or the 18th?                       20· · · ·Q.· ·Okay.· Are you saying you didn't tell
21· · · · · · MR. TAYLOR:· Objection, form and             21· ·her that, or you just don't remember?
22· ·foundation.                                           22· · · ·A.· ·I didn't tell her that.
23· ·BY MR. SOTOS:                                         23· · · ·Q.· ·Right before that she writes that you
24· · · ·Q.· ·Or on any day?                               24· ·told her that Scopey took the key out of the
                                                     106                                                        108

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24     Page 29 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·mailbox.                                              ·1· ·you were getting a little too rough?
·2· · · · · · I think you testified before it was          ·2· · · ·A.· ·No.
·3· ·under a mat; is that what you told her as well?       ·3· · · · · · MR. TAYLOR:· Form and foundation.
·4· · · · · · MR. TAYLOR:· Objection, form.                ·4· · · · · · THE WITNESS:· No.
·5· · · · · · THE WITNESS:· It's as I told you             ·5· ·BY MR. SOTOS:
·6· ·before, I don't remember seeing him take no key       ·6· · · ·Q.· ·That never happened?
·7· ·from the mailbox; he took it from under the mat.      ·7· · · ·A.· ·No.
·8· ·BY MR. SOTOS:                                         ·8· · · · · · MR. BOWMAN:· I think that, you know,
·9· · · ·Q.· ·So, you wouldn't have told her that          ·9· ·the questions stray from time to time from the
10· ·then?                                                 10· ·documents to the memory of those days.
11· · · ·A.· ·No.                                          11· · · · · · The events of those days were clearly
12· · · ·Q.· ·All right.· If you look down a line or       12· ·covered before.· You know, I am trying not to --
13· ·two from where you are, according to the report,      13· · · · · · MR. SOTOS:· -- yeah, I understand.
14· ·it says you and Scopey then played with some          14· · · · · · MR. BOWMAN:· The policemen --
15· ·sticks used in karate for awhile; did you tell        15· · · · · · MR. SOTOS:· -- the Court said what it
16· ·her that?                                             16· ·said; I get it.· So, I will stay within the
17· · · · · · MR. TAYLOR:· Objection, form,                17· ·confines of that.
18· ·foundation.                                           18· · · · · · Sometimes it just facilitates easier
19· · · · · · THE WITNESS:· No.                            19· ·questions, but it's -- I understand.
20· ·BY MR. SOTOS:                                         20· ·BY MR. SOTOS:
21· · · ·Q.· ·Going down a few lines, when you went        21· · · ·Q.· ·So, at the bottom of that paragraph Ms.
22· ·to see Marva to get money for the chicken, it         22· ·Brown writes that you said you went away to
23· ·says that James carried a black nightstick, and       23· ·Mason's house after leaving Scopey's house that
24· ·you had a metal pole; did you tell Officer            24· ·night sometime around 11:00; did you say that to
                                                     109                                                        111

·1· ·Teplitz that?                                         ·1· ·Marcella Teplitz?
·2· · · · · · MR. TAYLOR:· Same objection; form and        ·2· · · · · · MR. TAYLOR:· Objection.
·3· ·foundation.                                           ·3· · · · · · MR. SOTOS:· Marcella Brown?
·4· · · · · · THE WITNESS:· No.                            ·4· · · · · · MR. TAYLOR:· Form and foundation, just
·5· ·BY MR. SOTOS:                                         ·5· ·so we are abundantly clear about what date this
·6· · · ·Q.· ·Okay.· And I take it you didn't say          ·6· ·is written about.
·7· ·anything to her about chasing a boy named             ·7· · · · · · MR. SOTOS:· That's fair.
·8· ·Melvin?                                               ·8· ·BY MR. SOTOS:
·9· · · ·A.· ·No.                                          ·9· · · ·Q.· ·Did you say to Marcella Teplitz that on
10· · · ·Q.· ·Okay.· When you returned to the house a      10· ·any night you left Scopey's home and then went
11· ·few lines down still in that same paragraph, Ms.      11· ·to Ray Mason's house before going home yourself?
12· ·Brown writes that you and Scopey were wrestling       12· · · · · · MR. TAYLOR:· Objection, form and
13· ·around again; did you tell her that?                  13· ·foundation.
14· · · · · · MR. TAYLOR:· Objection, form and             14· · · · · · THE WITNESS:· The answer is no.
15· ·foundation.                                           15· ·BY MR. SOTOS:
16· · · · · · THE WITNESS:· No.                            16· · · ·Q.· ·Okay.· According to the report, the
17· ·BY MR. SOTOS:                                         17· ·last sentence of that paragraph you did you tell
18· · · ·Q.· ·And that's because you weren't               18· ·Ms. Brown that you -- Officer Brown, that you
19· ·wrestling around when you went back to the            19· ·woke up at 8:30 the morning of the 18th, the
20· ·house?                                                20· ·morning of the murders, correct?
21· · · ·A.· ·No.                                          21· · · · · · MR. TAYLOR:· Are you asking whether the
22· · · ·Q.· ·So, when you were back at the house,         22· ·report says that or --
23· ·did Scopey's mother ever tell you and Scopey to       23· · · · · · MR. SOTOS:· -- I'm just saying
24· ·stop wrestling that you were -- it looks like         24· ·according to the report the last line it states
                                                     110                                                        112

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             1:23-cv-01184-CRL-JEH # 318-2                  Filed: 04/22/24        Page 30 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·that you told Ms. -- Officer Brown that you woke      ·1· · · ·Q.· ·Okay.· And did you tell Marcella Brown
·2· ·up at approximately 8:30 in the morning on            ·2· ·that took place?
·3· ·Tuesday January 18th; do you see that?                ·3· · · ·A.· ·Yes, that took place.
·4· · · · · · That top paragraph right here, do you        ·4· · · ·Q.· ·Okay.· And did you tell her that you
·5· ·see where I'm pointing?· I'm sorry, there is a        ·5· ·then went to -- that you left the school and
·6· ·lot of words on the page.                             ·6· ·went to Marva Jones' house at about 5:00 in the
·7· · · · · · THE WITNESS:· I believe I said between       ·7· ·afternoon?
·8· ·8 and 8:30, something like that on the 18th.          ·8· · · ·A.· ·The 18th?
·9· ·BY MR. SOTOS:                                         ·9· · · ·Q.· ·Yes.
10· · · ·Q.· ·And did you tell Ms. Brown that you          10· · · ·A.· ·Yes, sir.
11· ·then went to Darlene Harris' house?                   11· · · ·Q.· ·Okay.· And did you tell her that you
12· · · · · · MR. TAYLOR:· Objection, form and             12· ·then left to get Scopey, and when you got near
13· ·foundation.                                           13· ·the house, you saw the police cars?
14· · · · · · THE WITNESS:· I want to be clear, this       14· · · ·A.· ·Yes.
15· ·is the Smolley's home, and she just one of the        15· · · ·Q.· ·And that you asked what happened of
16· ·children, but yes.                                    16· ·several officers, and no one would tell you?
17· ·BY MR. SOTOS:                                         17· · · · · · MR. TAYLOR:· Objection, form,
18· · · ·Q.· ·Darlene Harris is the daughter.              18· ·foundation.
19· · · ·A.· ·She's the daughter.                          19· · · · · · THE WITNESS:· No, I asked one officer.
20· · · ·Q.· ·So, you think of it as the Smolley's         20· ·BY MR. SOTOS:
21· ·home?                                                 21· · · ·Q.· ·And you didn't -- so you didn't tell
22· · · ·A.· ·Yeah, mother and father, yeah.               22· ·Officer Brown that you asked several people?
23· · · ·Q.· ·Gotcha.· Gotcha.· And did you tell her       23· · · ·A.· ·No, sir.
24· ·that you then went to Ella Mae Ivy's house later      24· · · ·Q.· ·Did you tell her that you then took the
                                                     113                                                        115

·1· ·on?                                                   ·1· ·bus and went to Georgie's house because you
·2· · · · · · MR. TAYLOR:· Objection, form.                ·2· ·wanted to hear the news?
·3· · · · · · THE WITNESS:· No.                            ·3· · · · · · MR. TAYLOR:· Objection, form and
·4· ·BY MR. SOTOS:                                         ·4· ·foundation.
·5· · · ·Q.· ·Moving down into the next paragraph,         ·5· · · · · · THE WITNESS:· No, sir, I went home.
·6· ·the one that starts out which said the arrested       ·6· ·BY MR. SOTOS:
·7· ·then went to Darlene Harris' house -- it says         ·7· · · ·Q.· ·Did you ever tell an officer at any
·8· ·that you told Officer Teplitz that you went to        ·8· ·point that you heard the news about the murders
·9· ·school and got kicked out for throwing a book         ·9· ·on the radio at the late afternoon school?
10· ·across the room at approximately 4:30; did you        10· · · · · · MR. TAYLOR:· Objection, form and
11· ·say that?                                             11· ·foundation.
12· · · · · · MR. TAYLOR:· Objection, form and             12· · · · · · THE WITNESS:· No.
13· ·foundation.                                           13· ·BY MR. SOTOS:
14· ·BY MR. SOTOS:                                         14· · · ·Q.· ·You didn't tell Marcella -- Officer
15· · · ·Q.· ·It's in the middle of this paragraph.        15· ·Teplitz that you went to Georgie's house after
16· · · ·A.· ·Okay.· Now what date are we on again?        16· ·leaving Scopey's house on the 18th?
17· · · ·Q.· ·The 18th.                                    17· · · ·A.· ·No, definitely no.
18· · · ·A.· ·And what time again; what are we             18· · · ·Q.· ·Okay.· Did you tell her you went to
19· ·talking about?                                        19· ·Tina's house?
20· · · ·Q.· ·According to the report it said that         20· · · · · · MR. TAYLOR:· Same objection.
21· ·you went to school and got kicked out for             21· · · · · · THE WITNESS:· I don't know they keep
22· ·throwing a book across the room at approximately      22· ·saying Tina and Ella; Frankie was the one that I
23· ·4:30 in the afternoon?                                23· ·was friends with.
24· · · ·A.· ·Yes, that took place.                        24
                                                     114                                                        116

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24     Page 31 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·BY MR. SOTOS:                                         ·1· · · · · · MR. TAYLOR:· Objection, form and
·2· · · ·Q.· ·Let's call it the Ivy's --                   ·2· ·foundation.
·3· · · ·A.· ·-- the siblings, this is siblings, and       ·3· · · · · · THE WITNESS:· No.
·4· ·they got quite a few.                                 ·4· ·BY MR. SOTOS:
·5· · · ·Q.· ·Let's call it the Ivy house.                 ·5· · · ·Q.· ·Nothing at all like that?
·6· · · ·A.· ·Yes.                                         ·6· · · ·A.· ·No.· I think for the record, if you
·7· · · ·Q.· ·Okay.· You did tell her that?                ·7· ·don't mind, I only met her one time, the 17th.
·8· · · ·A.· ·Yes.                                         ·8· · · ·Q.· ·So, you never told any officer that she
·9· · · ·Q.· ·And that's where you heard the news?         ·9· ·changed your diapers when you were little?
10· · · ·A.· ·Yes.                                         10· · · · · · MR. TAYLOR:· Same objection.
11· · · ·Q.· ·Okay.· And did you tell her that you         11· · · · · · THE WITNESS:· I don't know too many
12· ·went home after leaving the Ivy's house?              12· ·babies changing other baby's diapers, but no, I
13· · · ·A.· ·Yes.                                         13· ·didn't even know her.
14· · · ·Q.· ·Okay.· Did you tell anybody that you         14· ·BY MR. SOTOS:
15· ·stayed overnight at the Ivy's house?                  15· · · ·Q.· ·No idea where a police officer came up
16· · · · · · MR. TAYLOR:· Objection, form and             16· ·with that?
17· ·foundation.                                           17· · · ·A.· ·Don't know where they came up with
18· · · · · · THE WITNESS:· No.                            18· ·that.
19· ·BY MR. SOTOS:                                         19· · · ·Q.· ·Did you ever -- if you go to the next
20· · · ·Q.· ·Going down to the last paragraph, did        20· ·page, 5829, if you look at the second to last
21· ·you have any -- did you make any statements to        21· ·paragraph it starts out, this officer was
22· ·Marcella Teplitz about Connie about stating that      22· ·advised by Percy Baker that the arrested had
23· ·on the Monday before the murders you wanted to        23· ·told him that he had agreed to go visit victim
24· ·wait around the house for her to come home so         24· ·James on the morning of the murders, but that
                                                     117                                                        119

·1· ·you could rap with her, but then instead you and      ·1· ·the arrested had neglected to tell that to the
·2· ·James went to get some chicken?                       ·2· ·officer for some reason.
·3· · · · · · MR. TAYLOR:· Objection, form and             ·3· · · · · · Do you recall ever saying to Percy
·4· ·foundation.                                           ·4· ·Baker or in the presence of Percy Baker that you
·5· · · · · · THE WITNESS:· No.                            ·5· ·had agreed to go to Scopey's house on the
·6· ·BY MR. SOTOS:                                         ·6· ·morning of the murders?
·7· · · ·Q.· ·Nothing like that at all?                    ·7· · · · · · MR. TAYLOR:· Objection, form and
·8· · · ·A.· ·No.                                          ·8· ·foundation.
·9· · · ·Q.· ·Did you tell her that when you were at       ·9· · · · · · THE WITNESS:· No, I have no memory of
10· ·the funeral that you couldn't believe it was          10· ·talking to Percy Baker about the crime itself,
11· ·her, because she looked like she was 100 years        11· ·period.
12· ·old in the coffin?                                    12· ·BY MR. SOTOS:
13· · · · · · MR. TAYLOR:· Same objection.                 13· · · ·Q.· ·And are you saying you didn't talk to
14· · · · · · THE WITNESS:· I can't remember having a      14· ·him about the crime?
15· ·conversation with her about the funeral.              15· · · ·A.· ·I did not.
16· ·BY MR. SOTOS:                                         16· · · ·Q.· ·On the 25th when you were talking to
17· · · ·Q.· ·Did you remember thinking that when you      17· ·him about the polygraph, it never came up?
18· ·saw Connie at the funeral home?                       18· · · ·A.· ·It was about going home, taking the
19· · · · · · MR. TAYLOR:· Same objection.                 19· ·polygraph test, would I agree with that.· They
20· · · · · · THE WITNESS:· I don't know what I            20· ·called him in at the last minute I believe, and
21· ·thought.                                              21· ·he had accompanied us to the polygraph
22· ·BY MR. SOTOS:                                         22· ·examination, you know.
23· · · ·Q.· ·Did you tell Officer Teplitz that you        23· · · ·Q.· ·You talked about the polygraph at the
24· ·were turned on by Connie's rear-end?                  24· ·last deposition, and what happened there.
                                                     118                                                        120

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24     Page 32 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· · · · · · If you go to the next page --                ·1· · · · · · MR. TAYLOR:· Objection.
·2· · · · · · MR. TAYLOR:· -- are we talking about         ·2· ·BY MR. SOTOS:
·3· ·which polygraph now?                                  ·3· · · ·Q.· ·Okay.· Well, how about when -- so you
·4· · · · · · MR. SOTOS:· Good point.                      ·4· ·with agree with this report that you did ask to
·5· ·BY MR. SOTOS:                                         ·5· ·see Marcella, but you don't agree that you asked
·6· · · ·Q.· ·You talked during the last deposition        ·6· ·to see her to talk about the case; you just
·7· ·about the polygraph on the 26t with Ed Bowers?        ·7· ·asked to see her, and your reason for doing that
·8· · · ·A.· ·Yes.                                         ·8· ·was different, it was to get it to stop?
·9· · · ·Q.· ·So, I'm not going to ask you about that      ·9· · · ·A.· ·Yes, to make him quit.
10· ·again.                                                10· · · ·Q.· ·Okay.· But all you said to him was then
11· · · · · · If you go to the next page, do you see       11· ·was I would like to see her, is that it?
12· ·where it states on page -- first full paragraph       12· · · ·A.· ·Yes, and he disconnected everything,
13· ·under 1/16/77, right here at states 19:75 which       13· ·and then --
14· ·is 19 -- 19:75, I don't know, sometime in the         14· · · ·Q.· ·-- and then he stopped as soon as you
15· ·evening Bowers exhibited the polygraph room and       15· ·said that, right?
16· ·informed this officer that the arrested was           16· · · ·A.· ·Yeah, because it ended anyway, you know
17· ·requesting to talk about the murders in the case      17· ·what I mean, after he did all that, I mean I
18· ·and wanted specifically to talk with this             18· ·just broke down in tears before I got out the
19· ·officer, that being Marcella Brown.                   19· ·chair, you know it was over with, it was over
20· · · · · · Did you tell Bowers that you wanted to       20· ·with.
21· ·talk to Marcella Brown?                               21· · · ·Q.· ·But you're saying you did not say to
22· · · · · · MR. TAYLOR:· Objection, form and             22· ·him that you did it?
23· ·foundation.                                           23· · · ·A.· ·No, I did not say that to him.
24· · · · · · THE WITNESS:· I wanted -- what I was         24· · · ·Q.· ·Okay.· What did you say when Marcella
                                                     121                                                        123

·1· ·going to do to end, and what he had just sent me      ·1· ·walked in the room?
·2· ·through, he called me liars and murderers, and        ·2· · · ·A.· ·I didn't say anything.
·3· ·all that, and I asked -- I did ask to speak to        ·3· · · ·Q.· ·You didn't tell her that you did it?
·4· ·her, but I didn't ask to speak to her to talk         ·4· · · ·A.· ·I was --
·5· ·about the case; I asked to stop talking to me,        ·5· · · · · · MR. TAYLOR:· -- objection -- did we go
·6· ·and it was over with, the polygraph was never         ·6· ·through this before?
·7· ·even completed, because in the middle of that I       ·7· · · · · · MR. BOWMAN:· We did go through this
·8· ·was -- I remember her coming in, but I was            ·8· ·before.
·9· ·standing at the window crying, that's what I          ·9· · · · · · MR. TAYLOR:· And we are not going over
10· ·remember, because I -- what he did was just --        10· ·the report anymore.
11· ·yeah, I just wanted somebody to come in and stop      11· · · · · · MR. SOTOS:· Do you want -- I could do
12· ·it.                                                   12· ·it a different way.· We could do it by the
13· ·BY MR. SOTOS:                                         13· ·report.
14· · · ·Q.· ·Right.· This is when he was yelling at       14· ·BY MR. SOTOS:
15· ·you and calling you a murderer --                     15· · · ·Q.· ·Marcella came in the room, correct?
16· · · ·A.· ·-- a liar and all that.                      16· · · ·A.· ·Yes.
17· · · ·Q.· ·And that's when you said to him that         17· · · ·Q.· ·Okay.· And did she ask you what it is
18· ·you did it?                                           18· ·that you wanted to tell her?
19· · · ·A.· ·I never said to him that I did it.           19· · · ·A.· ·No, not at that moment.
20· · · ·Q.· ·You didn't?                                  20· · · ·Q.· ·Did she speak first, or did you speak
21· · · ·A.· ·No.                                          21· ·first?
22· · · ·Q.· ·You didn't testify to that in your           22· · · ·A.· ·I don't remember.· I remember standing
23· ·first deposition?                                     23· ·at the window crying, and she might have said
24· · · ·A.· ·No.                                          24· ·come sit down and whatever, don't remember
                                                     122                                                        124

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24      Page 33 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· ·exactly the conversation, but I remember              ·1· · · ·Q.· ·No, I understand, the not as long as
·2· ·standing at the -- over by the window.                ·2· ·this whole thing started, but it's definitely
·3· · · ·Q.· ·According to her report, if you look on      ·3· ·been awhile.
·4· ·Page 5830, you said, we were practicing karate,       ·4· · · · · · I can represent to you that this
·5· ·and Scopey turned the TV to the wall; did you         ·5· ·appeared in a magazine in the fall of 2004.
·6· ·tell her that?                                        ·6· · · ·A.· ·Okay.
·7· · · · · · MR. TAYLOR:· Objection, form, and            ·7· · · ·Q.· ·So, do you remember how it came about
·8· ·foundation.                                           ·8· ·that you wrote this article?
·9· · · · · · THE WITNESS:· I do not remember ever         ·9· · · ·A.· ·No, I was writing lawyers, Judges,
10· ·telling her that.                                     10· ·anybody that could possibly help me to prove my
11· ·BY MR. SOTOS:                                         11· ·innocence, and I wrote so many, you know, from
12· · · ·Q.· ·Are you saying you didn't tell her that      12· ·the -- marshall to so many people -- just asking
13· ·you, or you just don't remember?                      13· ·for help, you know.
14· · · ·A.· ·I will state this for like in my last        14· · · ·Q.· ·This says that it was by Johnnie Lee
15· ·deposition, she asked me to come sit down, she        15· ·Savory II.· It doesn't list any co-authors, so
16· ·began to ask me what happened.· When I tried to       16· ·were there any co-authors, or did you write it
17· ·explain what happened, she told me no, and she        17· ·yourself?
18· ·began to word me along about what had happened.       18· · · · · · MR. TAYLOR:· Objection to the form, and
19· ·That's how our conversation began, and that's         19· ·foundation.· It does indicate it's edited.
20· ·how it ended, but it ended with a -- I just want      20· · · · · · MR. SOTOS:· Yeah, I'll get to that.
21· ·to go home.· I said repeatedly can I go home,         21· ·BY MR. SOTOS:
22· ·and she tried to tell me, well, if you tell me        22· · · ·Q.· ·Did you write it with anybody else?
23· ·what took place, and she -- everything that I         23· · · ·A.· ·There was other staff, but I don't, you
24· ·told her was wrong evidently to her, so she           24· ·know, remember how actually it was formulated.
                                                     125                                                        127

·1· ·began to tell me, well, did you -- did you have       ·1· · · ·Q.· ·It says, as your Counsel pointed out,
·2· ·an altercation here, or do something here, I          ·2· ·edited by Natalie Smith Parra; do you know who
·3· ·don't remember all of it; I know she worded me        ·3· ·she is, do you remember her?
·4· ·along with what she wanted me to say, I do know       ·4· · · ·A.· ·I couldn't tell you who she was in that
·5· ·that, and I gave up and just said okay, I did         ·5· ·think -- all I did was make copies of my police
·6· ·it, can I go home now?                                ·6· ·reports and everything and send them along with
·7· · · · · · MR. SOTOS:· Can you place Exhibit 21 in      ·7· ·the documents so people could see what, you
·8· ·front of the witness, please.                         ·8· ·know, where the story was coming from and what
·9· ·BY MR. SOTOS:                                         ·9· ·was in it.
10· · · ·Q.· ·Mr. Savory, your Counsel placed in           10· · · ·Q.· ·All right.· And so these are your words
11· ·front of you Exhibit No. 21, Peoria Savory 26879      11· ·on these pages, this is your --
12· ·through 26886, and this is an article entitled        12· · · ·A.· ·-- I haven't read all of that.· Would
13· ·Journey for Justice the Johnnie Lee Savory            13· ·you like me to read it all?
14· ·Story; do you recognize this document?                14· · · ·Q.· ·No.· We will be for hours.· Let me do
15· · · ·A.· ·Somewhat, but I ain't never seen it          15· ·this.· Let me bring you to certain pages.
16· ·like this, but yeah.                                  16· · · · · · So, if you go to page -- let's go to
17· · · ·Q.· ·But you've seen it in a different form       17· ·the second page where it says Peoria-Savory
18· ·as part of a longer magazine, right?                  18· ·26880.
19· · · ·A.· ·Yeah, something like that, yeah.             19· · · · · · So, if you look at the second full
20· · · ·Q.· ·But do you remember in the fall of 2004      20· ·paragraph --
21· ·writing this article for the Justice and I            21· · · ·A.· ·-- okay.
22· ·Magazine?                                             22· · · ·Q.· ·It starts out with the interrogation
23· · · ·A.· ·I remember doing one, yeah, I do             23· ·resumed at approximately 1:00 p.m.· Okay.· Do
24· ·remember somewhat.· It's been awhile.                 24· ·you see that?
                                                     126                                                        128

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24       Page 34 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· · · ·A.· ·Okay.                                        ·1· ·it or it was taken from one of the reports, I
·2· · · ·Q.· ·It says they ask you if you would be         ·2· ·don't remember.
·3· ·willing to take another polygraph test, and you       ·3· ·BY MR. SOTOS:
·4· ·said yes, if I can go home afterward, and they        ·4· · · ·Q.· ·All right.
·5· ·said we'll see; do you remember writing that?         ·5· · · ·A.· ·I could have.
·6· · · ·A.· ·I don't know if I wrote it in this           ·6· · · ·Q.· ·All right.· Then it says that Mr.
·7· ·manner or this -- might have been edited from         ·7· ·Bowers began calling you a liar and a murderer,
·8· ·the report, I don't remember which -- how, you        ·8· ·and that as the tears were rolling down your
·9· ·know what I'm saying?                                 ·9· ·face, you asked to see Officer Brown; is that
10· · · ·Q.· ·Yeah.                                        10· ·true?
11· · · ·A.· ·Some of my, this is my writing, but          11· · · ·A.· ·It sounds about right.
12· ·some of it may be taken from the reports itself.      12· · · ·Q.· ·And it said that when she came in, I
13· · · ·Q.· ·Well, do you remember that happening,        13· ·turned to her and said okay, I did it?
14· ·do you remember them asking you if you would be       14· · · ·A.· ·No.
15· ·willing to take another polygraph test and            15· · · · · · MR. TAYLOR:· Are you asking him -- wait
16· ·saying yes, if you can go home, and then              16· ·until he asks you a question before you --
17· ·responding we'll see?                                 17· ·BY MR. SOTOS:
18· · · ·A.· ·That was the second polygraph test --        18· · · ·Q.· ·-- did you write that?
19· · · ·Q.· ·-- yes.                                      19· · · · · · MR. TAYLOR:· Objection, form and
20· · · ·A.· ·And I don't think I asked for that           20· ·foundation.
21· ·polygraph test; I think they gave me that             21· · · · · · THE WITNESS:· I don't remember if that
22· ·polygraph test.· I didn't ask for any of them,        22· ·was what was written or was taken from the
23· ·to be truthful.                                       23· ·report.
24· · · ·Q.· ·Well, what it says they asked you, it        24· · · · · · As I stated, I sent police reports and
                                                     129                                                        131

·1· ·doesn't say you asked for it.· It says they           ·1· ·things every time I wrote something, so they --
·2· ·asked you if you would be willing to take             ·2· ·it could have been written in there, but I don't
·3· ·another polygraph test so, is that what               ·3· ·remember saying that to her, period, until the
·4· ·happened?                                             ·4· ·ends of her questioning into polygraph
·5· · · ·A.· ·Yes.                                         ·5· ·examination.· I said in my last breath, okay, I
·6· · · ·Q.· ·And did you say yes, if I can go home        ·6· ·did it, can I go home, as I stated to you before
·7· ·afterward?                                            ·7· ·in the report.
·8· · · ·A.· ·Yes, sir.                                    ·8· ·BY MR. SOTOS:
·9· · · ·Q.· ·And then they said we'll see?                ·9· · · ·Q.· ·Okay.· Are you saying that you didn't
10· · · ·A.· ·I don't know if they said we'll see or       10· ·write this where it states I asked to see
11· ·didn't say anything at all, you know.                 11· ·Officer Brown; when she came in, I turned to her
12· · · ·Q.· ·You don't remember which?                    12· ·and said, okay, I did it.
13· · · ·A.· ·No.                                          13· · · ·A.· ·Okay.· Do you remember I said that I
14· · · ·Q.· ·Okay.· And then it says that you were        14· ·asked for her; I did not say that I turned to
15· ·taken to the polygraph examiner's office,             15· ·her and said I did it.· That's not what I did.
16· ·introduced to another polygraph examiner, and         16· ·I told you I was standing at the -- I am
17· ·that the examination lasted 10 or 15 minutes;         17· ·saying --
18· ·does that sound about how long you were in there      18· · · ·Q.· ·-- go ahead, go ahead.
19· ·with him?                                             19· · · ·A.· ·You're running both together, but I'm
20· · · ·A.· ·It didn't last long.                         20· ·saying I was standing at the window crying, then
21· · · ·Q.· ·So, did you write that it was 10 or          21· ·came in, she asked me to sit down, and we began
22· ·15 minutes?                                           22· ·to talk, and she questioned me about what
23· · · · · · MR. TAYLOR:· Objection to form.              23· ·happened, and then she started telling me what
24· · · · · · THE WITNESS:· I don't recall if I wrote      24· ·happened, and it just went on for whatever
                                                     130                                                        132

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24       Page 35 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·length of time it did, and then as I couldn't         ·1· ·Jenner and Block?
·2· ·take it no more, I said okay, I did it, can I go      ·2· · · ·A.· ·Yes.
·3· ·home.                                                 ·3· · · ·Q.· ·At the time, correct?
·4· · · ·Q.· ·Okay.· And I'm trying to avoid what          ·4· · · ·A.· ·Yes.
·5· ·you're concerned about confusing the two, so          ·5· · · ·Q.· ·All right.· And because you were
·6· ·that's -- you just told me what happened.             ·6· ·seeking a Petition for Clemency before Governor
·7· · · · · · What I'm asking now is did you write         ·7· ·Blagojevich at the time, right?
·8· ·that I asked to see Officer Brown; when she came      ·8· · · ·A.· ·Yes.
·9· ·in, I turned to her and said, okay, I did it.         ·9· · · ·Q.· ·Okay.· So, when this article was
10· · · · · · MR. TAYLOR:· Objection.                      10· ·written, did your lawyers review it before it
11· · · · · · THE WITNESS:· No, I did not write --         11· ·was submitted?
12· · · · · · MR. TAYLOR:· -- foundation.                  12· · · · · · MR. TAYLOR:· Objection --
13· ·BY MR. SOTOS:                                         13· · · · · · MR. BOWMAN:· -- Yeah, objection, I
14· · · ·Q.· ·You did not -- I didn't hear your            14· ·don't think there is a foundation for the
15· ·answer.                                               15· ·question, and to the extent there is, I think
16· · · ·A.· ·I said no, I didn't write it.· They          16· ·it's probably privileged.
17· ·could have edited from the reports that I sent        17· · · · · · So, I don't think I should permit him
18· ·in with it.· I wrote -- I did write this              18· ·to answer that question.
19· ·article, but I wasn't the only one who -- I           19· · · · · · MR. SOTOS:· Okay.
20· ·don't know who else they had to read over the         20· ·BY MR. SOTOS:
21· ·documents -- that's like make and put it              21· · · ·Q.· ·Did you read the article before it was
22· ·together.                                             22· ·published?
23· · · ·Q.· ·All right.· Well, there's a reference        23· · · ·A.· ·No.
24· ·to an editor named -- a woman named Natalie           24· · · ·Q.· ·Have you ever read it before I just
                                                     133                                                        135

·1· ·Smith Parra says she edited this article, and I       ·1· ·showed it to you today?
·2· ·don't -- at least on the article I don't see any      ·2· · · ·A.· ·I have seen it online.
·3· ·reference to others.                                  ·3· · · ·Q.· ·And have you read it?
·4· · · · · · On the last page, if you go to               ·4· · · ·A.· ·Yes.
·5· ·Page 26886, you list --                               ·5· · · ·Q.· ·Okay.· Did you see the paragraph in
·6· · · ·A.· ·-- wait a minute.· Okay.· Second to the      ·6· ·there where it says that when Officer Brown
·7· ·last page?                                            ·7· ·entered the room, you turned to her and said
·8· · · ·Q.· ·All the way to the last page.                ·8· ·okay, I did it?
·9· · · ·A.· ·Okay.                                        ·9· · · ·A.· ·Yes, I see it.
10· · · ·Q.· ·The very last page where it says             10· · · ·Q.· ·Okay.· When you saw that, did you feel
11· ·Governor Rod Blagojevich at the top.                  11· ·that that was not what you actually wrote?
12· · · ·A.· ·Yes.                                         12· · · · · · MR. TAYLOR:· Objection, form.
13· · · ·Q.· ·Yeah.· It says that you list your            13· · · · · · THE WITNESS:· I feel they could have
14· ·attorneys with Jenner and Block, Chris Tompkins,      14· ·took that from the report, or you know, however
15· ·T-o-m-p-k-i-n-s, Matthew Neumeier,                    15· ·they view it as I laid it out, I could see that
16· ·N-e-i-m-e-i-e-r; do you see that?                     16· ·some things have been changed or, you know, they
17· · · · · · MR. BOWMAN:· I object to the form of         17· ·took the report and took what I said and tried
18· ·the question.                                         18· ·to merge it and put a story together like all
19· ·BY MR. SOTOS:                                         19· ·reporters.
20· · · ·Q.· ·Do you see that on the last page where       20· ·BY MR. SOTOS:
21· ·it lists those two lawyers Christopher Tompkins       21· · · ·Q.· ·And nobody has told you that, right;
22· ·and Matthew Neumeier?                                 22· ·you are just trying to put two and two together,
23· · · ·A.· ·Yes.                                         23· ·is that right?
24· · · ·Q.· ·Okay.· Those were lawyers of yours from      24· · · · · · MR. TAYLOR:· Objection, form.
                                                     134                                                        136

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24        Page 36 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· · · · · · THE WITNESS:· No, I have not had a           ·1· ·BY MR. SOTOS:
·2· ·conversation with anyone about this article.          ·2· · · ·Q.· ·Mr. Savory, if we could return to
·3· ·BY MR. SOTOS:                                         ·3· ·Exhibit 10 and ready to go.
·4· · · ·Q.· ·Okay.                                        ·4· · · ·A.· ·Yes, sir.
·5· · · ·A.· ·Until this day.                              ·5· · · ·Q.· ·If you look at Page 5830 --
·6· · · ·Q.· ·All right.· When you are saying they,        ·6· · · · · · MR. TAYLOR:· -- not this one, Jim --
·7· ·they could have done that, do you know any            ·7· · · · · · MR. SOTOS:· -- thank you for that.
·8· ·actual person who could have done that like           ·8· ·BY MR. SOTOS:
·9· ·anybody you were working with on the article?         ·9· · · ·Q.· ·Before we leave the article that was
10· · · ·A.· ·No.                                          10· ·Exhibit 21, is there anything that you can tell
11· · · ·Q.· ·No.· Okay.· In the next paragraph of         11· ·me about that article that we haven't talked
12· ·that same paragraph we just started talking           12· ·about in terms of anybody else who worked on it,
13· ·about, in the next sentence to that same              13· ·reviewed it, other than lawyers who represent
14· ·paragraph on Page 2, it says, Officer Brown           14· ·you, is there anything else you know about that
15· ·asked me how I did it, and I said I didn't know,      15· ·beyond what we've already discussed?
16· ·so she began to guide me with words to use; you       16· · · ·A.· ·No, sir.
17· ·did write -- did you write that?                      17· · · ·Q.· ·Okay.· Let's go back to Exhibit 10.· If
18· · · ·A.· ·Yes.                                         18· ·you could go to Page 5830 which is the one, two,
19· · · · · · MR. TAYLOR:· Objection, form.                19· ·three -- fourth page of the exhibit.
20· · · · · · THE WITNESS:· Yes.                           20· · · ·A.· ·Which one is that?
21· ·BY MR. SOTOS:                                         21· · · ·Q.· ·It's that report, No. 10.
22· · · ·Q.· ·Okay.                                        22· · · ·A.· ·Is this it?
23· · · ·A.· ·Probably not like that though, but           23· · · · · · MR. TAYLOR:· Let me look at it.
24· ·close to it.                                          24· · · · · · MR. SOTOS:· 5830, 31.
                                                     137                                                        139

·1· · · ·Q.· ·The substance is the same, right?            ·1· · · · · · MR. TAYLOR:· Yes, this is it.
·2· · · ·A.· ·Yes.                                         ·2· · · · · · MR. SOTOS:· Okay.· Thanks.
·3· · · ·Q.· ·Not word for word?                           ·3· ·BY MR. SOTOS:
·4· · · ·A.· ·No, yeah, it's the same.                     ·4· · · ·Q.· ·So, if you go to the fourth page, it
·5· · · · · · MR. BOWMAN:· Object to form of the           ·5· ·says 5830 on the bottom in the left-hand corner.
·6· ·question.                                             ·6· · · ·A.· ·58 -- 5830, 5832, 5831 -- you said
·7· ·BY MR. SOTOS:                                         ·7· ·5830.
·8· · · ·Q.· ·And you wrote that you agreed with           ·8· · · ·Q.· ·Yeah.
·9· ·whatever she said, correct?                           ·9· · · ·A.· ·This is it.
10· · · ·A.· ·Yes, I did.                                  10· · · ·Q.· ·Got it.
11· · · ·Q.· ·All right.· Okay.                            11· · · ·A.· ·Yes, sir.
12· · · ·A.· ·Excuse can we a --                           12· · · ·Q.· ·So, in the middle of that page Marcella
13· · · ·Q.· ·-- yeah, you need a break?                   13· ·Teplitz describes her discussion with you during
14· · · ·A.· ·Yes, to use the washroom.                    14· ·the polygraph, and she wrote -- writes that at
15· · · · · · MR. SOTOS:· How long are we at?              15· ·7:35 she entered the polygraph room and asked
16· · · · · · THE VIDEOGRAPHER:· 2 hours and 24            16· ·you what it was that you wanted to tell her, did
17· ·minutes.                                              17· ·she do that?
18· · · · · · The time is 15:47, and we are off the        18· · · · · · MR. TAYLOR:· Objection, form,
19· ·record.                                               19· ·foundation.
20· · · · · · · · · ·(Whereupon, a short recess was        20· ·BY MR. SOTOS:
21· · · · · · · · · · taken.)                              21· · · ·Q.· ·Did you tell her, did you say that to
22· · · · · · THE VIDEOGRAPHER:· We are back on the        22· ·her?
23· ·record.· The time is 16:08.                           23· · · · · · MR. TAYLOR:· Objection.
24                                                         24· · · · · · MR. SOTOS:· Oh, I'm sorry.
                                                     138                                                        140

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             1:23-cv-01184-CRL-JEH # 318-2                  Filed: 04/22/24      Page 37 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·BY MR. SOTOS:                                         ·1· ·foundation.
·2· · · ·Q.· ·Did she ask you what it was you wanted       ·2· ·BY MR. SOTOS:
·3· ·to tell her?                                          ·3· · · ·Q.· ·Okay.· So did you say to her that you
·4· · · · · · MR. TAYLOR:· Same objection.                 ·4· ·and Scopey were practicing karate, and Scopey
·5· · · · · · THE WITNESS:· I don't recall that's how      ·5· ·turned the TV to the wall?
·6· ·she started the conversation, I don't recall          ·6· · · ·A.· ·I did not say that we were practicing
·7· ·that.                                                 ·7· ·karate, because we were never practicing karate,
·8· ·BY MR. SOTOS:                                         ·8· ·we was wrestling on the day of the 17th.· I did
·9· · · ·Q.· ·Do you recall the conversation starting      ·9· ·nothing on the 18th, because I was never in
10· ·a different way?                                      10· ·their home on the 18th.
11· · · ·A.· ·I don't remember exactly.· It's has          11· · · ·Q.· ·So, is it your testimony that you never
12· ·been almost 50 years ago, 46 years ago, but I         12· ·confessed to killing Scopey and Connie on the
13· ·know when we sat down, she started out -- she         13· ·18th?
14· ·asked me a bunch of questions, you know, and I        14· · · · · · MR. TAYLOR:· Objection, form and
15· ·gave the best answer I could to those questions,      15· ·foundation.
16· ·but she -- they wasn't the right answers              16· · · · · · THE WITNESS:· It is my answer to your
17· ·according to her, so she then began to, as I          17· ·question I said whatever she -- I agreed to
18· ·stated before, began to tell me that no, it           18· ·whatever she asked me to do, and I did it up
19· ·didn't happen, then she asked me like where the       19· ·until the point that I was just, you know, I
20· ·crime take place, and I said okay, the living         20· ·mean -- I just went through a barrage of
21· ·room, she would say no, you're wrong; so she          21· ·questioning and stuff like that.
22· ·began to tell me, because I did not even know, I      22· ·BY MR. SOTOS:
23· ·didn't know what she was asking me.                   23· · · ·Q.· ·Well, how about the next sentence where
24· · · ·Q.· ·At the polygraph office?                     24· ·it says he, Scopey, was punching me with his
                                                     141                                                        143

·1· · · ·A.· ·Yes, at the polygraph office, yeah.          ·1· ·finger, and then he raised his hands; did you
·2· ·So, as she wrote along, all I did was I began to      ·2· ·ever say that?
·3· ·agree with her, whatever she said I just agreed       ·3· · · · · · MR. TAYLOR:· Objection, form,
·4· ·to it, and once we were finished with our             ·4· ·foundation.
·5· ·conversation I said, can I go home, you know,         ·5· · · · · · THE WITNESS:· It was lots here, I did
·6· ·okay, I did -- can I go home.                         ·6· ·my best to tell her what, you know, she wanted
·7· · · ·Q.· ·What did she say?                            ·7· ·to hear whatever so it could stop.· I just
·8· · · ·A.· ·She said no.                                 ·8· ·wanted everything to end, you know.
·9· · · ·Q.· ·She said no?                                 ·9· ·BY MR. SOTOS:
10· · · ·A.· ·I think she said no, and she still           10· · · ·Q.· ·Did you hold up your hands --
11· ·tried to ask me some more questions.                  11· · · · · · MR. TAYLOR:· -- Jim, it seems like
12· · · · · · Then she started to tell me that, you        12· ·you're cutting him off a couple of times here,
13· ·know, she said a lot of things, and I just --         13· ·and wait to make sure he finishes.· Just ask him
14· · · ·Q.· ·-- let me ask you about a couple that        14· ·if he is finished, it seemed like he might be
15· ·she wrote on here.                                    15· ·not finished.
16· · · · · · She said that you said to her that you       16· · · · · · THE WITNESS:· I did the best and told
17· ·and Scopey were practicing karate, and Scopey         17· ·the truth to the best of my ability, and the
18· ·turned the TV to the wall; did you tell her           18· ·truth got me nowhere, so I agreed as she
19· ·that?                                                 19· ·continued to word me along just so it could
20· · · · · · MR. TAYLOR:· Where is this, Jim?             20· ·stop.
21· · · · · · MR. SOTOS:· It's right in the middle of      21· · · · · · I just wanted it to stop, man, I don't
22· ·Page 5830, the discussion that Marcella had with      22· ·know how to express it any other way is but it
23· ·Mr. Savory in the polygraph examination.              23· ·was too much.
24· · · · · · MR. TAYLOR:· Okay.· Objection, form and      24
                                                     142                                                        144

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                              Chicago, Illinois· (312) 263-0052                                                       YVer1f
             1:23-cv-01184-CRL-JEH # 318-2                  Filed: 04/22/24        Page 38 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·BY MR. SOTOS:                                         ·1· · · ·Q.· ·So, you remember telling her I did it,
·2· · · ·Q.· ·Well, here's what I want to ask you. I       ·2· ·but you told her that so you could go home?
·3· ·want to ask you whether or not you said these         ·3· · · ·A.· ·And you will see in every report you
·4· ·things that she wrote, and if you did, say I          ·4· ·read I just wanted to go home, and they wouldn't
·5· ·said that; if you didn't say it, tell me you          ·5· ·let me go home, they wouldn't stop asking me
·6· ·didn't say it, and if you don't remember, say I       ·6· ·questions, it was over, and over, and over.
·7· ·don't remember if I said that.                        ·7· · · · · · I was only 14 years old, I just turned
·8· · · · · · But I understand what you're saying          ·8· ·14 years old, and that was almost 50 years ago
·9· ·generally how everything went, but I'm just           ·9· ·almost.
10· ·trying to find out which statements in here           10· · · ·Q.· ·Did you tell her you lost control?
11· ·you're saying are untrue that you didn't say          11· · · · · · MR. TAYLOR:· Objection, form,
12· ·what she claims you said.                             12· ·foundation.
13· · · · · · So, for instance, she says that you put      13· · · · · · THE WITNESS:· I don't remember all that
14· ·up your hands with your elbows bent in a way to       14· ·was said, you know, and I don't know -- I can't
15· ·demonstrate what Scopey had done?                     15· ·remember everything that she worded me along to
16· · · ·A.· ·I have no recollection of that, of           16· ·say.· All I know is it didn't last that long,
17· ·telling her that, I don't remember putting up my      17· ·our conversation, and whatever took place in
18· ·hands for nothing.                                    18· ·that brief time, my mind said I didn't want to
19· · · ·Q.· ·Are you saying that you didn't do that?      19· ·be here, and I wanted someone it to help me get
20· · · · · · MR. TAYLOR:· Objection, form,                20· ·out of here and go home.
21· ·foundation.                                           21· ·BY MR. SOTOS:
22· · · · · · THE WITNESS:· I'm saying I have no           22· · · ·Q.· ·So, I appreciate what you're saying --
23· ·memory of me putting up my hands demonstrating        23· · · ·A.· ·-- yes, sir.
24· ·anything to her.                                      24· · · ·Q.· ·Here's what I want you to understand.
                                                     145                                                        147

·1· ·BY MR. SOTOS:                                         ·1· ·I've got to have this all done in four hours,
·2· · · ·Q.· ·According to the report you said that        ·2· ·and so if we can get through these questions and
·3· ·you had the knife, and you stuck Scopey; did you      ·3· ·answers, we will get it done in four hours, but
·4· ·tell her that?                                        ·4· ·at some point I'm going to ask you to just
·5· · · · · · MR. TAYLOR:· Objection, form,                ·5· ·listen to the question I'm asking, and try and
·6· ·foundation.                                           ·6· ·answer that question, because I understand what
·7· · · · · · THE WITNESS:· I told her whatever she        ·7· ·you're saying about everything that happened in
·8· ·suggested to me, that's what I told her, that's       ·8· ·there, but now I'm just trying ask some specific
·9· ·what I agreed to.                                     ·9· ·questions about some specific things, and it's
10· · · · · · I agreed to the things that she told me      10· ·fine for you to say I don't remember if I said
11· ·about it, because I knew nothing about the            11· ·that or not.
12· ·crime, nor was I there on the 18th and committed      12· · · · · · My only point is that's a little
13· ·a crime against anyone.                               13· ·different from saying I definitely didn't say
14· ·BY MR. SOTOS:                                         14· ·this, and if that's the case, I need to know
15· · · ·Q.· ·Did you tell her my mind went blank?         15· ·that now.· Okay?
16· · · ·A.· ·I don't -- I don't -- I can't remember       16· · · · · · MR. BOWMAN:· I object to the form of
17· ·that.· All I know is I said, eventually I said I      17· ·the question.
18· ·did it so I could go home.· All I wanted to do        18· ·BY MR. SOTOS:
19· ·was go home, that's the -- everything, the only       19· · · ·Q.· ·All right.· Did you tell her that you
20· ·thing I know that I kept saying and I didn't do       20· ·cut Connie?
21· ·anything, didn't harm anybody, and to this day        21· · · · · · MR. TAYLOR:· Objection, form.
22· ·I've never taken another human being's life or        22· · · · · · THE WITNESS:· Say again.
23· ·even remotely been in a position to have to do        23· ·BY MR. SOTOS:
24· ·that.                                                 24· · · ·Q.· ·Did you tell Marcella that you cut
                                                     146                                                        148

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                                Chicago, Illinois· (312) 263-0052                                                     YVer1f
               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24       Page 39 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·Connie?                                               ·1· ·happen?
·2· · · ·A.· ·No, I did not remember telling that,         ·2· · · · · · MR. TAYLOR:· Objection, form and
·3· ·but I agreed to whatever she told me to, that         ·3· ·foundation.
·4· ·she suggested I did just that, and I made it          ·4· · · · · · THE WITNESS:· No.
·5· ·clear I did what she suggested, whatever she          ·5· ·BY MR. SOTOS:
·6· ·suggested to me how it happened, and whatever         ·6· · · ·Q.· ·Okay.· She asked you, according to the
·7· ·took place, I just agreed to it, and I state to       ·7· ·report, she said -- she asked you why did you do
·8· ·you again, all I kept saying, I know you're           ·8· ·it, and you said we started off playing, and he
·9· ·trying to get through this here --                    ·9· ·wanted me to practice with a knife, I did not
10· · · ·Q.· ·-- I just don't want to have to go in        10· ·mean to do it; did that happen?
11· ·and ask for more time again.· I really don't          11· · · · · · MR. TAYLOR:· Objection, form and
12· ·want to do it.                                        12· ·foundation.
13· · · ·A.· ·Well, I really don't want to be              13· · · · · · THE WITNESS:· I think she may have
14· ·interrogated like -- I really don't want to go        14· ·suggested those things to me.
15· ·through it either, because I have spent all my        15· ·BY MR. SOTOS:
16· ·life in prison, lost my entire family and lost        16· · · ·Q.· ·Okay.· By the way, in that same realm,
17· ·my life trying to prove my innocence and that         17· ·and now I'm moving forward to 1981, do you
18· ·nothing -- and to assist in trying to solve the       18· ·remember before the second trial, have you seen
19· ·case itself, so I don't want that.                    19· ·the reports where different Peoria police
20· · · · · · I did not commit no crime, and nor did       20· ·officers interviewed some people who were at the
21· ·I understand what she was asking me.                  21· ·-- who claim they were at the Gift Home with
22· · · ·Q.· ·I didn't ask you that.                       22· ·you; Tommy Thompson, Freddie Yarburaugh, William
23· · · ·A.· ·I understand, but you keep asking me         23· ·Poolle; do you remember seeing those reports at
24· ·the same question about --                            24· ·some point?
                                                     149                                                        151

·1· · · ·Q.· ·-- all this is -- did you tell her you       ·1· · · ·A.· ·I remember them mentioning that at
·2· ·ran home and got drunk after what happened at         ·2· ·trial, I don't remember seeing no reports.
·3· ·Scopey's house?                                       ·3· · · ·Q.· ·Okay.· We will get to them.· I was just
·4· · · ·A.· ·No.                                          ·4· ·trying to short circuit.
·5· · · ·Q.· ·Okay.· Did you say you stayed drunk for      ·5· · · · · · You said it didn't last long when you
·6· ·four days and didn't come home at all?                ·6· ·were talking to Marcella in the polygraph?
·7· · · ·A.· ·No.                                          ·7· · · ·A.· ·It didn't seem to.
·8· · · ·Q.· ·Okay.· According to this report she          ·8· · · ·Q.· ·Okay.· After that interview, where did
·9· ·asked you whether or not it was your knife, and       ·9· ·you go then, what happened after that?
10· ·you said yes; did that happen?                        10· · · ·A.· ·I believe they took me back to the
11· · · ·A.· ·It could have, I don't know.                 11· ·police station.
12· · · ·Q.· ·Okay.· She said that she asked you           12· · · ·Q.· ·Okay.· According to the report, at the
13· ·whether the police have the knife, and you said       13· ·top of Page 5831, you said at some point that
14· ·yes; do you remember if that happened?                14· ·you didn't want to stay at the polygraph office
15· · · · · · MR. TAYLOR:· Objection, form and             15· ·so you were immediately returned to the Juvenile
16· ·foundation.                                           16· ·Bureau by Teplitz, Fiers, and Percy Baker; do
17· · · · · · THE WITNESS:· No.                            17· ·you remember seeing Percy Baker after that
18· ·BY MR. SOTOS:                                         18· ·second polygraph?
19· · · ·Q.· ·Okay.· She said that -- she asked you        19· · · · · · MR. TAYLOR:· Objection, form,
20· ·where did you cut her, being Connie, and your         20· ·foundation.
21· ·answer was, I started at the chest and her            21· · · · · · THE WITNESS:· I don't remember seeing
22· ·vagina, and that you pointed between your legs        22· ·him.· I know he was there, but I don't remember
23· ·and around her mid section, and that you made a       23· ·if he rode in the car or whatever.· I don't
24· ·cutting motion across your abdomen; did that          24· ·remember going back to the Juvenile Bureau. I
                                                     150                                                        152

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                              Chicago, Illinois· (312) 263-0052                                                       YVer1f
            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24       Page 40 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· ·remember going back to the police station.            ·1· · · ·Q.· ·If you go to Page 5831 --
·2· ·BY MR. SOTOS:                                         ·2· · · ·A.· ·-- 5831.
·3· · · ·Q.· ·Percy Baker sat with you during the          ·3· · · ·Q.· ·That top paragraph, she says there that
·4· ·trial, right, not with you, but he was there for      ·4· ·you said that you did not kill the victims and
·5· ·the trial?                                            ·5· ·didn't know why you told her what you said, and
·6· · · · · · MR. TAYLOR:· Objection.                      ·6· ·that she told you you were backtracking,
·7· ·BY MR. SOTOS:                                         ·7· ·correct?
·8· · · ·Q.· ·The first trial in 1977?                     ·8· · · ·A.· ·Yes.
·9· · · · · · MR. TAYLOR:· Objection, form.                ·9· · · ·Q.· ·Okay.· So -- and that did happen,
10· · · · · · THE WITNESS:· I believe he was at the        10· ·right?
11· ·trial, but he was there as a witness or               11· · · ·A.· ·Yes.
12· ·something, but he didn't sit with me.                 12· · · ·Q.· ·Okay.· Did you say to her as part of
13· ·BY MR. SOTOS:                                         13· ·that, that you don't know why you told her and
14· · · ·Q.· ·Okay.· You just remember him being           14· ·Mr. Bowers, why you had told them that you had
15· ·present throughout the trial?                         15· ·done the murders?
16· · · ·A.· ·I remember him testifying, if I'm not        16· · · · · · MR. TAYLOR:· Objection, form,
17· ·mistaken.                                             17· ·foundation.
18· · · ·Q.· ·Okay.· Do you remember his lawyer            18· · · · · · THE WITNESS:· I did not say that I told
19· ·telling the Court -- I'm sorry, your lawyer           19· ·Mr. Bower that.
20· ·telling the Court that Percy Baker was that we        20· ·BY MR. SOTOS:
21· ·know for sure he was there for some of your           21· · · ·Q.· ·Okay.· Did you -- did you tell her that
22· ·statements?                                           22· ·you didn't know why you told her that you had
23· · · · · · MR. TAYLOR:· Objection, form and             23· ·done the murders?
24· ·foundation.                                           24· · · · · · MR. TAYLOR:· Same objection.
                                                     153                                                        155

·1· · · · · · THE WITNESS:· No.                            ·1· · · · · · THE WITNESS:· I could have said that.
·2· ·BY MR. SOTOS:                                         ·2· ·BY MR. SOTOS:
·3· · · ·Q.· ·You don't remember that?                     ·3· · · ·Q.· ·Yeah, and she wrote that in this report
·4· · · ·A.· ·No.                                          ·4· ·that you said that, right?
·5· · · ·Q.· ·Okay.· After you left the polygraph,         ·5· · · · · · MR. TAYLOR:· Objection, the report
·6· ·you went back to the Peoria Police Department,        ·6· ·speaks for itself.
·7· ·correct?                                              ·7· · · · · · MR. SOTOS:· Okay.
·8· · · ·A.· ·That's what I remember.                      ·8· ·BY MR. SOTOS:
·9· · · ·Q.· ·Okay.· And then do you remember              ·9· · · ·Q.· ·And she told you that she thought you
10· ·Marcella Teplitz, Marcella Brown at the time,         10· ·were trying to backtrack?
11· ·questioning you again?                                11· · · ·A.· ·Yes.
12· · · ·A.· ·Yeah, she tried to get me to sign some       12· · · ·Q.· ·And then she continued to ask you about
13· ·statement.                                            13· ·the case after that?
14· · · ·Q.· ·Okay.· What do you mean when you say         14· · · ·A.· ·No, she had -- she became upset when I
15· ·she tried to get you to sign a statement?             15· ·wouldn't sign the statement and when I said that
16· · · ·A.· ·Well, she said she wanted me to sign a       16· ·I had not harmed anyone.· It's like it was
17· ·statement, I didn't never seen no statement in        17· ·unacceptable for me to --
18· ·her hand or whatever, I don't know exactly what       18· · · ·Q.· ·-- okay.· After that, did she start
19· ·was in there, but I guess -- I don't even know        19· ·questioning you again about the case after she
20· ·what she meant, because she began to tell me          20· ·told you you were backtracking, and you said you
21· ·that I was backtracking, and I told her I hadn't      21· ·weren't going to sign the statement?
22· ·done anything to anyone, and she just -- she          22· · · ·A.· ·I'm sure she asked me something, I
23· ·wasn't happy.· That's the only time I notice her      23· ·don't know, it was too much after that, I don't
24· ·voice change and her demeanor change.                 24· ·know what really took place.· I know she was not
                                                     154                                                        156

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                               Chicago, Illinois· (312) 263-0052                                                      YVer1f
               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24       Page 41 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· ·happy.                                                ·1· · · ·A.· ·Yes, sir.
·2· · · ·Q.· ·But she never raised her voice to you,       ·2· · · · · · MR. TAYLOR:· I was just -- objection to
·3· ·did she?                                              ·3· ·the form.
·4· · · · · · MR. TAYLOR:· Objection, form,                ·4· ·BY MR. SOTOS:
·5· ·foundation.                                           ·5· · · ·Q.· ·So, did you know Jessie Mae Mason?
·6· · · · · · THE WITNESS:· No, but she let me know        ·6· · · ·A.· ·Yes.
·7· ·that she wasn't happy with it, and she was a          ·7· · · ·Q.· ·Yes?
·8· ·little upset, because I said I did not harm           ·8· · · ·A.· ·Yes.
·9· ·anyone.                                               ·9· · · ·Q.· ·And who was she?
10· · · · · · I don't know if she -- I don't know          10· · · ·A.· ·The mother of Ray Mason.
11· ·what her thoughts was, let me put it that way.        11· · · ·Q.· ·Ray Mason?
12· ·I know that things were it seemed like it was me      12· · · ·A.· ·Yes.
13· ·against the world; that's the only way I could        13· · · · · · MR. TAYLOR:· Are you looking at a
14· ·explain it.                                           14· ·particular exhibit?
15· ·BY MR. SOTOS:                                         15· · · · · · MR. SOTOS:· Yeah, I'm looking at
16· · · ·Q.· ·Now if you look at the top of Page 5832      16· ·Exhibit 12.
17· ·in the fourth line down it says she, referring        17· · · · · · MR. TAYLOR:· Okay.
18· ·to Connie, started screaming and was wearing a        18· · · · · · MR. SOTOS:· So, if you want him to take
19· ·blue nightgown, and according to Marcella Brown       19· ·a look at it.
20· ·that's what you said that Connie was screaming        20· · · · · · MR. TAYLOR:· Do you want him to look at
21· ·and was wearing blue nightgown; did you say that      21· ·it, or you just want --
22· ·to her?                                               22· · · · · · MR. SOTOS:· -- in a minute.· You can
23· · · · · · MR. TAYLOR:· Objection.· I'm a little        23· ·put it in front of him now.· If he wants to
24· ·unclear, is this -- where is this supposed to         24· ·start reading it, that's fine.
                                                     157                                                        159

·1· ·have happened?                                        ·1· · · · · · MR. TAYLOR:· I will wait for you to
·2· ·BY MR. SOTOS:                                         ·2· ·tell him.
·3· · · ·Q.· ·This is back at the police station           ·3· · · · · · MR. SOTOS:· Go ahead, that's fine.
·4· ·after the polygraph, after she told you you were      ·4· ·BY MR. SOTOS:
·5· ·backtracking, she wrote that one of the things        ·5· · · ·Q.· ·Mr. Savory, your Counsel has placed in
·6· ·you said after that was that Connie started           ·6· ·front you Exhibit 12 which is a report written
·7· ·screaming and was wearing a blue nightgown; did       ·7· ·by an Officer Black about an interview that he
·8· ·you say that to Marcella?                             ·8· ·did with Jessie Mae Mason, it's Savory 5884
·9· · · · · · MR. TAYLOR:· Objection, form, and            ·9· ·through 5888.
10· ·foundation.                                           10· · · · · · So, the first page purports to be an
11· · · · · · THE WITNESS:· I have no recollection of      11· ·interview that Officer Black did with Jessie Mae
12· ·saying that to -- I'll repeat again; whatever         12· ·Mason on January 28th, 1977, and in that report
13· ·she said before, I just went along with whatever      13· ·Officer Black writes that you stayed at her
14· ·she said.· I did not make -- I don't have no          14· ·house on Saturday, January 15th; do you see that
15· ·recollection of making that statement to her.         15· ·about four, five lines down there in that first
16· ·BY MR. SOTOS:                                         16· ·pull paragraph?
17· · · ·Q.· ·So, if there's any reference to a -- so      17· · · ·A.· ·Yes.
18· ·if there is reference you see to the blue             18· · · · · · MR. BOWMAN:· Object to the form of that
19· ·nightgown, you wouldn't -- the only way that          19· ·question.
20· ·would have happened is if she mentioned it            20· ·BY MR. SOTOS:
21· ·first --                                              21· · · ·Q.· ·Okay.· Do you see what I'm talking
22· · · · · · MR. TAYLOR:· --objection --                  22· ·about?
23· ·BY MR. SOTOS:                                         23· · · ·A.· ·Yes, sir.
24· · · ·Q.· ·-- is that what you're saying?               24· · · · · · MR. BOWMAN:· Same objection.
                                                     158                                                        160

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                              Chicago, Illinois· (312) 263-0052                                                       YVer1f
               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24       Page 42 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·BY MR. SOTOS:                                         ·1· ·Jessie Mae Mason or where she was present about
·2· · · ·Q.· ·Okay.· Did you, in fact, stay at             ·2· ·the murder of Connie and Scopey ever?
·3· ·Mason's house on the 15th?                            ·3· · · · · · MR. TAYLOR:· Objection, form and
·4· · · · · · MR. TAYLOR:· Objection to the form and       ·4· ·foundation.
·5· ·foundation for that question.                         ·5· · · · · · THE WITNESS:· No.
·6· · · · · · THE WITNESS:· I have absolutely no           ·6· ·BY MR. SOTOS:
·7· ·memory of 45, 50 years what I did on the 15th of      ·7· · · ·Q.· ·Did you know a young lady named Ann
·8· ·January.                                              ·8· ·Cooper?
·9· ·BY MR. SOTOS:                                         ·9· · · · · · MR. TAYLOR:· Who?
10· · · ·Q.· ·So, just to put it in context, that is       10· · · · · · MR. SOTOS:· Ann Cooper.
11· ·you know, three days -- two days before you           11· · · · · · MR. TAYLOR:· Thank you.
12· ·state you were at Scopey's house, and three days      12· · · · · · THE WITNESS:· It's been a long time, I
13· ·before the murders, you don't know if you were        13· ·don't know.
14· ·there or not that night?                              14· ·BY MR. SOTOS:
15· · · ·A.· ·I haven't spent the night outside of my      15· · · ·Q.· ·You don't recognize that name?
16· ·home too many nights in my life, so I don't have      16· · · ·A.· ·I don't recognize it.
17· ·no memory of January 15th, 2000 -- I mean 1977.       17· · · ·Q.· ·So, you didn't -- you weren't with Ann
18· · · ·Q.· ·Okay.· And according to the report,          18· ·Cooper on the 18th, January 18th, 1977?
19· ·Jessie Mae Mason said that you stayed overnight       19· · · · · · MR. TAYLOR:· Form and foundation,
20· ·the 15th, left the 16th, and then returned to         20· ·objection.
21· ·her house on the 17th when her daughter Barbara       21· · · · · · THE WITNESS:· No, sir.
22· ·was going to braid your hair, so that's on the        22· ·BY MR. SOTOS:
23· ·17th.                                                 23· · · ·Q.· ·Do you remember being with her any time
24· · · · · · Were you at the Mason's house on the         24· ·around that where you went with her to a Pepe's
                                                     161                                                        163

·1· ·17th?                                                 ·1· ·Taco on Western Avenue, you bought some tacos
·2· · · · · · MR. TAYLOR:· Objection, foundation and       ·2· ·and went back to your apartment?
·3· ·form.                                                 ·3· · · ·A.· ·No, sir.
·4· · · · · · THE WITNESS:· No, sir, not to my             ·4· · · ·Q.· ·Did you know where a Pepe's Taco was
·5· ·memory.                                               ·5· ·back around this time?
·6· ·BY MR. SOTOS:                                         ·6· · · ·A.· ·No, sir.
·7· · · ·Q.· ·You don't remember, or that doesn't          ·7· · · ·Q.· ·Okay.· Has Ann Cooper ever been to your
·8· ·refresh your recollection about Barbara was           ·8· ·apartment?
·9· ·going to braid your hair in the afternoon of the      ·9· · · · · · MR. TAYLOR:· Objection, form and
10· ·17th?                                                 10· ·foundation.
11· · · ·A.· ·No, and I didn't have no braids in my        11· · · · · · THE WITNESS:· I don't recall Ann
12· ·hair on the 17th or the 15th, or no time.             12· ·Cooper.
13· · · ·Q.· ·Okay.· If you look down at the next          13· ·BY MR. SOTOS:
14· ·sentence, it states that Savory left the              14· · · ·Q.· ·Okay.· So, you never -- you don't
15· ·residence immediately after his hair was braided      15· ·recall her being at your -- where you lived
16· ·and did not return until 1:00 on the 18th.            16· ·ever?
17· · · · · · Were you at the Mason's house on the         17· · · ·A.· ·I don't recall Ann Cooper, period.
18· ·18th?                                                 18· · · ·Q.· ·Okay.· According to this report if you
19· · · ·A.· ·No, sir.                                     19· ·look at Page 5887 --
20· · · ·Q.· ·According to the report, on the 18th         20· · · ·A.· ·-- 87.
21· ·you said something to the effect of they killed       21· · · ·Q.· ·She says that on the 18th, if you look
22· ·my partner, they killed my best friend and his        22· ·about 10 lines from the bottom of that page,
23· ·sister.                                               23· ·that you tried to talk her into having sexual
24· · · · · · Did you ever have a discussion with          24· ·intercourse with your father, but she declined
                                                     162                                                        164

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24       Page 43 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·to do so.                                             ·1· ·written by an Officer Hammer who says that he
·2· · · ·A.· ·Where do you see --                          ·2· ·talked to Jessie Mae Mason and on January 26th,
·3· · · ·Q.· ·-- it starts out by saying Cooper            ·3· ·and she said that you were at her house the day
·4· ·stated that Johnnie Savory -- do you see it?          ·4· ·after the murders.· She believed that day to be
·5· · · ·A.· ·I see it, but I don't --                     ·5· ·Wednesday, and that you said something bad had
·6· · · · · · MR. TAYLOR:· -- hold on, wait --             ·6· ·happened to your friends, that they were cut up
·7· · · · · · MR. BOWMAN:· --wait --                       ·7· ·and killed.
·8· · · · · · MR. TAYLOR:· -- wait until the question      ·8· · · · · · So, does that jog your memory about
·9· ·comes.                                                ·9· ·whether you would have had that conversation
10· ·BY MR. SOTOS:                                         10· ·with at Jessie Mae Mason's house on the 19th?
11· · · ·Q.· ·So, that never happened?                     11· · · ·A.· ·No, sir.
12· · · · · · MR. TAYLOR:· Objection, form,                12· · · · · · MR. TAYLOR:· Objection, form and
13· ·foundation.                                           13· ·foundation.
14· · · · · · THE WITNESS:· No.                            14· ·BY MR. SOTOS:
15· ·BY MR. SOTOS:                                         15· · · ·Q.· ·Did that -- are you saying that that
16· · · ·Q.· ·And you don't -- well, you don't             16· ·did it not happen?
17· ·remember her at all?                                  17· · · · · · MR. TAYLOR:· Same objection.
18· · · ·A.· ·No, sir.                                     18· · · · · · THE WITNESS:· I have no memory of the
19· · · ·Q.· ·All right.· I asked you some questions       19· ·19th.· I don't have no recollection of talking
20· ·about Ray Mason whether you were at his house         20· ·to Jessie Mason or anyone else on the 19th of
21· ·before the murders.                                   21· ·January.
22· · · · · · What about after the murders, like on        22· ·BY MR. SOTOS:
23· ·January 19th, the day after the murders, were         23· · · ·Q.· ·Could you have talked to her on the
24· ·you at the Mason's house that day?                    24· ·19th and told her that your friends were cut up
                                                     165                                                        167

·1· · · ·A.· ·Actually I just don't have no memory of      ·1· ·and killed, cut up bad and killed?
·2· ·what the 19th of January was.                         ·2· · · · · · MR. BOWMAN:· Objection to the form of
·3· · · ·Q.· ·Yeah, and I think you -- the Judge has       ·3· ·the question.
·4· ·said that I can't really ask you about your           ·4· · · · · · THE WITNESS:· No, not to my -- I don't
·5· ·memory.                                               ·5· ·remember having no conversation with Jessie,
·6· · · · · · MR. SOTOS:· So, can you put Exhibit 15       ·6· ·period, at no time.
·7· ·in front of the Plaintiff?                            ·7· ·BY MR. SOTOS:
·8· · · · · · MR. TAYLOR:· One page?                       ·8· · · ·Q.· ·So, you don't remember if that
·9· · · · · · MR. SOTOS:· Yes, it's a one page             ·9· ·happened?
10· ·report.                                               10· · · ·A.· ·I wouldn't have never told her nothing
11· · · · · · MR. TAYLOR:· I will put it at the top        11· ·like that.
12· ·of the document there, it's harder to find.           12· · · ·Q.· ·Okay.
13· · · · · · MR. SOTOS:· I don't know where they          13· · · ·A.· ·I don't even know her -- I mean I know
14· ·marked it, mine's not marked.                         14· ·of her, that's it.
15· ·BY MR. SOTOS:                                         15· · · ·Q.· ·Did you know a Marshall Thompson?
16· · · ·Q.· ·So, Mr. Savory, what your Counsel has        16· · · ·A.· ·Yeah, I believe we used to go to school
17· ·placed in front of you is Exhibit No. 15, Bates       17· ·together, yeah.
18· ·number Savory --                                      18· · · · · · MR. SOTOS:· Can you place Exhibit 16 in
19· · · · · · MR. TAYLOR:· -- one second.· Let us          19· ·front of the Plaintiff, please?
20· ·find it here in our packet here, Jim.· It's at        20· · · · · · MR. TAYLOR:· Another one at the top.
21· ·the top, the marking is at the top.                   21· ·All right.
22· · · · · · MR. BOWMAN:· Exhibit 15.· Okay.              22· ·BY MR. SOTOS:
23· ·BY MR. SOTOS:                                         23· · · ·Q.· ·Mr. Savory, your Counsel has placed in
24· · · ·Q.· ·Savory 5856, this is a one page report       24· ·front of you Exhibit No. 16, it's Savory
                                                     166                                                        168

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24       Page 44 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·5932-33, and it's a report dated February 4th,        ·1· ·Marva Jones though, right?
·2· ·1977 authored by Officer Brown.· And it purports      ·2· · · ·A.· ·She was a good -- like a big sister.
·3· ·to recount a conversation that Officers Brown         ·3· · · ·Q.· ·You can't really think of any reason
·4· ·and Haynes had with Marshall Thompson in which        ·4· ·why she would lie about you, right?
·5· ·he says he was -- in which he states that you         ·5· · · · · · MR. BOWMAN:· Objection to the form of
·6· ·told him that you were at the Mason's house from      ·6· ·the question.
·7· ·Wednesday the 19th through Friday the 21st;           ·7· · · · · · THE WITNESS:· That's -- I don't believe
·8· ·January 19 through the 21, and that you had been      ·8· ·she even said it, to be honest.
·9· ·at a party for three nights straight and had          ·9· ·BY MR. SOTOS:
10· ·been drunk for three nights; do you see that?         10· · · ·Q.· ·Okay.· All right.· Do you see at the
11· · · ·A.· ·I see it.                                    11· ·bottom of the page where Thompson said that --
12· · · ·Q.· ·Okay.· Did that happen?                      12· ·well, forget about that, forget about that.
13· · · · · · MR. TAYLOR:· Jim, correct me if I'm          13· · · · · · MR. SOTOS:· Okay.· I kind of have to
14· ·wrong, but are you -- I didn't think he was           14· ·jump around a little bit here because of the way
15· ·permitted to question the dates after the 18th        15· ·this Judge's Order is read, and I'm trying to
16· ·during that period from the 19th to the 25th.         16· ·comply with it so we don't have to start doing
17· · · · · · MR. SOTOS:· No, the 19th I specifically      17· ·what we do.
18· ·can, so I suppose technically you could say I         18· · · · · · So, I'm going to ask you to look at
19· ·could ask him about the 19th and then cut it          19· ·Exhibit No. 17.
20· ·off, but it's what Thompson is describes is the       20· · · · · · MR. TAYLOR:· It's a big one.
21· ·19th through the 21st, so --                          21· · · · · · MR. SOTOS:· How much time do we have
22· · · · · · MR. TAYLOR:· -- all right.· Go right         22· ·left?
23· ·ahead.                                                23· · · · · · THE VIDEOGRAPHER:· 57.
24                                                         24· · · · · · MR. SOTOS:· Okay.· All right.
                                                     169                                                        171

·1· ·BY MR. SOTOS:                                         ·1· ·BY MR. SOTOS:
·2· · · ·Q.· ·So, did you ever have a conversation         ·2· · · ·Q.· ·Your Counsel has placed in front of you
·3· ·with Marshall Thompson about being at Ray             ·3· ·Exhibit No. 17, Savory 5858 through 5867, and
·4· ·Mason's house from January 19th through the           ·4· ·this purports to be a report prepared by
·5· ·21st, and being drunk for three days?                 ·5· ·Officers Pinkney and Haynes about their
·6· · · · · · MR. TAYLOR:· Objection, form and             ·6· ·interview with you at the late afternoon school,
·7· ·foundation.                                           ·7· ·the first time you talked to any police officers
·8· · · · · · THE WITNESS:· No, I don't remember           ·8· ·on the 25th; you remember them coming to the
·9· ·having any conversation with anyone about             ·9· ·school, right?
10· ·anything after the 19th, 20th, or no other time,      10· · · ·A.· ·Yes.
11· ·and for the record I've never been drunk even to      11· · · ·Q.· ·Okay.· And so if you go to Page 4 of
12· ·this day.                                             12· ·this document, Savory 5861, are you there? I
13· ·BY MR. SOTOS:                                         13· ·don't mean to rush you.
14· · · ·Q.· ·In your life?                                14· · · ·A.· ·You said where, 5861.
15· · · ·A.· ·Period.                                      15· · · ·Q.· ·61, yeah.
16· · · ·Q.· ·Okay.· So, if Marva Jones said you           16· · · ·A.· ·Okay.
17· ·showed up at her house one day, and you smelled       17· · · ·Q.· ·It says in the -- at 3:30 that you were
18· ·of alcohol, that's not --                             18· ·directed to the officers location by Mr.
19· · · ·A.· ·-- she would be lying.                       19· ·Richardson, and that Officer Haynes said to you
20· · · ·Q.· ·From smelling of alcohol?                    20· ·we would like to talk to you about Scopey, and
21· · · · · · MR. TAYLOR:· Objection, form and             21· ·that you immediately replied I don't want to
22· ·foundation.                                           22· ·talk about it, I won't make any statements.
23· ·BY MR. SOTOS:                                         23· · · · · · MR. BOWMAN:· Jim, we went through this
24· · · ·Q.· ·Okay.· You had a good relationship with      24· ·last time.
                                                     170                                                        172

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24      Page 45 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· · · · · · MR. TAYLOR:· Yeah.                           ·1· ·BY MR. SOTOS:
·2· · · · · · MR. BOWMAN:· I have a pretty distinct        ·2· · · ·Q.· ·Okay.· And at the very bottom of that
·3· ·recollection going through this.                      ·3· ·page there is a question and answer, it says,
·4· · · · · · MR. SOTOS:· No, this is covered by           ·4· ·now this is referring to for context, January
·5· ·whether or not these officers made false              ·5· ·17th when you were at Scopey's house where it
·6· ·statements in the report, and that's all I'm          ·6· ·says then what did you do, and the answer was we
·7· ·going to ask about.                                   ·7· ·went into the front room, put the TV on the
·8· · · · · · MR. BOWMAN:· Well, I mean I want to          ·8· ·floor, the long table across the arm of the
·9· ·have peace in the realm of not, you know, argue,      ·9· ·chair and started wrestling.
10· ·but the Order I think it kind of ambiguous as to      10· · · · · · Is that accurate in terms of what they
11· ·whether it's Johnnie's false statements, or the       11· ·asked you and what you said to them?
12· ·officers' false statements, or what exactly it        12· · · · · · MR. TAYLOR:· Objection, form and
13· ·is, and I'm just saying we did definitely go          13· ·foundation.
14· ·through this before.                                  14· · · · · · THE WITNESS:· No.
15· · · · · · MR. SOTOS:· Yeah, I know, and I read         15· ·BY MR. SOTOS:
16· ·the dep, he was asked about --                        16· · · ·Q.· ·What's inaccurate about it?
17· · · · · · MR. BOWMAN:· -- yeah --                      17· · · ·A.· ·Sitting the TV on the floor.
18· · · · · · MR. SOTOS:· -- about the interview. I        18· · · ·Q.· ·Okay.· Did you tell them anything about
19· ·don't think he was asked what statements in           19· ·the TV?
20· ·there were false.                                     20· · · ·A.· ·I don't recall.
21· · · · · · MR. BOWMAN:· Okay.· If that's what           21· · · ·Q.· ·So, you don't remember if you said what
22· ·you're asking is whether it's an accurate             22· ·you testified to here that the TV was on a stand
23· ·record, and then --                                   23· ·with wheels --
24· · · · · · MR. SOTOS:· -- that's what I've asked.       24· · · ·A.· ·-- that's what I recall.
                                                     173                                                        175

·1· · · · · · MR. BOWMAN:· Whether it is an accurate       ·1· · · ·Q.· ·You just don't recall if you told them
·2· ·record, and that's all you're asking?                 ·2· ·that during that first, very first discussion?
·3· · · · · · MR. SOTOS:· Yeah, that's all.                ·3· · · ·A.· ·It didn't last long at the school, so
·4· · · · · · MR. BOWMAN:· Okay.· All right.· The          ·4· ·no, I don't recall.
·5· ·hour is late.                                         ·5· · · ·Q.· ·Okay.· They said in the next page if
·6· · · · · · MR. SOTOS:· Right.· I've only got --         ·6· ·you turn to 5862, that you went back -- I'm
·7· ·it's going to be 55 minutes, and we're going to       ·7· ·sorry, to after the TV -- well, after that, what
·8· ·be done.                                              ·8· ·did you do?· Answer; we went back into his
·9· ·BY MR. SOTOS:                                         ·9· ·bedroom and started using the nightsticks, and
10· · · ·Q.· ·So, it says according to the report          10· ·some word indicating he was using Chuga sticks
11· ·that Officer Haynes asked -- told you that we'd       11· ·practicing karate; is that accurate in terms of
12· ·like to talk to you about Scopey, and that you        12· ·what they said to you, and what you said back?
13· ·replied, I don't want to talk about it, I won't       13· · · · · · MR. TAYLOR:· Objection, form and
14· ·make any statements.                                  14· ·foundation.
15· · · · · · Is that accurate in terms of what the        15· · · · · · THE WITNESS:· No, I don't remember
16· ·officers said to you, and what you said to them?      16· ·having no conversations about that; that's not
17· · · ·A.· ·It seemed to be.                             17· ·accurate.
18· · · ·Q.· ·Okay.· And then they shortly after that      18· ·BY MR. SOTOS:
19· ·persuaded you to talk to them, correct?               19· · · ·Q.· ·You didn't -- what part is inaccurate?
20· · · · · · MR. TAYLOR:· Objection to the form.          20· · · ·A.· ·The nightsticks and whatever you call
21· · · · · · THE WITNESS:· Yes, they told me that         21· ·them chuks or chuga sticks, or whatever?
22· ·maybe I saw something that would help them, or        22· · · ·Q.· ·Could it have been -- did you say
23· ·maybe I heard something, or what have you.            23· ·anything about using nunchunks?
24                                                         24· · · ·A.· ·Scopey and I never used any kind of
                                                     174                                                        176

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24      Page 46 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· ·sticks, knives, or anything else, you know.           ·1· · · ·Q.· ·You guys didn't listen to music?
·2· · · ·Q.· ·Okay.· So, then in the next question         ·2· · · ·A.· ·No, we sat at the kitchen table
·3· ·where it says can you describe the nightstick?        ·3· ·drawing.
·4· ·Answer; black like the police used with a             ·4· · · ·Q.· ·Okay.· Bottom of that same page,
·5· ·string, you didn't say that?                          ·5· ·Question; what did you do when you got home?
·6· · · · · · MR. TAYLOR:· Objection, form and             ·6· ·Answer; called Scopey's house.
·7· ·foundation.                                           ·7· · · · · · Did you tell the officers that?
·8· · · · · · THE WITNESS:· I have no memory of            ·8· · · · · · MR. TAYLOR:· Objection, form,
·9· ·saying that to them.                                  ·9· ·foundation.
10· ·BY MR. SOTOS:                                         10· · · · · · THE WITNESS:· I don't recall telling
11· · · ·Q.· ·You're saying that you didn't say that?      11· ·them that, because we don't have no phone.
12· · · ·A.· ·I'm saying --                                12· ·BY MR. SOTOS:
13· · · · · · MR. TAYLOR:· -- he didn't say that --        13· · · ·Q.· ·Okay.· Going to the next page the
14· ·BY MR. SOTOS:                                         14· ·question is; what time was that?· Answer; as
15· · · ·Q.· ·I'm sorry, are you saying that you           15· ·soon as I got home 12:00 I used the neighbor's
16· ·didn't say that, or are you are saying you just       16· ·phone downstairs; did you say that?
17· ·don't remember?                                       17· · · · · · MR. TAYLOR:· Objection, form,
18· · · ·A.· ·I'm saying no, I don't remember saying       18· ·foundation.
19· ·that to them.· I don't even recall them asking        19· · · · · · THE WITNESS:· No.
20· ·me, whatever.                                         20· ·BY MR. SOTOS:
21· · · ·Q.· ·And the next page in the middle of the       21· · · ·Q.· ·Okay.· Did you have a neighbor's
22· ·page there is a question and answer.· Then what       22· ·phone -- that's all right.
23· ·did you do?· The answer is Melvin called us a         23· · · · · · Going down a little bit.· Did Scopey
24· ·dirty name, so we chased him over the hill and        24· ·say anything to you indicating that he was
                                                     177                                                        179

·1· ·all the way home.· Is that accurate in terms of       ·1· ·having trouble with somebody, someone?· Answer;
·2· ·your discussion with the officers?                    ·2· ·he asked me to come over at 8:00 sharp.· He said
·3· · · · · · MR. TAYLOR:· Objection, form and             ·3· ·he had someone to deal with it and wanted my
·4· ·foundation.                                           ·4· ·help.
·5· · · · · · THE WITNESS:· No, sir, I don't know          ·5· · · · · · Did you have that discussion with the
·6· ·Melvin.                                               ·6· ·officers?
·7· ·BY MR. SOTOS:                                         ·7· · · ·A.· ·No.
·8· · · ·Q.· ·Okay.· The bottom of that page the           ·8· · · ·Q.· ·Okay.
·9· ·question is; what did you do next?· The answer        ·9· · · · · · MR. TAYLOR:· I have an objection to
10· ·in the next page is, we went into Scopey's room       10· ·that; form and foundation.
11· ·and practiced Kung Fu and listened to music.          11· ·BY MR. SOTOS:
12· · · ·A.· ·Where are you at?                            12· · · ·Q.· ·Okay.· There is another series of
13· · · ·Q.· ·Bottom of Page 5863, and the top of 64.      13· ·questions about Scopey carrying any kind of a
14· ·Is that accurate?                                     14· ·weapon or a knife, and according to the report
15· · · · · · MR. TAYLOR:· Objection, form,                15· ·you stating that he carried a pocket knife.· You
16· ·foundation.                                           16· ·last saw it on Monday; did any of that happen?
17· · · · · · THE WITNESS:· No, it's not accurate.         17· · · · · · MR. TAYLOR:· Objection, form,
18· ·BY MR. SOTOS:                                         18· ·foundation.
19· · · ·Q.· ·You never said anything about                19· · · · · · THE WITNESS:· I never seen him with any
20· ·practicing Kung Fu I take it?                         20· ·weapon.
21· · · ·A.· ·No.                                          21· ·BY MR. SOTOS:
22· · · ·Q.· ·Did you tell them you went to listen to      22· · · ·Q.· ·And never told the police officers that
23· ·music?                                                23· ·you did?
24· · · ·A.· ·No.                                          24· · · ·A.· ·Yeah, I don't have no memory of telling
                                                     178                                                        180

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               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24      Page 47 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· ·the police that I saw him with a weapon. I            ·1· · · ·A.· ·Yeah, now he was -- yeah.
·2· ·never seen him with any weapon.                       ·2· · · ·Q.· ·All right.· And on the day of the
·3· · · ·Q.· ·Okay.· Very last line, would you be          ·3· ·murders, the 18th, you were at their house,
·4· ·willing to go down to the station with us and         ·4· ·correct?
·5· ·answer questions that other detectives might          ·5· · · ·A.· ·Yes.
·6· ·want to ask you?· Answer; okay.· Is that right,       ·6· · · ·Q.· ·Okay.· Were you also there -- do you
·7· ·it says okay -- it looks like okay at the bottom      ·7· ·remember if you were there the day before the
·8· ·of the page.                                          ·8· ·murders?
·9· · · · · · MR. TAYLOR:· I think it does.                ·9· · · ·A.· ·I don't.
10· ·BY MR. SOTOS:                                         10· · · ·Q.· ·You don't know?
11· · · ·Q.· ·Do you recall telling the officers you       11· · · ·A.· ·I don't recall being there.
12· ·would be willing to go down to the station and        12· · · ·Q.· ·Okay.· What time did you get to their
13· ·answer other questions they might have?               13· ·house on the day of the murders?
14· · · · · · MR. TAYLOR:· Are you sure it doesn't         14· · · ·A.· ·I think I answered that question.· Let
15· ·say no.                                               15· ·me see here, I think around some -- after I left
16· · · · · · MR. SOTOS:· I think it says okay.            16· ·Mrs. Williams' house, because she lives around
17· · · · · · MR. TAYLOR:· I'm not 100 percent.            17· ·the corner -- she takes care of the -- I would
18· ·BY MR. SOTOS:                                         18· ·say around 10:30, 11, something like that. I
19· · · ·Q.· ·Do you remember telling the officers         19· ·was looking for Frankie.
20· ·you'd go down to the station with them and            20· · · ·Q.· ·You were there looking for Frankie?
21· ·answer questions?                                     21· · · ·A.· ·Yeah.
22· · · ·A.· ·They did convince me to leave and go         22· · · ·Q.· ·And at some point you ended up talking
23· ·with them.                                            23· ·to Tina about showing her how to get to school,
24· · · ·Q.· ·Okay.· When you say they convinced you,      24· ·right?
                                                     181                                                        183

·1· ·like what did they say to convince you?               ·1· · · ·A.· ·Yeah, she asked me where did I go to
·2· · · ·A.· ·They said that I might have heard            ·2· ·school, and I told her late afternoon, and I
·3· ·something, saw something and that could possibly      ·3· ·think she said that she was starting down there.
·4· ·help them solve the crime.                            ·4· ·So, I think I, if I remember correctly, she
·5· · · ·Q.· ·Okay.                                        ·5· ·didn't know how to get there.· So, I told her to
·6· · · · · · MR. SOTOS:· How much time?                   ·6· ·meet me at the bus stop in front -- well, it's
·7· · · · · · THE VIDEOGRAPHER:· We are at 3 hours         ·7· ·not in front of my house, but it's on the
·8· ·and 14 minutes.                                       ·8· ·corner, and I would give her one of my bus
·9· · · · · · MR. SOTOS:· Okay.                            ·9· ·passes, and we could go -- I would show her how
10· · · · · · MR. TAYLOR:· 46 minutes.                     10· ·to get to school.
11· · · · · · MR. SOTOS:· Let's talk about --              11· · · ·Q.· ·All right.· And after you told her
12· · · · · · MR. BOWMAN:· That's an NBA game.             12· ·that, do you remember what time you had that
13· ·BY MR. SOTOS:                                         13· ·conversation with her?
14· · · ·Q.· ·Let's talk about the Ivy's a little          14· · · ·A.· ·Yeah, I mean it was like, you know, I
15· ·bit.· So, you knew the Ivy family fairly well         15· ·didn't stay long at their house, so it was
16· ·back in 1977, true?                                   16· ·between the time that I said I got there 10:30,
17· · · · · · MR. TAYLOR:· Objection, form.                17· ·11:00, it didn't take long.· I have mean, I left
18· · · · · · THE WITNESS:· No, they had just arrived      18· ·there and went home.
19· ·to from I guess somewhere, Chicago somewhere,         19· · · ·Q.· ·Okay.· Could it have been closer to
20· ·and I met Frankie, and later on he introduced me      20· ·1:00 in the afternoon when you had the
21· ·to his family, but it was mainly Frankie and I,       21· ·conversation with her?
22· ·you know.                                             22· · · · · · MR. TAYLOR:· Objection, form.
23· ·BY MR. SOTOS:                                         23· · · · · · THE WITNESS:· I don't think so.
24· · · ·Q.· ·He was your friend?                          24
                                                     182                                                        184

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24     Page 48 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· ·BY MR. SOTOS:                                         ·1· · · · · · MR. TAYLOR:· 2/7/77.
·2· · · ·Q.· ·Okay.                                        ·2· · · · · · MR. SOTOS:· 2/7/77.
·3· · · ·A.· ·I don't know.                                ·3· · · · · · MR. BOWMAN:· But that's not the
·4· · · ·Q.· ·So, after talking to Tina about that,        ·4· ·reinvestigation, that's 2/7/77, so --
·5· ·what did you do?                                      ·5· · · · · · MR. SOTOS:· -- right, but the
·6· · · ·A.· ·Went home.                                   ·6· ·reinvestigation in 1981 Mr. Savory wasn't having
·7· · · · · · MR. BOWMAN:· Jim, this is -- you know,       ·7· ·those conversations, so your claims at trial are
·8· ·again --                                              ·8· ·going to, I assume, relate to what information
·9· · · · · · MR. SOTOS:· -- this is probably the          ·9· ·she got from them in '77; that's what he can
10· ·last topic area, and it's specifically about the      10· ·talk about.· He's not really going to be able to
11· ·alleged misconduct in the '81 investigation, so,      11· ·talk a lot about -- his interactions with them
12· ·which I take it to mean that your view that the       12· ·on that day is what he's going to be able to
13· ·police coerced, manipulated, fabricated the Ivy       13· ·testify to --
14· ·statements, so in '81 when they were used, so         14· · · · · · MR. BOWMAN:· -- right.
15· ·what I want to ask him about is like what             15· · · · · · MR. SOTOS:· So, I'm not actually going
16· ·actually happened in '77 --                           16· ·to, because I didn't feel it was actually fair
17· · · · · · MR. BOWMAN:· -- sure, I get what your        17· ·to start asking him about things that Buck and
18· ·purpose is; you want a predicate, but the             18· ·Cannon talked to the Ivy's about in '81 --
19· ·problem with that is he already testified about       19· · · · · · MR. BOWMAN:· -- right --
20· ·his activities on the 18th, and Judge Feinerman       20· · · · · · MR. SOTOS:· -- because that's not
21· ·said that's covered, don't go there again.            21· ·his --
22· · · · · · So, it might be useful for you to go         22· · · · · · MR. BOWMAN:· -- yeah, I mean honestly I
23· ·there again, but he's already been through it.        23· ·read the part of Feinerman's Order that you are
24· · · · · · MR. SOTOS:· Well, what I want to do is       24· ·referring to and was kind of scratching my head,
                                                     185                                                        187

·1· ·show him the report.                                  ·1· ·because it struck me that that wasn't a useful
·2· · · · · · MR. BOWMAN:· Yeah.                           ·2· ·topic for a deposition of Savory, but it still
·3· · · · · · MR. SOTOS:· And ask him whether these        ·3· ·remains the case that his activities including
·4· ·things that according to Marcella Brown the           ·4· ·his interactions with the Ivy's on the 18th were
·5· ·Ivy's said they said so that he doesn't later         ·5· ·covered in Sara's deposition, and Judge
·6· ·come to trial and say, I didn't say those             ·6· ·Feinerman specifically said you can't go through
·7· ·things, and they were used against me in the          ·7· ·that again, because that was done.
·8· ·trial.                                                ·8· · · · · · That's -- so, I mean it seems like if
·9· · · · · · I think that's what the Judge meant by       ·9· ·there's an interpretation to be made of
10· ·saying misconduct during the 1981                     10· ·Feinerman's analysis that it's got to be that
11· ·reinvestigation interviews specifically relating      11· ·whatever you talk with Johnnie about relating to
12· ·to the Ivy's.                                         12· ·that misconduct has got to be something other
13· · · · · · So, like I'm trying pretty hard to stay      13· ·than, you know, what Johnnie did on the 18th,
14· ·with this --                                          14· ·because that's off limits.
15· · · · · · MR. BOWMAN:· -- yeah --                      15· · · · · · I mean I'm glad I'm not in your shoes
16· · · · · · MR. SOTOS:· -- and that's the last,          16· ·having to figure that out, because I just don't
17· ·just about the last topic area.· I'm probably         17· ·know what that could be, but it does seem to me
18· ·going to run out of time with it, so, I mean --       18· ·that what you're doing the Order says you can't
19· ·you know, I think that that's exactly what the        19· ·do.
20· ·Judge --                                              20· · · · · · MR. SOTOS:· Let's take 10 minutes.
21· · · · · · MR. TAYLOR:· -- well, what report are        21· · · · · · MR. BOWMAN:· Let's do that.
22· ·you talking about?                                    22· · · · · · MR. SOTOS:· Let me look at the dep, and
23· · · · · · MR. SOTOS:· The report of Marcella           23· ·let me see if I agree with you that this was
24· ·Teplitz --                                            24· ·thoroughly covered.· I've read it, but if it's
                                                     186                                                        188

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              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24      Page 49 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·thoroughly covered then --                            ·1· ·foundation.
·2· · · · · · MR. BOWMAN:· -- I take that's a              ·2· · · · · · THE WITNESS:· No, sir.· For a large
·3· ·sensible approach.· Thank you.                        ·3· ·part of that I was kept in solitary confinement,
·4· · · · · · MR. SOTOS:· I gotcha.                        ·4· ·I was not allowed to be around the other
·5· · · · · · THE VIDEOGRAPHER:· The time is 17:05,        ·5· ·residents until later on.
·6· ·and we are off the record.                            ·6· · · · · · They would let me out for an hour a
·7· · · · · · · · · ·(Whereupon, a short recess was        ·7· ·day, but for the majority they kept me in
·8· · · · · · · · · · taken.)                              ·8· ·solitary confinement.
·9· · · · · · THE VIDEOGRAPHER:· We are back on the        ·9· ·BY MR. SOTOS:
10· ·record, and the time is 17:23.                        10· · · ·Q.· ·At the Gift Home you were in solitary
11· ·BY MR. SOTOS:                                         11· ·confinement?
12· · · ·Q.· ·Ready?                                       12· · · ·A.· ·Yes, a room 15 feet high, 2 inch
13· · · ·A.· ·Yes.                                         13· ·Styrofoam mattress, and 12 inches of concrete.
14· · · ·Q.· ·Mr. Savory, during the break your            14· · · ·Q.· ·How long were you held there?
15· ·Counsel placed in front of you Exhibit No. 22         15· · · ·A.· ·Until the trial was over, and I think
16· ·through 25, and actually we need one more, 26,        16· ·the Judge ordered them to let me out starting an
17· ·sorry.                                                17· ·hour a day, and then eventually they let me out
18· · · · · · And just to give the broad strokes,          18· ·where I could participate, and you know, but
19· ·these are reports of police officers and              19· ·everything else mostly was one on one whether I
20· ·individuals that concern statements that you          20· ·was school or exercising.
21· ·allegedly made to people at the Gift Home when        21· · · ·Q.· ·Do you remember a lounge area in the
22· ·you were being detained there in 1977, so,            22· ·Gift Home?
23· ·that's what I'm going to be asking you about.         23· · · ·A.· ·Yes.
24· · · · · · First let me ask you, do you remember        24· · · ·Q.· ·Where you could sometimes, anyway,
                                                     189                                                        191

·1· ·being detained at the Gift Home in '77, correct?      ·1· ·watch TV with other youths who were there?
·2· · · ·A.· ·Yes, sir.                                    ·2· · · ·A.· ·Yeah.
·3· · · ·Q.· ·Do you remember a person named William       ·3· · · ·Q.· ·Pool, there was a pool table?
·4· ·Poolle who was there as well?                         ·4· · · ·A.· ·I don't remember.
·5· · · ·A.· ·I don't remember, no.                        ·5· · · ·Q.· ·Do you ever remember sitting around and
·6· · · ·Q.· ·How about Tommy Thompson?                    ·6· ·talking with other youths who were there either
·7· · · ·A.· ·I don't remember him either. I               ·7· ·in the lounge or while playing pool about
·8· ·remember him when my lawyer mentioned him, but I      ·8· ·anything, forget about the case, about anything?
·9· ·don't --                                              ·9· · · · · · MR. TAYLOR:· Objection, form.
10· · · ·Q.· ·-- you remember your lawyer talking to       10· · · · · · THE WITNESS:· Not really.
11· ·you about it.· I don't get to ask you about           11· ·BY MR. SOTOS:
12· ·that.                                                 12· · · ·Q.· ·All right.· So then what about your
13· · · ·A.· ·Okay.                                        13· ·case; do you recall ever talking to anybody at
14· · · ·Q.· ·And you remember -- and how about            14· ·the Gift Home about your case?
15· ·Freddie Yarburaugh?                                   15· · · ·A.· ·I don't remember talking to none of the
16· · · ·A.· ·That sounds familiar, but then again, I      16· ·residents about my case or staff.
17· ·don't really remember them.                           17· · · ·Q.· ·So, are you saying now that you didn't
18· · · ·Q.· ·But these aren't people, who you             18· ·talk to the residents about your case, or you
19· ·sitting here independently, remember yourself?        19· ·just don't remember?
20· · · ·A.· ·No, sir.                                     20· · · · · · MR. TAYLOR:· Objection.
21· · · ·Q.· ·Okay.· So, did you ever when you were        21· · · · · · THE WITNESS:· I did not.
22· ·at the Gift Home talk to anybody who was there        22· ·BY MR. SOTOS:
23· ·about the murders of Connie and Scopey?               23· · · ·Q.· ·Okay.· So, if any of them are saying
24· · · · · · MR. TAYLOR:· Objection, form and             24· ·that you did, that would be incorrect?
                                                     190                                                        192

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24      Page 50 of 65
                                                                         Johnnie Lee Savory 02/17/2023


·1· · · ·A.· ·They would be lying.                         ·1· ·leading up to your second trial.
·2· · · ·Q.· ·Okay.· And do you know of any reason         ·2· · · ·A.· ·Okay.
·3· ·why other than through discussions with your          ·3· · · ·Q.· ·So, the first document there in front
·4· ·lawyers, you know, because there's probably some      ·4· ·of you is Exhibit 28?
·5· ·of that, I get that, but aside from anything          ·5· · · ·A.· ·Okay.
·6· ·that you talked to with your lawyers, do you          ·6· · · ·Q.· ·Which is Savory 6025.
·7· ·personally know of any reason that those,             ·7· · · · · · MR. BOWMAN:· 6023.
·8· ·anybody who was detained there would have             ·8· · · · · · MR. SOTOS:· It's a three page exhibit,
·9· ·something against you to cause them to make up        ·9· ·Pages 6025, 6027, and 6029.· So, we don't have
10· ·something that you said?                              10· ·-- wait, wait, but it's on both pages, it's on
11· · · · · · MR. BOWMAN:· Objection, foundation.          11· ·both sides, writing on both sides.· So, it's
12· · · · · · THE WITNESS:· I didn't have any              12· ·Savory 6025 through 6029.
13· ·conflict with none of the residents, and I don't      13· · · · · · MR. BOWMAN:· All right.· So, it's more
14· ·want to assume why, but I guess they wanted to        14· ·than three pages.
15· ·go home, that's all I could think of.                 15· · · · · · MR. SOTOS:· I know, because I didn't
16· ·BY MR. SOTOS:                                         16· ·know there was writing on the back.· It's five
17· · · ·Q.· ·You're speculating that maybe they made      17· ·pages.· All right.
18· ·some deal with somebody, or something like that?      18· ·BY MR. SOTOS:
19· · · ·A.· ·I'm saying that's only thing I could         19· · · ·Q.· ·So, this purports to be a report that
20· ·think.· I couldn't think of anything else,            20· ·Defendant Cannon did of an interview with Ella
21· ·because I didn't know them and didn't interact        21· ·Ivy --
22· ·with them, so I don't know why.                       22· · · · · · MR. TAYLOR:· -- this seems like it's
23· · · · · · MR. SOTOS:· Just for the record, those       23· ·Page 3 of a report.
24· ·documents in front of you are exhibits -- I           24· · · · · · MR. SOTOS:· 6025?
                                                     193                                                        195

·1· ·don't even know we need to -- I guess I have          ·1· · · · · · MR. BOWMAN:· Yeah, I think it starts
·2· ·already placed them in front of him, so, they         ·2· ·with 6023.
·3· ·are Exhibit 22, which is Savory 6012, Exhibit 23      ·3· · · · · · MR. TAYLOR:· So, if you want to start
·4· ·which is Savory 6013, Exhibit 24 which is Savory      ·4· ·with 6023, not to help you out, but --
·5· ·6014, Exhibit 25 which is Savory 6016-17, and         ·5· · · · · · MR. SOTOS:· -- do they have that?
·6· ·Savory -- and Exhibit 26 which is Savory              ·6· · · · · · MR. BOWMAN:· Yeah, 6023, and it lists
·7· ·6023-26.· I'm not going to ask you any more           ·7· ·Ella Ivy as one of the exhibits witnesses --
·8· ·questions about those specifically based on your      ·8· · · · · · MR. SOTOS:· -- so, it's Pages 6023
·9· ·answers so far.                                       ·9· ·through 6029?
10· · · · · · Okay.· So, what are we on, 28?               10· · · · · · MR. TAYLOR:· No, I think it's two
11· · · · · · MR. BOWMAN:· 27.                             11· ·different reports.
12· · · · · · MR. CHRISTIE:· 28.                           12· · · · · · MR. SOTOS:· Okay.· I think we got it
13· · · · · · MR. BOWMAN:· You just went through 26,       13· ·cleared up.· This is Exhibit No. 28, which is
14· ·so I don't know what 27 is.                           14· ·Savory 6023 through 6029.
15· · · · · · MR. SOTOS:· I may not have shown you         15· · · · · · MR. TAYLOR:· Okay.
16· ·27.                                                   16· ·BY MR. SOTOS:
17· · · · · · · · · ·(Whereupon, SAVORY Deposition         17· · · ·Q.· ·I'm going to refer you to Page 6025.
18· · · · · · · · · · Exhibit No. 28 was marked for        18· · · ·A.· ·I don't have it.
19· · · · · · · · · · identification.)                     19· · · · · · MR. TAYLOR:· Yeah, okay, let me help
20· ·BY MR. SOTOS:                                         20· ·you.· I will give you this copy here.· The court
21· · · ·Q.· ·Okay.· Mr. Savory, I'm going to ask you      21· ·reporter only marked the two page report.
22· ·some questions about some reports that the            22· · · · · · MR. SOTOS:· Yeah.
23· ·officers who you sued did in 1981 concerning          23· · · · · · MR. CHRISTIE:· Could we have that one
24· ·their interviews with the Ivy's just in advance       24· ·back?
                                                     194                                                        196

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                                 Chicago, Illinois· (312) 263-0052                                                    YVer1f
              1:23-cv-01184-CRL-JEH # 318-2                 Filed: 04/22/24       Page 51 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· · · · · · MR. TAYLOR:· Yeah, we will keep this         ·1· ·BY MR. SOTOS:
·2· ·one --                                                ·2· · · ·Q.· ·Did you ever tell her that?
·3· · · · · · MR. SOTOS:· -- we need one to mark.          ·3· · · ·A.· ·No, sir.
·4· ·So, which one should she be marking to give to        ·4· · · ·Q.· ·Okay.· And did you ever tell her that
·5· ·him?                                                  ·5· ·Scopey was using some types of sticks, and that
·6· · · · · · MR. CHRISTIE:· That one right there.         ·6· ·he had a knife?
·7· · · · · · MR. SOTOS:· Do you have a stapler?           ·7· · · · · · MR. TAYLOR:· Objection, form and
·8· · · · · · MR. TAYLOR:· This one becomes 28.            ·8· ·foundation.
·9· · · · · · MR. SOTOS:· Yeah.                            ·9· · · · · · THE WITNESS:· No, sir.
10· · · · · · MR. TAYLOR:· He wants you to look at         10· ·BY MR. SOTOS:
11· ·the second page, I believe, right?                    11· · · ·Q.· ·Your ex-wife gave a deposition, and she
12· · · · · · MR. SOTOS:· Right, it's Page 6024.           12· ·testified that you had told her that you were
13· ·It's on the back.                                     13· ·using nunchucks; did that ever happen?
14· · · · · · MR. TAYLOR:· It's on the back side.          14· · · · · · MR. TAYLOR:· Objection, asked and
15· ·BY MR. SOTOS:                                         15· ·answered.
16· · · ·Q.· ·And this purports to be an interview         16· · · · · · Are you asking did he ever tell his
17· ·that Defendant Cannon did with Ella Ivy on            17· ·wife that, or are you asking did it ever happen?
18· ·February 7th, 1981.· Okay.                            18· · · · · · MR. SOTOS:· I'm asking him if he ever
19· · · ·A.· ·Yes, sir.                                    19· ·told his wife that, because that's what she
20· · · ·Q.· ·So, on Page 6024 in the middle of that       20· ·testified to.
21· ·page you'll see that it states that she, being        21· · · · · · MR. TAYLOR:· Objection, form and
22· ·Ella, stated that a short time later, and this        22· ·foundation.
23· ·is referring to January 18th, Johnnie came back       23· · · · · · THE WITNESS:· No, I don't remember -- I
24· ·to the residence, and she is certain that it was      24· ·know she read a lot of the reports because she
                                                     197                                                        199

·1· ·before 3:00.· She stated that it was at this          ·1· ·was helping me with it, but no, I never told her
·2· ·time that Johnnie told her that he had been to        ·2· ·that.
·3· ·his friend Scopey's house, and that they were         ·3· ·BY MR. SOTOS:
·4· ·practicing karate.                                    ·4· · · ·Q.· ·Okay.· Did you ever -- looking at the
·5· · · · · · Is that accurate what she said about         ·5· ·next line, did you ever tell Ella that you
·6· ·when you came back to her house?                      ·6· ·accidently stabbed Scopey, but that he was okay
·7· · · · · · MR. TAYLOR:· Objection, form and             ·7· ·when you left?
·8· ·foundation.                                           ·8· · · · · · MR. TAYLOR:· Objection, form and
·9· ·BY MR. SOTOS:                                         ·9· ·foundation.
10· · · ·Q.· ·On the 18th did you go back to her           10· · · · · · THE WITNESS:· No, sir.
11· ·house before 3:00?                                    11· ·BY MR. SOTOS:
12· · · ·A.· ·We were on the bus, no.                      12· · · ·Q.· ·Okay.· Did you ever say anything to
13· · · ·Q.· ·Okay.· And did she tell you that day         13· ·Ella Mae at any point about stabbing or being in
14· ·that you were at Scopey's house, and that you         14· ·an altercation with Scopey?
15· ·and he were practicing karate?                        15· · · · · · MR. TAYLOR:· Same objection.
16· · · · · · MR. TAYLOR:· Objection; you said did         16· · · · · · THE WITNESS:· No, sir, I never had any
17· ·she tell him?                                         17· ·real conversation with Ella, period, at all.
18· ·BY MR. SOTOS:                                         18· ·BY MR. SOTOS:
19· · · ·Q.· ·Did she -- oh, did you, in fact, tell        19· · · ·Q.· ·Okay.· Do you know why Ella would say
20· ·Ella Mae that you were at Scopey's house and          20· ·that you did say that?
21· ·that you were practicing karate?                      21· · · · · · MR. TAYLOR:· Objection, form and
22· · · · · · MR. TAYLOR:· Objection, form,                22· ·foundation.
23· ·foundation.                                           23· ·BY MR. SOTOS:
24· · · · · · THE WITNESS:· No, sir.                       24· · · ·Q.· ·Do you have any idea why?
                                                     198                                                        200

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                              Chicago, Illinois· (312) 263-0052                                                       YVer1f
               1:23-cv-01184-CRL-JEH # 318-2                Filed: 04/22/24     Page 52 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· · · ·A.· ·I have no -- I cannot --· I can assume       ·1· ·that you were present at Tina's residence along
·2· ·why she said it, but I know that the Ivy's had        ·2· ·with the rest of her family, and that when she
·3· ·their own run-ins with the law enforcement, so I      ·3· ·entered the house, her father informed her that
·4· ·don't know.                                           ·4· ·you had told him about two kids getting killed
·5· · · ·Q.· ·You don't know?                              ·5· ·and all sliced up.
·6· · · ·A.· ·No, sir.                                     ·6· · · · · · Did you ever have that conversation
·7· · · ·Q.· ·You testified earlier that you saw the       ·7· ·with their father Mr. Ivy?
·8· ·news about what happened to Scopey and Connie at      ·8· · · · · · MR. TAYLOR:· Objection, form and
·9· ·the Ivy's house when you were having -- when you      ·9· ·foundation.
10· ·were watching the news, correct?                      10· · · · · · THE WITNESS:· No, sir.
11· · · ·A.· ·Yes.                                         11· ·BY MR. SOTOS:
12· · · ·Q.· ·Okay.· And you said that was later at        12· · · ·Q.· ·Did you -- and I'm asking you now on
13· ·night; did you say 9:00?· I don't want to put         13· ·any occasion, did you ever discuss the murders
14· ·words in your mouth, do you remember when?            14· ·with the Ivy's on any occasion?
15· · · ·A.· ·Somewhere like that.                         15· · · · · · MR. TAYLOR:· Same objection.
16· · · ·Q.· ·Okay.· Did you tell Ella Mae on the          16· · · · · · THE WITNESS:· No, sir.
17· ·18th that Scopey had been all cut up, and that        17· · · · · · MR. BOWMAN:· Okay, sorry.
18· ·the little baby was found in the oven?                18· · · · · · MR. SOTOS:· Okay.
19· · · · · · MR. TAYLOR:· Objection, form and             19· ·BY MR. SOTOS:
20· ·foundation.                                           20· · · ·Q.· ·What about when you saw it on the news
21· · · · · · THE WITNESS:· No, sir.                       21· ·with them that night, did you talk about it with
22· ·BY MR. SOTOS:                                         22· ·them than?
23· · · ·Q.· ·And again, you don't know why she would      23· · · · · · MR. TAYLOR:· Objection, form and
24· ·say that?                                             24· ·foundation.
                                                     201                                                        203

·1· · · ·A.· ·No, sir.                                     ·1· · · · · · THE WITNESS:· The only thing I remember
·2· · · ·Q.· ·And you didn't tell her that the baby        ·2· ·saying I just couldn't believe they were gone.
·3· ·was found in the -- in a bedroom with the dog?        ·3· ·I just seen them yesterday -- the day -- you
·4· · · · · · MR. TAYLOR:· Objection, form and             ·4· ·know, the 17th, and I just couldn't believe they
·5· ·foundation.                                           ·5· ·were gone.
·6· · · · · · THE WITNESS:· No, sir, I didn't talk to      ·6· ·BY MR. SOTOS:
·7· ·Ella at all.                                          ·7· · · ·Q.· ·Do you remember anything that the Ivy's
·8· · · · · · MR. SOTOS:· Okay.· Can you mark this         ·8· ·said when you said that?
·9· ·No. 29?                                               ·9· · · ·A.· ·I don't think they said anything,
10· · · · · · · · · ·(Whereupon, SAVORY Deposition         10· ·because they didn't know who they were.
11· · · · · · · · · · Exhibit No. 29 was marked for        11· · · ·Q.· ·Oh, they didn't know them.· You only --
12· · · · · · · · · · identification.)                     12· ·okay.· None of the Ivy's knew Scopey or Connie?
13· · · · · · MR. BOWMAN:· Thank you.                      13· · · ·A.· ·No, no, not to my knowledge.
14· · · · · · THE WITNESS:· Thank you.                     14· · · ·Q.· ·Okay.· And you don't remember saying
15· ·BY MR. SOTOS:                                         15· ·anything other than that?
16· · · ·Q.· ·The court reporter has placed in front       16· · · ·A.· ·This was it.
17· ·of you what has been marked as Exhibit 29, and        17· · · ·Q.· ·Never talked to anybody in the Ivy
18· ·this is a report that purports to recount an          18· ·family about how they were killed?
19· ·interview that Detective Cannon had with Tina         19· · · · · · MR. TAYLOR:· I think didn't we go into
20· ·Ivy on April 7th, 1981 in which he contends that      20· ·this at the last deposition?
21· ·he asked her questions about her interactions         21· · · · · · MR. SOTOS:· Well, I'm just -- otherwise
22· ·with you on January 18th.                             22· ·I will just keep going through each statement in
23· · · · · · And if you look at the back side of          23· ·each one of the 1981 -- I'm trying to cut
24· ·that, it states that she -- that Tina states          24· ·through a lot of this.
                                                     202                                                        204

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            1:23-cv-01184-CRL-JEH # 318-2                   Filed: 04/22/24      Page 53 of 65
                                                                        Johnnie Lee Savory 02/17/2023


·1· · · · · · MR. TAYLOR:· All right.· But that            ·1· ·any member of the Ivy family; you only made this
·2· ·question was --                                       ·2· ·one statement on the 18th after seeing it on the
·3· · · · · · MR. SOTOS:· -- that question was asked?      ·3· ·news?
·4· ·All right.                                            ·4· · · ·A.· ·Yes, sir.
·5· · · · · · MR. TAYLOR:· I think like your question      ·5· · · ·Q.· ·Okay.
·6· ·was about what actually happened or didn't            ·6· · · · · · MR. SOTOS:· Can you place Exhibit
·7· ·happen rather than what was said, that's the          ·7· ·No. 20 in front of him real quick?· It's the
·8· ·distinction I'm making.                               ·8· ·Complaint.· All you need is the first page, but
·9· · · · · · MR. SOTOS:· All right.                       ·9· ·I think we could put the whole Complaint there.
10· ·BY MR. SOTOS:                                         10· ·BY MR. SOTOS:
11· · · ·Q.· ·She, according to the report, it says        11· · · ·Q.· ·Mr. Savory, your lawyer has placed in
12· ·that you said that you were at Scopey's house on      12· ·front of you Exhibit No. 20 which is the
13· ·the day of the murders, and that Scopey and his       13· ·Complaint you filed in this case.
14· ·sister were all right.· Did you say that to Tina      14· · · · · · You can see up at the top of the first
15· ·at any time?                                          15· ·page it names a number of different Defendants,
16· · · · · · MR. TAYLOR:· Objection, form and             16· ·you know, several of these you had personal
17· ·foundation.                                           17· ·interactions with, so I think we understand what
18· · · · · · THE WITNESS:· No, sir.                       18· ·your allegations are about them.
19· ·BY MR. SOTOS:                                         19· · · · · · There is other ones who you didn't, and
20· · · ·Q.· ·Okay.· After watching it on the news,        20· ·so I just wanted to ask you; other than what
21· ·did you say that you were just at their house         21· ·your lawyers may well have put together, if you
22· ·before you came to the Ivy's house?                   22· ·have anything personally, that you personally
23· · · · · · MR. TAYLOR:· Objection to the form.          23· ·know from firsthand information about the
24· · · · · · THE WITNESS:· No, sir.                       24· ·misconduct of any of these people.
                                                     205                                                        207

·1· ·BY MR. SOTOS:                                         ·1· · · · · · So, I know that Cannon interviewed you
·2· · · ·Q.· ·All you said was you can't believe --        ·2· ·personally, Teplitz did, Russell Buck.· Do you
·3· · · ·A.· ·-- I couldn't believe they was gone.         ·3· ·have any personal firsthand knowledge about any
·4· · · ·Q.· ·Okay.· Going on to the next line, did        ·4· ·misconduct he committed in this case; do you
·5· ·you ever tell Tina that you and Scopey were           ·5· ·even know him?
·6· ·practicing karate and playing around with a           ·6· · · · · · MR. TAYLOR:· Objection to the form and
·7· ·knife, and you accidentally cut him, but that he      ·7· ·foundation, because he may know of something
·8· ·was okay when you left?                               ·8· ·happening but not know his name.
·9· · · · · · MR. TAYLOR:· Objection, form.                ·9· · · · · · MR. SOTOS:· Right.
10· · · · · · THE WITNESS:· No, sir.                       10· ·BY MR. SOTOS:
11· ·BY MR. SOTOS:                                         11· · · ·Q.· ·And other than than through
12· · · ·Q.· ·Okay.· So, there is no other -- so you       12· ·conversations of your lawyers, of course, I just
13· ·had -- you were at their house on the 18th, had       13· ·want to know as you sit here, is Russell Buck
14· ·this -- made this statement that I can't believe      14· ·somebody who you have had interactions with that
15· ·they are done gone, or they're dead; is that the      15· ·you know for any reason?
16· ·only conversation you ever recall everything          16· · · ·A.· ·I do not remember all the officers that
17· ·with the Ivy's about Scopey and Connie, any           17· ·I came in contact with, and I assume what's here
18· ·member of the Ivy family ever?                        18· ·is that, you know, my attorneys determined, you
19· · · ·A.· ·Never that wasn't really a                   19· ·know, what their involvement is.
20· ·conversation, that was just a statement I made.       20· · · · · · I don't remember who all I was talking
21· · · ·Q.· ·Okay.· So, there was no                      21· ·to.· Sometimes it would be two and three people,
22· ·conversation with any --                              22· ·and I can't possibly --
23· · · ·A.· ·-- no, sir.                                  23· · · ·Q.· ·-- all right.· And some of these people
24· · · ·Q.· ·All right.· That answer would apply to       24· ·are sued for reasons aside from your discussions
                                                     206                                                        208

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                                 Chicago, Illinois· (312) 263-0052                                                    YVer1f
             1:23-cv-01184-CRL-JEH # 318-2                  Filed: 04/22/24        Page 54 of 65
                                                                      Johnnie Lee Savory 02/17/2023


·1· ·with them, so I'm not asking you to guess about       ·1· ·not aware of what else he may have done or said.
·2· ·that.                                                 ·2· · · ·Q.· ·Okay.· How about again Glen Perkins?
·3· · · · · · But you did mention I think in your          ·3· · · ·A.· ·I remember the name, but I just don't
·4· ·last deposition John Stenson, your father I           ·4· ·remember him.
·5· ·think had interactions with him?                      ·5· · · ·Q.· ·Chief Andrews?
·6· · · ·A.· ·Yes.                                         ·6· · · ·A.· ·I remember the name, but I don't
·7· · · ·Q.· ·Okay.· How about you personally, did         ·7· ·remember what they did.
·8· ·you have any prior interactions with John             ·8· · · ·Q.· ·Is that the same for Harold Martinez,
·9· ·Stenson that caused you to believe he committed       ·9· ·Mary Ann Dunlavey, Carl Tiarks, Peter Gerontes,
10· ·misconduct in this case?                              10· ·and John Timmes?
11· · · ·A.· ·My contact with him was writing and          11· · · ·A.· ·I remember my Godmother telling me
12· ·asking for help to solve the case, and he never       12· ·about John Timmes, I guess he was a sergeant,
13· ·responded, and there was -- his son was in the        13· ·and she told me that he had told her that he
14· ·Peoria County Jail with me, and I asked him           14· ·knew I was innocent, but he was about to retire,
15· ·could I speak with his father, and I asked him,       15· ·and he couldn't mess up his pension.
16· ·you know, to help solve the case as he was a          16· · · ·Q.· ·Okay.· So, your Godmother told you that
17· ·lieutenant or whatever, and that turned out           17· ·John Timmes told her that?
18· ·horribly wrong, because his -- Mr. Stenson got        18· · · ·A.· ·Yes, Octavia Burchett.
19· ·mad at his son, and they took him over to the         19· · · ·Q.· ·Ms. Burchett?
20· ·County Jail and he was physically assaulted and       20· · · ·A.· ·Yes.
21· ·brought him back by his dad based on what he          21· · · ·Q.· ·Oh, she's your Godmother?
22· ·told me.                                              22· · · ·A.· ·Yes.
23· · · ·Q.· ·He said his dad physically assaulted         23· · · ·Q.· ·Was she always -- I mean when did she
24· ·him?                                                  24· ·become your Godmother?
                                                     209                                                        211

·1· · · ·A.· ·Yes.                                         ·1· · · ·A.· ·When this case happened.· In my
·2· · · ·Q.· ·Was he any more specific than that?          ·2· ·community mostly all of them came to my aide.
·3· · · ·A.· ·He got angry with him that he put me on      ·3· · · ·Q.· ·And she told you that John Timmes said
·4· ·the phone with his dad.                               ·4· ·that he knew you were innocent, but he was close
·5· · · ·Q.· ·Did he specifically what, you know -- I      ·5· ·to retiring did you say?
·6· ·take it he didn't use the word physically             ·6· · · ·A.· ·Yes.
·7· ·assaulted?                                            ·7· · · ·Q.· ·Okay.· And how about the other ones I
·8· · · ·A.· ·Oh, he did, he beat him up.                  ·8· ·mentioned; Harold Martinez, Mary Ann Dunlavey,
·9· · · ·Q.· ·He beat him up, that's what he said?         ·9· ·Carl Tiarks, and Peter Gerontes?
10· · · ·A.· ·Yes.                                         10· · · ·A.· ·I wouldn't -- I can't remember them.
11· · · ·Q.· ·Did he look like he had been beaten up?      11· · · ·Q.· ·Okay.
12· · · ·A.· ·I believe him, I believe him, you know.      12· · · · · · MR. SOTOS:· Anything else?
13· · · ·Q.· ·Okay.· How about Walter Jatkowski?           13· · · · · · That's it.· Thank you very much.· We
14· · · ·A.· ·He had me strip naked and plucked the        14· ·are done.
15· ·hair from my body, if I'm not mistaken.               15· · · · · · MR. TAYLOR:· We only have about two
16· · · ·Q.· ·He was the guy that plucked the hairs        16· ·hours here.
17· ·from your body?                                       17· · · · · · MR. SOTOS:· I didn't think about that.
18· · · ·A.· ·Yes.                                         18· · · · · · MR. TAYLOR:· No question.
19· · · ·Q.· ·Okay.· Did he do anything to you other       19· · · · · · THE VIDEOGRAPHER:· The time is 17:52,
20· ·than that?                                            20· ·and we are off the record.
21· · · · · · MR. TAYLOR:· That you know?                  21· · · · · · THE COURT REPORTER:· Counsel, are you
22· ·BY MR. SOTOS:                                         22· ·ordering?
23· · · ·Q.· ·That you know of?                            23· · · · · · MR. SOTOS:· Yes, I am.
24· · · ·A.· ·That was the most traumatic for me, I'm      24· · · · · · THE COURT REPORTER:· Counsel, would you
                                                     210                                                        212

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                                 Chicago, Illinois· (312) 263-0052                                                    YVer1f
            1:23-cv-01184-CRL-JEH # 318-2                  Filed: 04/22/24   Page 55 of 65
                                                                   Johnnie Lee Savory 02/17/2023


·1· ·like a copy?
·2· · · · · · MR. TAYLOR:· Locke?
·3· · · · · · MR. BOWMAN:· Yes, we want a copy of
·4· ·this one.
·5· · · · ·(Deposition concluded at 5:53 p.m.)
·6
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                                                     213

·1· ·STATE OF ILLINOIS· · ·)

·2· · · · · · · · · · · · ·)· ·SS:

·3· ·COUNTY OF C O O K· · ·)

·4

·5· · ·I MARY ELLYN D'ANDREA, being first duly sworn,

·6· ·on oath says that she is a court reporter doing

·7· ·business in the City of Chicago; and that she

·8· ·reported in shorthand the proceedings of said

·9· ·deposition, and that the foregoing is a true and

10· ·correct transcript of her shorthand notes so

11· ·taken as aforesaid, and contains the proceedings

12· ·given at said deposition.

13

14· · · · · · · ·______________________________

15· · · · · · · ·MARY ELLYN D'ANDREA, CSR

16· · · · · · · ·LICENSE NO. 084-0022317

17

18

19

20

21

22

23

24

                                                     214

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                    1:23-cv-01184-CRL-JEH # 318-2                               Filed: 04/22/24                Page 56 of 65
                                                                                                   Johnnie Lee Savory 02/17/2023

                          16th                       20th                       40                        6012                       abusive
                              96:21 103:3 161:20         170:10                     58:11 62:23               194:3                   87:10
             $
                          17                         21                         45                        6013                       accident
$2                            5:6,13 171:19 172:3        126:7,11 139:10            91:7 161:7                194:4                   37:6
    108:8,13              17:05                          169:8                  46                        6014                       accidentally
                              189:5                  2100                           18:18,19 91:12            194:5                   19:14 206:7
             -            17:23                          93:3                       141:12 182:10         6016-17                    accidently
                              189:10                 21st                       49                            194:5                   200:6
--objection               17:52                          169:7,21 170:5             24:15                 6023                       accompanied
    158:22                    212:19                 22                         4:30                          195:7 196:2,4,6,8,14    75:7 120:21
--wait                    17th                           189:15 194:3               37:15 114:10,23       6023-26                    accordance
    165:7                     14:2,21 15:2 20:15     23                         4th                           194:7                   6:20
                              22:19 23:16,23 24:2        194:3                      169:1                 6024                       accurate
                              25:8 30:21 31:3        24                                                       197:12,20               10:22 64:4 107:24
             0                46:24 53:17 54:15          138:16 194:4                                     6025                        173:22 174:1,15
                              58:18 89:20 93:11,
                                                                                             5
00204                                                25                                                       195:6,9,12,24           175:10 176:11,17
                              20 94:6,11 96:2            9:19 10:12 27:23       50                            196:17                  178:1,14,17 198:5
    5:13
                              103:14 104:5 105:4         44:8 189:16 194:5          18:19 33:14 141:12    6027                       accurately
005827                        106:20 107:8,19
    100:15                                           25th                           147:8 161:7               195:9                   97:20
                              108:1 119:7 143:8          34:8,17,24 36:17       55                        6029                       acting
00593                         161:21,23 162:1,10,
    100:15                                               42:15,18,21 44:13          174:7                     195:9,12 196:9,14       50:14
                              12 175:5 204:4             48:10 59:10 65:15                                                           activities
                                                                                57                        61
                          18th                           73:8,13 74:4,24            171:23                    172:15                  185:20 188:3
             1                33:2,20 35:13,17,24        92:21 93:3,19                                                               actual
                                                                                5763                      64
                              36:6 40:16 54:16,17,       120:16 169:16 172:8                                                          137:8
                                                                                    9:18                      178:13
1                             18 55:2 98:14 99:3     26
    8:22 9:17 46:10                                                             5766                      6:00                       addressed
                              104:23 105:1,4,12,         189:16 194:6,13            9:19                      38:1                    80:24
1/16/77                       13,24 106:3,20         26879
    121:13                    107:8,10,11 112:19                                58                        6:30                       admit
                                                         126:11                     140:6                     15:6,17,21              88:5
10                            113:3,8 114:17
                                                     26880
    54:1 80:6 100:10,14       115:8 116:16 143:9,                               5829                                                 admitted
                                                         128:18                     119:20                                            68:1
    130:17,21 139:3,17,       10,13 146:12                                                                             7
                              162:16,18,20 163:18
                                                     26886                      5830                                                 advance
    21 164:22 188:20
                                                         126:12 134:5               125:4 139:5,18,24     77                          194:24
100                           164:21 169:15 183:3
                              185:20 188:4,13        26t                            140:5,6,7 142:22          45:17 185:16 187:9     advised
    118:11 181:17
                              197:23 198:10              121:7                  5831                          190:1                   119:22
10:00                                                26th
    28:8,18 33:20 34:18       201:17 202:22                                         140:6 152:13 155:1,   7:35                       afternoon
                              206:13 207:2               42:16 60:13,16             2                         140:15                  5:1 14:17 36:2,4,5
10:15                                                    62:18 63:3,17 65:16
                          19                                                    5832                      7th                         69:18 79:9 81:7
    60:12,16                                             71:17,21 75:2,6,9,12
                              121:14 169:8                                          140:6 157:16              197:18 202:20           84:17,19 96:1 100:6
10:23                                                    77:10 79:9,21 81:7                                                           114:23 115:7 116:9
    61:14                 1977                                                  5838
                                                         88:6 92:13 93:1            92:17                                             162:9 172:6 184:2,
10:30                         9:19 14:2 89:20
                                                         95:13 100:6,18                                                8              20
    60:12,16 106:14           91:13 100:18 153:8                                5842
                                                         167:2                                                                       afterward
    183:18 184:16             160:12 161:17                                         92:17                 8
                              163:18 169:2 182:16    27                                                                               129:4 130:7
11                                                                              5848                          34:5,21 113:8
                              189:22                     89:11,13,18 194:11,                                                         agree
    183:18                                                                          63:22                 81
                                                         14,16                                                                        41:18 42:19 90:13
11:00                     1981                                                  5850                          185:11,14 187:18
                              151:17 186:10 187:6    28                                                                               120:19 123:4,5
    31:18 106:14 111:24                                                             63:22                 87
                              194:23 197:18              194:10,12,18 195:4                                                           142:3 188:23
    184:17                                               196:13 197:8           5856                          164:20
                              202:20 204:23                                         166:24                                           agreed
12                                                   28595                                                8:00                        73:24 119:23 120:5
    159:16 160:6 191:13
                          19:75                                                 5858                          33:2 53:24 60:4
                              121:13,14                  44:6                                                                         138:8 142:3 143:17
12824                                                                               172:3                     180:2
                          19th                       28597                                                                            144:18 146:9,10
    89:18                                                44:6                   5861                      8:30
                              165:23 166:2                                                                                            149:3,7
12825                                                                               172:12,14                 34:5,21 112:19
                              167:10,19,20,24        28th                                                                            ahead
    89:18                                                160:12                 5862                          113:2,8
                              169:7,16,17,19,21                                                                                       18:23 22:3 46:9
12:00                                                                               176:6
                              170:4,10               29                                                                               66:19 68:8 70:16
    75:23 179:15                                         202:9,11,17            5863                                   9              76:1 132:18 160:3
                          1:00                                                      178:13
13:11                         128:23 162:16                                                                                           169:23
    5:9                                                                         5867                      9                          aide
                              184:20                              3                 172:3
14                                                                                                            92:10,11,17             212:2
                          1:30                                                  5884
    61:2 147:7,8 182:8        60:4 95:13             3                                                    9:00                       alcohol
141                                                                                 160:8                     54:17,20 93:3           170:18,20
                                                         43:19 44:5 46:20
    5:8                                                  182:7 195:23
                                                                                5887                          104:10,17 105:15       allegations
14:27                                  2                                            164:19                    201:13                  207:18
                                                     30
    80:8                                                 48:23 58:10 69:16,
                                                                                5888                                                 alleged
                          2                                                         160:9
14:40                         45:2,8,10,15 46:7          21                                                            A              185:11
    80:13                                            3033                       5895                                                 allegedly
                              49:10 50:12 64:17                                     49:18
15                            137:14 138:16              16:2                                             a.m.                        189:21
    48:18 130:17,22                                  31                         5932-33                       105:15                 allotted
                              191:12                                                169:1
    166:6,17,22 191:12    2/7/77                         139:24                                           abdomen                     8:17
15:47                                                3:00                       5948-5949                     150:24                 allowed
                              187:1,2,4
    138:18                                                                          45:15                 ability                     70:1 191:4
                          20                             198:1,11
15th                                                 3:30                       5:00                          144:17                 allowing
                              48:18 207:7,12                                        96:1,11 115:6
    96:15,20 103:3        2000                           14:21 172:17                                     absolutely                  61:18
    160:14 161:3,7,17,                                                          5:53                          161:6                  altercation
                              161:17
    20 162:12                                                                       213:5                 abundantly                  126:2 200:14
                          2004                                    4
16                            126:20 127:5                                                                    112:5                  ambiguous
    168:18,24
                          2023                       4                                       6            abuse                       173:10
16:08                         5:6                        49:12 172:11                                         83:15,24               analysis
    138:23                                                                      6                         abused                      188:10
                                                                                    46:7,8 63:20              81:13,19




                                           McCorkle Litigation Services, Inc.                                                                               1
                                            Chicago, Illinois· (312) 263-0052
                 1:23-cv-01184-CRL-JEH # 318-2                        Filed: 04/22/24            Page 57 of 65
                                                                                      Johnnie Lee Savory 02/17/2023

Andrews                attorneys               141:17,18,22 142:2     Brad                     202:19 208:1          Christopher
 211:5                  134:14 208:18          154:20                  5:24                   capacity                134:21
angry                  authored               beginning               braid                    73:11                 chuga
 210:3                  169:2                  5:15                    161:22 162:9           car                     176:10,21
Ann                    Avenue                 behalf                  braided                  152:23                chuks
 163:7,10,17 164:7,     62:2 164:1             5:21,23,24 6:2,4        162:15                 card                    176:21
 11,17 211:9 212:8     avoid                  being's                 braids                   108:7,12              circuit
answering               133:4                  146:22                  162:11                 care                    152:4
 105:21                aware                  believed                break                    183:17                claim
answers                 6:9 54:7 56:2 211:1    167:4                   7:24 8:2 50:5 69:16,   Carl                    65:22 151:21
 8:3 141:16 148:3      awhile                 bent                     20 80:5 138:13          211:9 212:9           claimed
 194:9                  8:9 18:21 100:21       145:14                  189:14                 carried                 68:1
anymore                 106:13 109:15         bet                     breakfast                109:23 180:15         claiming
 124:10                 126:24 127:3           108:7,12                60:19 62:5,6,8,9       carry                   39:12
apartment                                     big                     breath                   24:2,5                claims
 25:20 37:19 164:2,8                           171:2,20                132:5                  carrying                145:12 187:7
                                  B
apologize                                     bigger                  briefed                  180:13                clarification
 99:16                 babies                  45:5                    93:8                   cars                    18:9 44:20 69:23
appeared                119:12                bit                     Briefly                  39:3 55:7 115:13      class
 127:5                 baby                    44:20 50:4 171:14       73:23                  case                    36:9,22
applicable              201:18 202:2           179:23 182:15          bring                    5:13 68:24 91:13      clear
 6:20                  baby's                 black                    23:8 86:16 128:15       93:9 101:2,17          14:4 16:20 36:11
apply                   119:12                 21:21 109:23 160:7,    broad                    102:16 121:17 122:5    61:17 68:10 73:3
 206:24                babysit                 11,13 177:4             189:18                  123:6 148:14 149:19    112:5 113:14 149:5
approach                106:12                Blagojevich             broke                    156:13,19 188:3       cleared
 189:3                 back                    134:11 135:7            81:5 123:18             192:8,13,14,16,18      196:13
approximately           28:7,17 29:1,5,8      blank                   broken                   207:13 208:4          Clemency
 75:23 93:2 113:2       30:7 31:11 58:9,17     146:15                  19:20                   209:10,12,16 212:1     135:6
 114:10,22 128:23       59:4,5,9 66:8 70:7    Block                   brought                 catch                  close
April                   76:21 80:12 81:4       134:14 135:1            9:8 10:2 74:24 86:19    58:8                   24:8 137:24 212:4
 202:20                 86:16,19 100:17       blue                     209:21                 caught                 closer
area                    110:19,22 138:22       157:19,21 158:7,18     brown                    37:15                  184:19
 80:17 82:14 106:10     139:17 152:10,24      boarded                  47:10 75:17 76:9,19    caused                 clothes
 185:10 186:17          153:1 154:6 158:3      15:8,18,19              77:5,14,20 78:20        209:9                  82:6 84:4,7,10,11,19
 191:21                 164:2,5 176:6,8,12    body                     79:9 81:24 82:1        Center                  85:6,7,8,11 86:11,12
argue                   182:16 189:9 195:16    82:11 83:20 210:15,     83:14 100:16,23         62:3                  co-authors
 173:9                  196:24 197:13,14,23    17                      101:10,16 102:9        Chad's                  127:15,16
arm                     198:6,10 202:23       book                     103:6 104:4 110:12      52:7                  coerced
 175:8                  209:21                 114:9,22                111:22 112:3,18        chain                   185:13
arrangements           backs                  bottom                   113:1,10 115:1,22       21:23                 coffee
 52:10                  45:1                   33:18 47:8,18 95:8,     121:19,21 131:9        chair                   17:18 18:6,17 19:4,
arrested               backtrack               23 98:12,19 104:16      132:11 133:8 136:6      17:19 50:3 123:19      11 89:9 90:4,8,18
 114:6 119:22 120:1     156:10                 111:21 140:5 164:22     137:14 154:10           175:9                  91:1
                       backtracking                                    157:19 169:2,3         chance
 121:16                                        171:11 175:2 178:8,                                                   coffin
                        154:21 155:6 156:20                            186:4
arrived                                        13 179:4 181:7                                  62:10 87:23            118:12
 14:20 16:6 182:18      158:5                 bought                  Buck                    change                 color
                       bad                                             187:17 208:2,13
arriving                                       164:1                                           154:24                 47:10
 16:12                  74:15 167:5 168:1     Boulevard               bump                    changed                combed
                       Baker                                           19:14 21:17
article                                        5:8                                             11:9 119:9 136:16      24:23
 126:12,21 127:8        71:15,21 74:3,6       Bower                   bunch                   changing               combing
 133:19 134:1,2         77:3,12 92:21 93:4,    155:19                  78:23 91:15 141:14      119:12                 25:7
 135:9,21 137:2,9       5,8,13,19 94:16       Bowers                  Burchett                chaotic                comment
 139:9,11               100:24 101:9,22        42:16 121:7,15,20       211:18,19               40:12 70:5 78:24       19:3
arts                    107:5 119:22 120:4,                           Bureau
                                               131:7 155:14                                   Charles                commit
 50:14                  10 152:16,17 153:3,                            152:16,24
                                              Bowman                                           92:13                  149:20
                        20                                            bus
artwork                                        5:20 9:9 10:6 11:24                            chased                 committed
 29:17                 Barbara                 12:12,15 25:14 27:8,    15:8,18,19 16:2         26:12 177:24           146:12 208:4 209:9
                        161:21 162:8                                   37:16 58:9,12,14
asks                                           12,14,18 28:9,14                               chasing                communicate
 131:16                barrage                 30:2 34:11 40:5 41:2    116:1 184:6,8
                                                                                               52:6 110:7
                        143:20                                                                                        8:5 71:11
                                               44:10 45:16,21,24       198:12
aspect                                                                                        checked                community
 71:1                  based                   46:5,8,12 48:20        buying                   39:18 40:4,20
                        194:8 209:21                                                                                  212:2
                                               58:19,22 66:7,11,20     24:18
assaulted                                                                                     chest                  Complaint
 209:20,23 210:7       Bates                   67:15 76:21,24                                  150:21
                        9:18 49:13 92:17                                                                              207:8,9,13
assist                                         79:10 80:4 91:10                 C
                        166:17                                                                Chicago                completed
 149:18                                        93:22 100:11 107:21
                                                                                               5:4,8 182:19           122:7
assume                 bathroom                111:8,14 124:7         call
                        24:22 83:19            134:17 135:13 138:5
                                                                                              chicken                comply
 7:23 28:19 97:19                                                      32:5,10 39:19 41:1      26:7,11 52:7 109:22    171:16
 98:2,9 187:8 193:14   beat                    148:16 160:18,24        72:9 98:22 99:7         118:2
                        210:8,9                165:7 166:22 168:2      117:2,5 176:20                                compound
 201:1 208:17                                                                                 Chief                   67:15
                       beaten                  171:5 172:23 173:2,    called
assuming                                       8,17,21 174:1,4                                 211:5                 comprehend
 86:7                   210:11                                         32:20 40:20 93:5
                                               182:12 185:7,17                                child                   87:18
ate                    bed                                             98:15 120:20 122:2
                                                                                               29:15
                        94:12                  186:2,15 187:3,14,      177:23 179:6                                  concern
 60:19                                         19,22 188:21 189:2                             children                189:20
attached               bedroom                                        calling
                                               193:11 194:11,13                                103:24 106:11         concerned
 21:22                  21:21 176:9 202:3                              41:10 122:15 131:7
                                               195:7,13 196:1,6                                113:16                 133:5
attended               beer                                           Cannon                  Chris
                        47:18                  202:13 203:17 213:3     5:10 9:20 10:4 22:21                          concluded
 14:13 15:6,16                                boy                                              134:14                 213:5
                       began                                           36:13 44:16 91:14
attending                                      52:7 110:7                                     Christie               concrete
                        29:16 61:22 125:16,                            92:13 93:4 95:12
 14:17                                        boys                                             6:4 49:15,18 194:12    191:13
                        18,19 126:1 131:7                              98:13,14 187:18
                                               21:13 106:11                                    196:23 197:6
                        132:21 137:16                                  195:20 197:17




                                      McCorkle Litigation Services, Inc.                                                                    2
                                       Chicago, Illinois· (312) 263-0052
                 1:23-cv-01184-CRL-JEH # 318-2                        Filed: 04/22/24           Page 58 of 65
                                                                                      Johnnie Lee Savory 02/17/2023

confessed               183:17 184:8           161:21                 directed               Ella                    exhibits
 143:12                correct                day                      172:18                 113:24 116:22           8:14 193:24 196:7
confinement             7:8 25:16,22 28:8      13:16 14:24 15:2       dirty                   195:20 196:7           expecting
 191:3,8,11             31:12,20 32:2 41:14    30:19 31:3 36:6         177:24                 197:17,22 198:20        78:12,15
confines                43:13,16 45:18         65:14 74:24 99:4,5     disconnected            200:5,13,17,19         explain
 111:17                 48:12 56:4 59:21       103:15 104:6 106:24     123:12                 201:16 202:7            55:14 61:11 125:17
confirm                 71:13 78:21 86:7       137:5 143:8 146:21     discuss                end                      157:14
 47:24                  87:14 91:9 92:6,22     165:23,24 167:3,4       203:13                 85:16 122:1 144:8      explained
confirmatory            100:2 101:11,17,20     170:12,17 183:2,7,     discussed              ended                    70:1,4 79:15
 66:24                  102:1,19 104:19        13 187:12 191:7,17      139:15                 53:24 59:19 123:16     explaining
confirmed               105:8 106:5 112:20     198:13 204:3 205:13    discussing              125:20 183:22           103:14
 46:21 47:10 67:19      124:15 135:3 138:9    days                     36:5                  ends                    express
                        154:7 155:7 169:13     111:10,11 150:6                                132:4
conflict                                                              discussion                                      144:22
                        174:19 183:4 190:1     161:11,12 170:5                               enforcement
 193:13                                                                65:5 140:13 142:22                            extent
                        201:10                dead                                            201:3
confront                                                               162:24 176:2 178:2                             83:24 135:15
 39:11
                       corrected               206:15                  180:5                 engaging
                        80:15                 deal                                            72:10
confuse                                                               discussions                                               F
 42:3,12
                       correctly               17:14 180:3 193:18      193:3 208:24          entered
                        184:4                 decided                                         18:7 20:9 78:1 136:7
confusing                                                             distinct                                       F-I-E-R-S
 34:11 40:1,12 79:3
                       counsel                 70:8                    173:2                  140:15 203:3            63:22
                        5:14,16 8:14 9:15     declined                                       entering
 87:3 133:5                                                           distinction                                    F-L-I-N-T
                        45:14 49:11 63:20      164:24                                         17:16
conjunction             92:15 100:10,14
                                                                       32:15 58:23 205:8                              5:19
 45:13                                        Defendant               District               entire                  fabricated
                        126:10 128:1 160:5     6:3 9:20 63:21                                 17:14 30:11,17
Connie                                                                 5:11,12                                        185:13
                        166:16 168:23 172:2    195:20 197:17                                  149:16
 11:8,19 68:18 69:2     189:15 212:21,24                              division                                       face
 96:23 102:24 117:22                          Defendant's              5:12 93:5             entitled                 131:9
                       County                  92:16                                          126:12
 118:18 143:12
                        209:14,20                                     document                                       faced
 148:20 149:1 150:20                          Defendants               9:16 89:17 126:14     essentially              21:2
 157:18,20 158:6
                       couple                  6:5 10:3,4 81:1                                95:9
                                                                       166:12 172:12 195:3                           facilitates
                        21:8 81:23 106:11      95:11 207:15
 163:2 190:23 201:8                                                   documents              estimate                 111:18
                        142:14 144:12         delineated
 204:12 206:17                                                         58:19 96:20 111:10     84:14                  fact
Connie's               court                   6:11                                          et al
                                                                       128:7 133:21 193:24                            66:16 95:17 161:2
                        5:11,16 6:10 8:6      demeanor
 118:24                                                               dog                     5:10                    198:19
                        43:23 44:3 64:21       154:24
considered              80:24 93:7 111:15                              202:3                 evening                 fair
 24:10                                        demonstrate             dollar                  23:8 44:8,13 121:15     28:4 34:13 47:23
                        153:19,20 196:20
construe                                       145:15                  24:15                 event                    56:19 112:7 187:16
                        202:16 212:21,24
 87:10                                        demonstrating           doormat                 33:17                  fairly
                       cover                   145:23
contact                 17:14 71:9                                     17:2,3                events                   182:15
 52:12,22 208:17                              denied                  downstairs              78:21 111:11           fall
                       covered                 65:3
 209:11
                        55:19 70:20 78:7                               179:16                eventually               126:20 127:5
contacts                111:12 173:4 185:21
                                              dep                     downtown                146:17 191:17          false
 78:4                                          80:2 173:16 188:22      107:4                 evidently                173:5,11,12,20
                        188:5,24 189:1
contends               crime                  Department              draw                    125:24                 familiar
 202:20                                        10:1,2,11 34:16 35:1    32:14                 ex-wife                  6:12 190:16
                        22:22 120:10,14
context                                        36:19 154:6            drawing                 199:11
                        141:20 146:12,13                                                                             family
 161:10 175:4           149:20 182:4          depicted                 31:11 108:7,12        exact                    28:24 29:4 30:11,17
continue                                       48:1                    179:3                  58:13
                       crowd                                                                                          31:12 149:16
 50:7 61:17             57:12,13              deposition              drunk                  exam                     182:15,21 203:2
continued                                      5:7 6:10,18 7:8 8:22    150:2,5 169:10         73:17                   204:18 206:18 207:1
                       crying
 6:9,18 144:19                                 9:18 11:3 19:16 34:4    170:5,11              examination             fashion
                        122:9 124:23 132:20
 156:12                                        44:5 48:11 55:20       duly                    7:4 41:19 120:22        91:8
                       cut                     60:3 70:2 71:9 79:16
control                 18:23 148:20,24                                6:6 7:2                130:17 132:5 142:23    father
 147:10                                        89:12 106:1 120:24                            examined
                        150:20 167:6,24                               Dunlavey                                        113:22 164:24
conversation                                   121:6 122:23 125:15                            7:2
                        168:1 169:19 201:17                            211:9 212:8                                    203:3,7 209:4,15
 12:10 25:6 34:15                              188:2,5 194:17
                        204:23 206:7                                                         examiner                February
 36:12 39:9 41:14                              199:11 202:10
                       cutting                                                                130:16                  5:6 45:17 169:1
 57:19 68:20,21                                204:20 209:4 213:5                E
                        144:12 150:24                                                        examiner's               197:18
 72:11 73:21 74:21                            depression                                      130:15
                       CV                      78:7                   earlier                                        feel
 100:5 118:15 125:1,    5:13                                           34:19 55:16 65:14     exchange                 59:1 74:13 136:10,
 19 137:2 141:6,9                             describe                                        92:21                   13 187:16
                                               46:19 73:12 74:18       201:7
 142:5 147:17 167:9                                                                          excuse                  feet
                                 D             83:14 102:22 103:13    early
 168:5 169:3 170:2,9                                                                          13:19 30:6 50:1 57:2    191:12
                                               177:3                   60:18
 184:13,21 200:17                                                                             104:4 138:12
                       D'ANDREA               describes               easier                                         Feinerman
 203:6 206:16,20,22
                        5:2,16                 103:13 140:13           111:18                exercising               185:20 188:6
conversations                                                                                 191:20
                       dad                     169:20                 Eastern                                        Feinerman's
 67:24 78:24 176:16
                        70:1,6,18 71:10       describing               5:12                  exhibit                  187:23 188:10
 187:7 208:12
                        209:21,23 210:4                               eat                     8:22 9:17 43:19        felt
convince                                       83:18
                       Darlene                                         62:11 69:6 70:4        44:5,20 45:8,15         83:22,23
 181:22 182:1                                 detained                                        46:20 49:12 63:20
                        106:18 113:11,18       189:22 190:1 193:8     Ed                                             female
convinced                                                                                     89:11,13,17 92:10,      27:23
 181:24                 114:7                 detective                121:7
                       date                                           edited                  16 100:10,14 126:7,    fence
Cooper                                         44:16 93:5 202:19                              11 139:3,10,17,19
                        97:9 100:17 104:19,   detectives               127:19 128:2 129:7                             38:2
 163:8,10,18 164:7,                                                                           159:14,16 160:6
 12,17 165:3            20,22 112:5 114:16     181:5                   133:17 134:1                                  Fiers
                                                                                              166:6,17,22 168:18,
copies                 dated                  detention               editor                                          10:4 60:11 63:21
                                                                                              24 171:19 172:3         152:16
 128:5                  45:16 92:12 93:1       59:20 62:2              133:24
                                                                                              189:15 194:3,4,5,6,
                        169:1                 determined              effect                                         fighting
copy                                                                                          18 195:4,8 196:13
                       dates                   39:19 208:18            162:21                                         50:15
 49:14 196:20 213:1,                                                                          202:11,17 207:6,12
 3                      169:15                diapers                 elbows                                         figure
                                                                                             exhibited
                       daughter                                        145:14                                         72:22 188:16
corner                                         11:9 119:9,12                                  121:15
 46:22 47:19 140:5      106:18 113:18,19




                                     McCorkle Litigation Services, Inc.                                                                    3
                                      Chicago, Illinois· (312) 263-0052
                 1:23-cv-01184-CRL-JEH # 318-2                          Filed: 04/22/24                Page 59 of 65
                                                                                        Johnnie Lee Savory 02/17/2023

filed                    157:4 158:9 159:3       175:7 184:6,7          grounds                 hat                          37:24 38:3,14,17
 5:10 207:13             160:18 161:4 162:3      189:15 193:24 194:2     12:5                    82:2,3 83:14                39:2 53:17,18,23
finally                  163:3,19 164:9          195:3 202:16 207:7,    guess                   Haynes                       54:21,23 55:1 58:5
 69:5                    165:12 167:12 168:2     12                      29:15 85:13 154:19      10:3 45:17,18 60:11         89:24 90:9 93:20
find                     170:6,21 171:5         Fu                       182:19 193:14 194:1     95:12 169:4 172:5,          94:6,10 103:16
 61:12 145:10            174:20 175:12           178:11,20               209:1 211:12            19 174:11                   104:5,10,17,21
 166:12,20               176:13 177:6 178:3,    full                    guide                   head                         105:11,15,20 106:3
finding                  15 179:8,17 180:10,     17:15,23 64:18          137:16                  82:14,17,18 83:8            108:2 110:10,20,22
 45:19                   17 182:17 184:22        96:14 121:12 128:19    guy                      187:24                      111:23 112:11
fine                     190:24 192:9 198:7,    funeral                  210:16                 hear                         113:11,24 114:7
 32:13,14 49:2 80:7      22 199:7,21 200:8,      118:10,15,18           guys                     17:12 54:14 76:21           115:6,13 116:1,15,
 148:10 159:24 160:3     21 201:19 202:4                                 40:7 52:22 66:21        88:1 116:2 133:14           16,19 117:5,12,15,
                         203:8,23 205:16,23                              70:19 88:20 179:1       144:7                       24 120:5 150:3
finger                                                    G
                         206:9 208:6                                                            heard                        160:14 161:3,12,21,
 144:1
finish                  formulated                                                               28:6 37:5 54:8 56:3,        24 162:17 165:20,24
                                                game                               H                                         167:3,10 169:6
                         127:24                                                                  14,15 116:8 117:9
 7:18,19 61:18                                   182:12
                        forward                                                                  174:23 182:2                170:4,17 175:5
finished                                        Garden                  H-A-G-Y                                              179:6 183:3,13,16
                         151:17                                                                 hearing
 42:5,6 90:22 142:4                              12:23 13:13 14:2        5:23                                                184:7,15 198:3,6,11,
 144:14,15              foster                                                                   67:23
                                                 16:2 37:6 93:15        Hagy                                                 14,20 201:9 203:3
                         106:10                                                                 held
finishes                                         94:18 95:2              5:22,23                                             205:12,21,22 206:13
 144:13                 found                   gave                                             191:14
                                                                        hair                                            human
                         201:18 202:3                                                           hell
firsthand                                        62:9,14 70:3 83:3       24:23 25:7 161:22                                   146:22
 207:23 208:3           foundation               84:7 85:7 96:24         162:9,12,15 210:15      79:19
                         12:12 27:8,12 30:23                                                                            hundreds
Fixing                                           97:12 103:1 126:5      hairs                   helping                      92:2
                         31:7 35:7 37:8 41:2     129:21 141:15                                   200:1
 50:3                                                                    82:10,12,13 83:20                              hungry
                         44:10 47:3,13 48:4      199:11                                         high
Flint                    50:17 51:21 52:15
                                                                         85:7,21 86:6,10                                     43:7
 5:18                                           general                  210:16                  14:17 191:12
                         53:3 66:4 68:4 75:19                                                                           hurt
floor                                            63:13                  hamburger               hill                         55:10
                         77:7 88:9 89:22
 19:20 46:24 51:19                              generally                69:12                   177:24
                         90:23 91:11,20
 52:1 175:8,17           93:22 94:7 95:4 96:8
                                                 10:22 145:9            Hamilton                hold
focusing                                        Georgia                  96:23 97:11             107:17 144:10 165:6                    I
                         97:5,14,24 98:24
 36:12                   99:12,22 101:6,19       104:1                  Hammer                  holding
                                                Georgia's                                        26:1                   idea
folks                    102:13 103:9,19                                 167:1
                                                                                                                             11:20 27:6,10 63:13
 9:10,11                 104:12 105:6 106:22     104:20                 hand                    home
                                                                                                                             82:15 119:15 200:24
follow                   108:16 109:18          Georgie                  45:14 46:13 154:18      22:22 26:12 31:23
                                                 103:22                                          32:5,20 39:20 40:21    identical
 9:11                    110:3,15 111:3                                 hands                                                24:14
food                     112:4,13 113:13        Georgie's                144:1,10 145:14,18,     41:1,22 42:20,23,24
                                                 103:16 104:5 105:11                             43:6,10 52:7 58:16,    identification
 31:3                    114:13 115:18                                   23
                                                                                                 17 59:20 64:8,10            89:14 194:19 202:12
forget                   116:4,11 117:17         106:17 116:1,15        happen
                                                Gerontes                                         74:1 93:11 96:1,24     identify
 171:12 192:8            118:4 119:2 120:8                               8:8 16:21 25:11,22
                                                                                                 97:12 103:1 106:9           5:14 9:10
form                     121:23 125:8 127:19     211:9 212:9             26:15,17,18 32:16
                         131:20 133:12          Gift                     33:9 82:19 97:3 98:2    112:10,11 113:15,21    II
 10:6,23 11:24 13:3                                                                                                          127:15
                         135:14 140:19           62:2,5 151:21           99:10 108:15 141:19     116:5 117:12,24
 14:23 15:10 17:20
 19:21 20:4 21:24        143:1,15 144:4          189:21 190:1,22         150:10 151:1,10         118:18 120:18          Illinois
                         145:21 146:6 147:12     191:10,22 192:14        155:9 167:16 169:12     125:21 126:6 129:4,         5:4,8,12
 22:11 23:17 24:3,9
 25:2,14 26:3 27:1       150:16 151:3,12        girl                     180:16 199:13,17        16 130:6 132:6         imagine
                         152:20 153:24           52:12,18                205:7                   133:3 142:5,6               21:9
 28:15 29:2,22 30:2,
                         155:17 157:5 158:10                            happened                 143:10 146:18,19       immediately
 23 31:7 33:3 34:10                             give
                         161:5 162:2 163:4,                              55:13,15 70:11,18       147:2,4,5,20 150:2,6        85:23 152:15 162:15
 35:6,18 37:7 38:4,10                            7:18 8:21,24 18:18
                         19 164:10 165:13                                85:15,21 93:15          151:21 161:16 178:1         172:21
 39:5,14 41:3,15,20                              45:24 46:5 69:23
                         167:13 170:7,22                                 94:18 95:1 98:16        179:5,15 184:18        inaccurate
 44:9,10 47:2,12                                 81:9 82:6,15 105:23
                         175:13 176:14 177:7                             103:2 105:4 107:22      185:6 189:21 190:1,         175:16 176:19
 48:3,20 49:7 50:16                              184:8 189:18 196:20
                         178:4,16 179:9,18                               111:6 115:15 120:24     22 191:10,22 192:14    inch
 51:20 52:14 53:2                                197:4
                         180:10,18 191:1                                 125:16,17,18 130:4      193:15                      191:12
 54:3,11 56:5,16                                giving
 57:5,16 62:13 63:8      193:11 198:8,23                                 132:23,24 133:6        Homes                   inches
                                                 79:1,8
 65:8 66:3,20 68:4       199:8,22 200:9,22                               148:7 149:6 150:2,      52:13,19                    21:5,8 191:13
                                                glad
 69:8 71:18 73:14        201:20 202:5 203:9,                             14 152:9 158:1,20      honest                  include
                                                 188:15
 74:16 75:18 77:6        24 205:17 208:7                                 165:11 167:6 168:9      171:8                       11:22
                                                glasses
 78:6,22 79:11 81:15    fourth                                           185:16 201:8 205:6     honestly                including
                                                 9:6,14
 83:16 85:9 87:12        75:24 76:6 108:11                               212:1                   187:22                      12:23 13:13 188:3
                                                Glen
 88:8,21 89:21 90:23     139:19 140:4 157:17                            happening               horribly                inconsistent
                                                 211:2
 91:10,21 95:3 96:8     Frankie                                          16:16 59:12 79:14       209:18                      39:10,13 40:13 41:9
                                                God
 97:4,13,23 98:23        116:22 182:20,21                                82:20 129:13 208:8     Hoskins                      87:15
                                                 43:7 60:8
 99:11,21 101:5,18       183:19,20                                      happy                    26:12,19               incorrect
                                                Godmother
 102:12 103:8,18        Freddie                                          154:23 157:1,7         hospital                     192:24
 104:11 105:5 106:21                             211:11,16,21,24
                         151:22 190:15                                  hard                     35:4,13,16 54:2        independently
 108:16 109:4,17                                good
                        Friday                                           58:24 87:17 186:13     hour                         190:19
 110:2,14 111:3                                  5:1 6:16 17:14 46:14
                         5:5 169:7                                      harder                   8:17 80:5 174:5        indicating
 112:4,12 113:12                                 74:13 83:22 121:4
                        friend                                           166:12                  191:6,17                    176:10 179:24
 114:2,12 115:17                                 170:24 171:2
                         14:9 162:22 182:24                             harm                    hours                   individuals
 116:3,10 117:16                                gotcha
                         198:3                                           146:21 157:8            70:15 79:20,21 93:3         189:20
 118:3 119:1 120:7                               113:23 189:4
                        friends                                         harmed                   128:14 138:16          information
 121:22 125:7 126:17                            Governor                                         148:1,3 182:7
                         24:8 98:18 116:23                               156:16                                              11:21 12:9 27:7
 127:18 130:23                                   134:11 135:6                                    212:16
                         167:6,24                                       Harold                                               187:8 207:23
 131:19 134:17                                  grade                                           house
                        front                    11:4,5                  211:8 212:8                                    informed
 136:12,24 137:19                                                                                12:22,23 13:12,13,
                         8:15,23 9:16 43:22                             Harris                                               121:16 203:3
 138:5 140:18 142:24
                         45:9 49:11 63:20
                                                grandmother                                      22 14:1 16:6,12,24
 143:14 144:3 145:20                             35:5,12 54:1 103:24     106:18 113:18                                  initially
                         89:16 92:9,16                                  Harris'                  17:17 18:7 20:9,14
 146:5 147:11                                   ground                                                                       65:3
                         100:10,14 126:8,11                              113:11 114:7            21:16 22:15 23:8,16
 148:16,21 150:15                                7:11                                            25:20,24 28:7 29:1,    injury
                         159:23 160:6 166:7,                            Harrison
 151:2,11 152:19                                                                                 5,9 30:7 31:11 33:1         9:4
                         17 168:19,24 172:2                              37:16 52:13,19
 153:9,23 155:16




                                     McCorkle Litigation Services, Inc.                                                                            4
                                      Chicago, Illinois· (312) 263-0052
                  1:23-cv-01184-CRL-JEH # 318-2                       Filed: 04/22/24              Page 60 of 65
                                                                                      Johnnie Lee Savory 02/17/2023

innocence                46:24 89:20 92:13      50:14 109:15 125:4    lawyer                 LL005893                man
 127:11 149:17           93:11 94:6,11 96:15    142:17 143:4,7         9:15 153:18,19         49:18                   144:21
innocent                 100:18 103:3,14        176:11 198:4,15,21     190:8,10 207:11       located                 manipulated
 211:14 212:4            113:3 160:12,14        206:6                 lawyers                 5:3 17:19               185:13
instance                 161:8,17 163:18       Kettle                  67:24 127:9 134:21,   location                manner
 145:13                  165:23 166:2 167:2,    93:12                  24 135:10 139:13       85:12 172:18            6:14 129:7
interact                 21 169:8 170:4        key                     193:4,6 207:21        Locke                   Marcella
 193:21                  175:4 197:23 202:22    16:7,14 17:3,4,9       208:12                 5:20 36:11 80:3,15      75:17 76:9,19 77:5,
interacting             Jatkowski               108:24 109:6          leading                 213:2                   14,20 78:20 79:9
 49:5 75:5,12            210:13                kicked                  195:1                 long                     85:16 100:7,16
interaction             Jefferson               36:8,21 114:9,21      learned                 48:14,16 58:7,8,11,     101:10,16 103:6
 74:3,23                 15:7,17 37:16         kids                    93:10                  13 69:19,22 84:10       104:3 105:3 106:19
interactions            Jenkins                 203:4                 leave                   127:1 130:18,20         107:6 112:1,3,9
 187:11 188:4 202:21     42:15 48:10 49:4,21   kill                    139:9 181:22           138:15 147:16 152:5     115:1 116:14 117:22
 207:17 208:14           50:13 51:16 52:3,6,    155:4                 leaving                 163:12 175:8 176:3      121:19,21 123:5,24
 209:5,8                 21 53:16,22 54:7      killed                  53:18 111:23 116:16    184:15,17 191:14        124:15 140:12
intercourse              56:7                   15:3 55:2,5 68:18      117:12                longer                   142:22 148:24 152:6
 164:24                 Jenner                  69:3 98:18 162:21,    Lee                     126:18                  154:10 157:19 158:8
                         134:14 135:1           22 167:7 168:1         5:7,10 7:1 13:18      looked                   186:4,23
interpretation
 188:9                  Jessie                  203:4 204:18           126:13 127:14          118:11                 mark
                         99:8 159:5 160:8,11   killing                left                   lost                     43:24 89:10,11
interrogated
                         161:19 163:1 167:2,    54:8,14 56:2 99:9      25:19 31:18 36:17      147:10 149:16           197:3 202:8
 85:21 86:20 149:14
interrogation            10,20 168:5            143:12                 37:14 55:4 59:11,13   lot                     marked
                        Jim                    kind                    62:2 106:8,17          55:7 70:11 92:1         9:17 44:1 89:13,17
 72:8,16 73:7,16 75:4
                         6:2,8 18:9 36:10       7:10 26:1 53:8 72:9    107:14 108:1 112:10    103:24 113:6 142:13     166:14 194:18
 77:12 84:22 85:3,16
                         44:19 46:14 61:17      78:15 171:13 173:10    115:5,12 154:5         187:11 199:24           196:21 202:11,17
 86:20 87:1 100:6
 128:22                  78:7 80:14 139:6       176:24 180:13          161:20 162:14          204:24                 marking
                         142:20 144:11          187:24                 171:22 183:15         lots                     166:21 197:4
interrupt
 30:22
                         166:20 169:13         kitchen                 184:17 200:7 206:8     144:5                  marshall
                         172:23 185:7           29:16 179:2           left-hand              Loucks                   127:12 168:15 169:4
interview
 10:1,11,15 13:2 35:1
                        jog                    knew                    46:22 47:19 140:5      14:13                   170:3
                         167:8                  24:6 39:13 63:10      Legal                  lounge                  martial
 36:16 60:10,14 61:9,
 10 63:7 75:3 152:8     John                    74:6 78:10,11,16       5:2                    191:21 192:7            50:13
 160:7,11 172:6          5:2 209:4,8 211:10,    93:14 94:17 95:17     legs                   lunch                   Martinez
 173:18 195:20           12,17 212:3            146:11 182:15          150:22                 69:19,20 70:12          211:8 212:8
 197:16 202:19          Johnnie                 204:12 211:14 212:4   length                  71:13 75:15 77:9       Marva
interviewed              5:7,9 6:10,19 7:1     knife                   133:1                 lying                    23:7 25:20 37:18
 10:4 34:8 59:10 63:3    12:15,21 13:8,11,18    23:16,23 24:2,5,18,   liar                    52:3 87:16 170:19       65:3,7,14,21,23
 65:14 95:12 151:20      15:16 23:22 24:22      19 146:3 150:9,13      122:16 131:7           193:1                   66:1,16,17 67:5,6,20
 208:1                   26:8 27:14 29:21       151:9 180:14,15       liars                                           68:2,15,17 99:19
                         30:6 46:1,8 76:7       199:6 206:7                                                           109:22 115:6 170:16
interviewing                                                           41:10 122:2
                                                                                                        M
                         93:6,10,13 126:13     knives                                                                 171:1
 10:18                                                                lie
                         127:14 165:4           24:14 177:1                                                          Marva's
interviews                                                             95:20 171:4           mad
                         188:11,13 197:23      knowing                                                                37:24 38:14
 186:11 194:24
                         198:2
                                                                      lied                    209:19
introduced                                      27:3 83:20 95:20       51:17 81:1 88:6,13                            Mary
                        Johnnie's                                                            made
 29:13,21 30:6,11                              knowledge              lieutenant                                      211:9 212:8
                         93:8 173:11                                                          19:3 33:1 39:12
 130:16 182:20                                  22:20 23:2 33:10       209:17                 58:23 65:2,7 67:9      Mason
                        Jones                   34:21 51:2 72:18,19                                                   31:5 53:11 69:1,2
investigation            65:3,7,14,21 66:1
                                                                      life                    68:11 76:7,10 98:9
 185:11                                         204:13 208:3           10:20 13:20 146:22     149:4 150:23 173:5      93:11,14 94:17,24
                         67:20 68:2,15,17      kosher                                                                 95:12,17,19,23
involvement              99:19 170:16 171:1
                                                                       149:16,17 161:16       188:9 189:21 193:17
                                                80:18                  170:14                 206:14,20 207:1         96:15,19,22 97:10,
 93:9 208:19
                        Jones'                 Kroger                                                                 21,22 98:13 102:23
issues                   23:7 25:20 37:18
                                                                      limits                 Mae
                                                30:19 31:3 96:20,22                                                   159:5,10,11 160:8,
 59:7 67:1                                                             188:14                 113:24 159:5 160:8,
                         115:6                  97:10 103:1                                                           12 161:19 163:1
Ivy                     journalist                                    Lindsay                 11 161:19 163:1
                                                                                                                      165:20 167:2,20
 106:5 117:5 182:15                            Kung                    5:22                   167:2,10 198:20
                         57:18,19,20            178:11,20                                                            Mason's
 185:13 195:21 196:7                                                  lines                   200:13 201:16
                        journalists            Kyle                                                                   53:17 93:20 94:6,10
 197:17 202:20 203:7                                                   13:2 77:5 95:22       magazine
                         57:3                   6:4                                                                   99:7 111:23 112:11
 204:17 206:18 207:1                                                   109:21 110:11          36:9,22 126:18,22
                        Journey                                                               127:5
                                                                                                                      161:3,24 162:17
Ivy's                    126:13
                                                                       160:15 164:22
                                                                                                                      165:24 167:10 169:6
 54:22,23 113:24                                         L            list                   mail                     170:4
 117:2,12,15 182:14
                        Judge                                          127:15 134:5,13        16:13
                         6:11 58:23 166:3                                                                            mat
 186:5,12 187:18                               L-I-N-D-S-A-Y          listen                 mailbox                  109:3,7
                         185:20 186:9,20
 188:4 194:24 201:2,                            5:22                   148:5 178:22 179:1     16:7,14,22 109:1,7
 9 203:14 204:7,12
                         188:5 191:16                                                                                matter
                                               L-O-C-K-E              listened               majority
 205:22 206:17          Judge's                                                                                       5:9 91:8
                                                5:20                   178:11                 191:7
                         171:15                                                                                      Matthew
                                               L-o-u-c-k's            lists                  make
                        Judges                                                                                        134:15,22
           J                                    14:14                  134:21 196:6           8:3 16:19 18:16 20:7
                         127:9                                                                                       mattress
                                               lady                   Litigation              39:19 41:7 42:12
                                                                                                                      191:13
                        jump                                                                  52:10 61:16 66:23
Jackson                                         163:7                  5:3
                         59:6 171:14                                                          67:19 68:10 76:15      Mccorkle
 5:8                                           laid                   live
                        jumpsuit                                                              79:13 97:22 98:22       5:3
jail                                            136:15                 106:10
                         83:3,4 85:20                                                         99:16 117:21 123:9     Mea
 83:3 209:14,20                                large                  lived
                        Justice                                                               128:5 133:21 144:13     5:16
James                                           191:2                  13:19 16:3 52:12,19
 108:13 109:23 118:2
                         126:13,21                                                            158:14 172:22          meant
                                               lasted                  164:15
 119:24                 Juvenile                                                              174:14 193:9            52:24 54:18 154:20
                         152:15,24
                                                48:15 130:17          lives                                           186:9
January                                        late                    93:11 183:16          makes
                                                                                              63:1 79:20             meet
 9:19 10:12 14:2,21                             14:17 116:9 172:6     living
                                                                                             making                   30:18 31:2 184:6
 15:2 20:15 22:18                 K             174:5 184:2            17:17 21:5,7 30:12
 23:16,23 24:2 25:8                                                                           39:10 65:4 87:14       Melvin
                                               law                     89:19 141:20
                                                                                                                      26:12,18,23 27:4
 34:8,17,24 35:13,16,   karate                  201:3                 LL                      158:15 205:8
 24 36:17 44:8,13        21:22 22:15,18                                                                               52:7 110:8 177:23
                                                                       100:15




                                       McCorkle Litigation Services, Inc.                                                                  5
                                        Chicago, Illinois· (312) 263-0052
                  1:23-cv-01184-CRL-JEH # 318-2                         Filed: 04/22/24            Page 61 of 65
                                                                                       Johnnie Lee Savory 02/17/2023

 178:6                  mouth                   nightgown                135:12,13 136:12,24     67:5 68:1 69:17,18      79:16 99:9 115:22
member                   86:8 201:14             157:19,21 158:7,19      137:19 140:18,23        71:12,16 75:16          127:12 128:7 151:20
 206:18 207:1           move                    nights                   141:4 142:24 143:14     76:18 77:16,17,18       189:21 190:18
memory                   20:18 21:11,14          161:16 169:9,10         144:3 145:20 146:5      78:20 79:23 81:24       207:24 208:21,23
 58:20 72:3 88:10        28:13 68:6 70:23       nightstick               147:11 148:21           84:23 85:4 86:15       Peoria
 111:10 120:9 145:23     95:21                   21:21 22:14,17          150:15 151:2,11         88:5,6 95:9,17,24       10:1,11 34:16 36:18
 161:7,17 162:5         moved                    109:23 177:3            152:19 153:6,9,23       96:19 97:20 100:5       89:18 126:11 151:19
 166:1,5 167:8,18        17:18 19:12 20:13      nightsticks              155:16,24 156:5         102:5 115:16 151:20     154:6 209:14
 177:8 180:24            21:8 51:8,10 90:21      176:9,20                157:4,23 158:9          169:3 172:5,7,18       Peoria-savory
mention                 movement                noon                     159:2 160:24 161:4      173:5 174:16 178:2      44:5 128:17
 209:3                   20:8                    69:6                    162:2 163:3,20          179:7 180:6,22         Pepe's
mentioned               moving                                           164:9 165:12            181:11,19 189:19        163:24 164:4
                                                north
 43:16 46:23 83:13       18:6,17 36:2 54:6                               167:12,17 168:2         194:23 208:16          Pepper
                                                 17:19
 158:20 190:8 212:8      114:5 151:17                                    170:6,21 171:5         officers'                62:15
                                                Northern                 174:20 175:12
mentioning              multiple                                                                 173:12                 percent
                                                 5:12
                                                                         176:13 177:6 178:3,    online
 152:1                   15:10                  notice                                                                   181:17
                                                                         15 179:8,17 180:9,      136:2
merge                   murder                   6:20 154:23             17 182:17 184:22
                                                                                                                        Percy
 136:18                  163:2                  number                                          open                     71:15,20 74:3,6
                                                                         190:24 192:9,20         65:23 66:17 67:6
mess                    murderer                 39:2,3 166:18           193:11 198:7,16,22
                                                                                                                         77:3,11 92:21 93:4,
 211:15                  122:15 131:7            207:15                                         Order                    18 94:16 100:24
                                                                         199:7,14,21 200:8,      6:11 171:15 173:10
met                     murderers               numbered                                                                 101:9 107:4 119:22
                                                                         15,21 201:19 202:4      187:23 188:18
 14:22 30:14,16          122:2                   49:13                                                                   120:3,4,10 152:16,
                                                                         203:8,15,23 205:16,
 119:7 182:20           murders                 numerous                                        ordered                  17 153:3,20
                                                                         23 206:9 208:6
metal                    36:6 93:14 94:17                                                        191:16                 period
                                                 12:22 13:12            objections
 109:24                  95:1,18 98:15 99:19    nunchucks                                       ordering                 85:5 120:11 132:3
                                                                         44:14 66:22
Methodist                103:15 104:6 112:20                                                     212:22                  164:17 168:6 169:16
                                                 199:13                 objects
 35:4,12,16              116:8 117:23 119:24    nunchunks                                       oven                     170:15 200:17
                                                                         48:1
mid                      120:6 121:17            176:23
                                                                                                 201:18                 Perkins
                                                                        occasion                overnight                211:2
 150:23                  155:15,23 161:13
                                                                         203:13,14
middle                   165:21,22,23 167:4                                                      117:15 161:19          permit
                         183:3,8,13 190:23                O             occasionally            oversized                135:17
 21:6 47:9 65:15                                                         24:1
 114:15 122:7 140:12     203:13 205:13                                                           83:3                   permitted
                                                oath                    occasions
 142:21 177:21          Murray's                                                                                         169:15
                                                 34:20                   12:23 13:13
 197:20                  24:15                                                                                          person
                                                object                  occurred                            P
mind                    music                                                                                            58:4 137:8 190:3
                                                 10:6 12:4 15:9 47:11    103:7
 119:7 146:15 147:18     178:11,23 179:1
                                                 61:17 68:3 71:3                                p.m.                    personal
                        mutual                                          Octavia                                          207:16 208:3
mine                                             108:16 134:17 138:5                             38:1 128:23 213:5
                                                                         211:18
 9:8                     74:14                   148:16 160:18                                  packet                  personally
                                                                        office                                           193:7 207:22 208:2
mine's                                          objected                                         166:20
                                                                         37:2,5,15 130:15
 166:14                                                                                         pages                    209:7
                                   N             80:17                   141:24 142:1 152:14
minute                                          objecting                                        128:11,15 195:9,10,    persuaded
                                                                        officer                                          174:19
 12:16 18:19 60:10      N-E-I-M-E-I-E-R          70:19                   14:6,10,12 18:10,13
                                                                                                 14,17 196:8
 69:16 120:20 134:6      134:16                 objection                19:4,11 20:2,13        paragraph               Peter
 159:22                 naked                    10:23 11:10,24 12:1,                            10:19 12:19 15:15       211:9 212:9
                                                                         21:20 22:21 23:22
minutes                  70:8 82:8,19 83:3,19    12,16 13:3 14:23        24:17 25:1,6 27:11      17:15,23 24:21         Petition
 48:18 58:10,11          210:14                  17:20 18:8 19:21        39:4,9 40:3 43:9        50:20 52:6 54:6 56:1    135:6
 69:21 80:6 130:17,     named                    20:4 21:24 22:10,11     44:16 45:17 51:24       64:18 75:22 76:2,5     phone
 22 138:17 174:7         26:12,23 27:4 45:17     23:17 24:3,9 25:2,14    57:24 58:1 60:11        92:19,24 93:2,16        41:7 99:7,8 179:11,
 182:8,10 188:20         52:7,12,18 110:7        26:3 27:1,8,12,15       63:5 64:2,19 65:1,      95:7,8,10 96:14,18      16,22 210:4
Miranda                  133:24 163:7 190:3      28:9,14 29:2,22         13,20 67:13,18          97:20 98:12 100:23     photo
 59:23 63:6,10 64:2,7   names                    30:2,9,20 33:3 34:10    68:11 74:12 76:9        102:8,22 103:4,12       91:6,19
misconduct               207:15                  35:6,18 36:10 37:7      81:11,24 82:1,4,6,7     104:16 108:6 110:11    photos
 185:11 186:10          Natalie                  38:4,10 39:5,14,21      83:13 86:14,23          111:21 112:17 113:4     43:16,20 44:7,12,16
 188:12 207:24 208:4     128:2 133:24            41:2,15,20 44:9         87:21 91:14 93:4        114:5,15 117:20         48:2 91:13,15,24
 209:10                                                                                          119:21 121:12           92:1
                        nature                   47:2,12,20 48:3,20      102:9 107:4 109:24
misheard                                         49:7 50:16 51:20        112:18 113:1 114:8      128:20 136:5           physical
                         26:2 106:15
 29:24                                           52:14 53:2 54:3,11      115:19,22 116:7,14      137:11,12,14 155:3      83:15,18,24
                        NBA                                                                      160:16
mistaken                 182:12                  56:5,9,16 57:5,16       118:23 119:8,15,21                             physically
 153:17 210:15                                   59:15 62:13 63:8        120:2 121:16,19        Parra                    20:16 81:13,19
                        neglected                                                                128:2 134:1
moment                   120:1                   65:8 66:3,19 67:8,15    131:9 132:11 133:8                              209:20,23 210:6
 84:1,2 124:19                                   69:8 71:5,18 72:24      136:6 137:14 160:7,    part                    pick
                        neighbor's                                                               56:3 126:18 155:12
Monday                   179:15,21               73:14 74:16 75:18       11,13 167:1 169:2                               20:22
                                                 76:13 77:6 78:6,22      172:19 174:11           176:19 187:23 191:3
 14:21 93:10 117:23     nephew                                                                                          picture
 180:16                                          79:10,11 80:1 81:15    officer's               participate              44:22 46:22 47:18
                         29:15
                                                 83:16 85:9,19 87:12     46:19                   191:18
money                   Neumeier                                                                                         89:8
 109:22                                          88:8,21 89:21 90:23    officers                partner                 pictured
                         134:15,22
                                                 91:10,20 93:21 94:7,    10:10,18 11:13,21       162:22
morning                 news                                                                                             47:8
 33:2,20,21 34:3
                                                 13,19 95:3 96:5         12:8 13:1,15 15:23     parts                   pictures
                         38:1 54:9,15 56:3       97:4,13,23 98:7,23
 35:13 52:11 53:24                                                       16:1,5 17:7 18:5        82:18                   22:22 44:22 45:1,5,
                         116:2,8 117:9 201:8,    99:11,21 101:5,13,
 60:4,7,12,16 61:14      10 203:20 205:20                                19:1,18,23 20:8        party                    13 46:20
                                                 18,24 102:12,18         22:8,13 23:14,15        169:9
 63:3,7,16 65:6 69:17    207:3                   103:8,18 104:11                                                        pieces
 79:4 95:13 98:14,15    newspaper                                        24:13,24 25:19         passes                   15:10
                                                 105:5 106:21 107:17     26:11,15 27:7,21        184:9
 104:5 105:1,11          56:22                                                                                          pimp
                                                 109:4,17 110:2,14       28:20 29:8,18 30:5     peace
 112:19,20 113:2        night                                                                                            53:9,11
                                                 112:2,12 113:12         31:20 32:1,9,19,24      173:9
 119:24 120:6            27:22 30:8 32:20                                                                               pimps
                                                 114:2,12 115:17         33:19 34:7,16,24
mother                   39:20 40:21 42:15                                                      pending                  53:1
                                                 116:3,10,20 117:16      35:23 36:3,5,7,17,23
 29:12,13 90:17 99:8     54:15 59:20 62:11,                                                      8:2 91:8               Pinkney
                                                 118:3,13,19 119:1,      38:16,22 39:3,23
 103:23 110:23           12 65:15 73:9 93:10,    10 120:7 121:22
                                                                                                pension                  10:3 172:5
 113:22 159:10                                                           42:22 47:24 59:10       211:15
                         20 94:5 111:24          123:1 124:5 125:7                                                      place
                                                                         62:19 63:2,16 64:4,    people
motion                   112:10 161:14,15        127:18 130:23                                                           8:15 12:8 43:21
                                                                         15 65:6,13,24 66:15     57:12,22 60:22
 150:24                  201:13 203:21           131:19 133:10                                                           49:11 63:20 79:3,4,




                                       McCorkle Litigation Services, Inc.                                                                      6
                                        Chicago, Illinois· (312) 263-0052
               1:23-cv-01184-CRL-JEH # 318-2                            Filed: 04/22/24            Page 62 of 65
                                                                                        Johnnie Lee Savory 02/17/2023

 18 80:24 82:11          18 154:5 158:4          202:18                  170:3                   107:24 157:17 175:4    repeat
 89:16 97:17 100:10     pool                    purpose                 reach                    187:24 197:23           7:13 13:6 158:12
 101:4 114:24 115:2,     192:3,7                 185:18                  16:7,22                reflect                 repeatedly
 3 125:23 126:7         Poolle                  pursuant                reaching                 6:17                    125:21
 141:20 147:17 149:7     151:23 190:4            6:10,19                 16:13                  reflected               replace
 156:24 168:18 207:6    pop                     push                    read                     18:11 51:23             84:11 85:8
Plaintiff                62:15                   21:4                    49:14 59:23 64:2,7,    reflects                replied
 6:19 166:7 168:19      portable                pushed                   24 66:9 75:24 76:22     60:10 61:15             172:21 174:13
Plaintiff's              19:19                   20:21,23                128:12,13 133:20       refresh                 report
 5:15                   position                put                      135:21,24 136:3         162:8                   9:19,24 10:17 11:7,
plan                     146:23                  8:23 45:8 84:7 86:8     147:4 171:15 173:15    regard                   22 12:20 13:7,8,11
 6:15 53:9              possibly                 92:9 133:21 136:18,     187:23 188:24           18:6                    14:8 17:14 18:3,11
plans                    127:10 182:3 208:22     22 145:13 157:11        199:24                 reinvestigation          21:18,19 23:19
 33:1                   practice                 159:23 161:10          reading                  186:11 187:4,6          28:10 36:19 45:13,
play                     50:13 151:9             166:6,11 175:7          13:9 36:9,22 63:6,16   relate                   16 46:17,18 49:13
 23:4 31:16             practiced                201:13 207:9,21         159:24                  187:8                   50:12 51:23 60:10,
played                   178:11                  210:3                  ready                   relating                 13 61:15 63:21,24
 109:14                                         putting                  9:15 139:3 189:12                               64:1,18 65:1 67:17,
                        practicing                                                               186:11 188:11
players                                          145:17,23              real                                             21 75:21 92:12 93:1
                         24:22 125:4 142:17                                                     relationship
 52:23,24                                                                200:17 207:7                                    95:11,19,23 98:12
                         143:4,6,7 176:11                                                        74:9,14,15,19
playing                                                                 realize                                          100:8,16,17,21
                         178:20 198:4,15,21                Q                                     170:24
 19:12 21:6,12 23:6                                                      58:24                                           102:7 103:2 104:9
                         206:6                                                                  released                 107:13,24 109:13
 151:8 192:7 206:6      predicate               qualifying              realm                    15:6,17,20
                                                                                                                         112:16,22,24 114:20
pleased                  185:18                  33:12                   151:16 173:9           remains                  123:4 124:10,13
 17:12                  prepared                question                rear-end                 188:3                   125:3 129:8 131:23
plucked                  172:4                   7:16,20,23 8:2 10:7     118:24                 remember                 132:7 136:14,17
 82:13 83:20 85:6       presence                 12:3 15:11,13 20:11    rearranged               10:5,10 16:9,12,16,     139:21 146:2 147:3
 210:14,16               120:4                   22:1 28:15 30:3         90:11                   20,23 18:20 19:1,7,     150:8 151:7 152:12
pocket                  present                  32:18 48:21 66:7,20    reason                   10 24:24 25:5,11,17,    156:3,5 160:6,12
 180:15                  28:24 29:4 49:22        69:24 76:11,12          52:2 70:23 97:22        18 27:3,21 28:1,5       161:18 162:20
point                    50:9 72:16 73:5         86:17 87:19,20,21       98:5 120:2 123:7        29:11 30:5 31:21        164:18 166:10,24
 13:19 19:3 22:14        75:3,16 76:18 77:4,     92:18 98:21 105:6,      171:3 193:2,7           32:16 34:22,23          169:1 172:4 173:6
 23:21 25:19 34:13       12 102:5 153:15         22 131:16 134:18        208:15                  35:19 36:3,7 39:8,      174:10 180:14
 39:8 50:5 66:16         163:1 203:1             135:15,18 138:6        reasons                  17,22 40:3,18,21        186:1,21,23 195:19,
 71:20 72:17,18         pretty                   143:17 148:5,6,17       208:24                  41:4 43:3,9 44:15       23 196:21 202:18
 73:22 75:4 77:15,20     41:8 79:1 173:2         149:24 160:19 161:5    recall                   48:14,16,19 49:3        205:11
 79:7,23 81:7,8,11,      186:13                  165:8 168:3 169:15      7:10 11:12,15 16:8,     51:3,11,12 53:13       reporter
 14,20 82:8 94:11       previously               171:6 175:3 177:2,      11 19:23 26:15          58:13 60:17 61:13,      5:16 8:6 43:24 44:3
 98:16 106:3 116:8       88:7                    22 178:9 179:5,14       28:23 29:7 32:13,19     24 62:22 63:2,5,15      64:21 196:21 202:16
 121:4 143:19 148:4,                             183:14 205:2,3,5        33:18 47:1 50:12,19,    64:6 65:5,12,18,20,
                        principal's                                                                                      212:21,24
 12 151:24 152:13                                212:18                  22 59:12 62:19          24 66:13 67:4,21,23
                         37:2,5,15                                                                                      reporters
 183:22 200:13
                        prior                   questioned               71:24 120:3 130:24      69:7,24 71:15,20,22,
                                                                                                                         56:23 57:2,3 136:19
pointed                                          81:23 132:22            141:5,6,9 164:11,15,    23 72:5,6,13,20
                         14:2 24:2 61:14 78:4                                                                           reports
 36:11 128:1 150:22      80:2 209:8             questioning              17 175:20,24 176:1,     74:3,23 75:5,11,14
                                                                                                                         128:6 129:12 131:1,
pointing                                         61:21 70:7 86:15        4 177:19 179:10         76:17 77:3,18 78:23
                        prison                                                                   84:13 86:18 88:13
                                                                                                                         24 133:17 151:19,23
 59:7 113:5                                      132:4 143:21 154:11     181:11 183:11
                         149:16                                                                                          152:2 189:19 194:22
Polaroid                                         156:19                  192:13 206:16           89:5,24 90:12 91:1,
                        private                                                                  3,5,15,18,23 92:5
                                                                                                                         196:11 199:24
 45:1                                           questions               recess
                         82:18                                                                   93:18 99:7 102:4,11    represent
pole                                             7:17,18,22 10:15        80:10 138:20 189:7
                        privileged               39:24 46:19 60:23,                              105:21 107:1,2          127:4 139:13
 109:24                  135:16
                                                                        recognize                                       requested
                                                 24 63:23 70:24          26:21 126:14            108:13,17,21 109:6
police                  probation                                                                                        66:10 76:23
                                                 100:4,20 111:9,19       163:15,16               118:14,17 122:8,10
 10:1,11 18:14 20:8      74:11 107:4                                                                                    requesting
                                                 141:14,15 142:11       recognized               124:22,24 125:1,9,
 34:7,16 35:1,23
                        problem                  147:6 148:2,9           38:2 47:17 48:1         13 126:3,20,23,24       121:17
 36:16,18 39:3,4
                         185:19                  165:19 180:13                                   127:7,24 128:3         residence
 51:17,24 55:7 56:23                                                    recollection
 57:2,9,14,23 59:14
                        problems                 181:5,13,21 194:8,      23:24 25:9 32:11
                                                                                                 129:5,8,13,14           12:24 13:14 25:7
                         49:3                    22 202:21                                       130:12 131:2,21         162:15 197:24 203:1
 60:7,15 61:13 62:18,                                                    33:5,7 87:14 90:2
 19 63:21 72:8 93:6     proceed                 quick                    97:16 145:16
                                                                                                 132:3,13 141:11        residents
                         6:13                    207:7                                           145:6,7,17 146:16       191:5 192:16,18
 115:13 119:15 128:5                                                     158:11,15 162:8
                        proceeded               quit                                             147:1,13,15 148:10      193:13
 131:24 150:13                                                           167:19 173:3
 151:19 152:11 153:1     29:16                   123:9                  record
                                                                                                 149:2 150:14           respect
                        process                 quoting                                          151:18,23 152:1,2,      99:20
 154:6 158:3 172:7                                                       5:15 6:17 9:11 49:16
                         61:1,2                  65:20                                           17,21,22,24 153:1,     respond
 177:4 180:22 181:1                                                      65:1 66:9 76:22
                        prove                                                                    14,16,18 154:3,8,9      64:11
 185:13 189:19                                                           80:9,13 81:5 100:13
                         127:10 149:17                                                           162:7 163:23 165:17    responded
policeman                                                  R             119:6 138:19,23
                                                                                                 168:5,8 170:8 172:8
 54:10 56:12            pubic                                            170:11 173:23 174:2                             209:13
                         82:14                                                                   175:21 176:15          responding
policemen                                       radio                    189:6,10 193:23
                                                                                                 177:17,18 181:19
 111:14                 published                37:6 116:9              212:20                                          129:17
                                                                                                 183:7 184:4,12
polygraph                135:22                 raised                  recording                                       rest
                                                                                                 189:24 190:3,5,7,8,
 41:13,19,23 42:8,15,   pull                     144:1 157:2             5:6                                             203:2
                                                                                                 10,14,17,19 191:21
 19 43:5,13 48:9,15      16:7 82:22 160:16      ran                     recount                  192:4,5,15,19
                                                                                                                        resumed
 49:4,13,21 59:11,12,   pulled                   96:23 97:11 102:24      169:3 202:18                                    128:23
                                                                                                 199:23 201:14
 13,16,19 73:17,19,      82:12                   150:2                  recounting               204:1,7,14 208:16,     rethink
 24 74:1,22 75:8 77:9   punching                rap                      97:21                   20 211:3,4,6,7,11       90:19
 84:16 85:5,18 86:18     143:24                  118:1                  refer                    212:10                 retire
 92:22 120:17,19,21,    purchased               Ray                      196:17                 remembrance              211:14
 23 121:3,7,15 122:6     24:14                   31:5 53:11,17 69:1,2   reference                88:23                  retiring
 129:3,15,18,21,22      purports                 93:11,20 94:6,10,16,    133:23 134:3                                    212:5
                                                                                                remotely
 130:3,15,16 132:4       9:24 46:18 49:12        24 95:12,23 97:10       158:17,18                                      return
                                                                                                 146:23
 140:14,15 141:24        160:10 169:2 172:4      102:23 112:11          referring                                        33:1 139:2 162:16
 142:1,23 152:6,14,
                                                                                                remove
                         195:19 197:16           159:10,11 165:20        15:14 23:18 42:8        20:17




                                       McCorkle Litigation Services, Inc.                                                                      7
                                        Chicago, Illinois· (312) 263-0052
                 1:23-cv-01184-CRL-JEH # 318-2                          Filed: 04/22/24            Page 63 of 65
                                                                                        Johnnie Lee Savory 02/17/2023

returned                scene                    28:12 45:6 46:21,24     205:18,24 206:10,23     103:11,21 104:14       spent
 110:10 152:15           22:23 56:22             51:5,9,18 90:8,17,20    207:4                   105:7 106:23            93:10,19 94:5
 161:20                 school                  sexual                  sister                   107:18,23 108:4,19      149:15 161:15
review                   14:13,14,17,21 15:6,    164:23                  29:14,21 30:7,15        109:8,20 110:5,17      split
 135:10                  16,19,20 36:8,18,21    Shake                    31:2,6 162:23 171:2     111:5,13,15,20          65:23 66:17 67:5
reviewed                 38:20,21 55:17 96:9     69:12                   205:14                  112:3,7,8,15,23        stabbed
 139:13                  107:14,15 108:1        share                   sister-in-law            113:9,17 114:4,14       200:6
Rice                     114:9,21 115:5          9:2                     96:22 97:10             115:20 116:6,13        stabbing
 12:24 13:14,20,22       116:9 168:16 172:6,    sharp                   sit                      117:1,19 118:6,16,      200:13
Richardson               9 176:3 183:23          180:2                   16:23 17:6 124:24       22 119:4,14 120:12     stack
                         184:2,10 191:20                                 125:15 132:21           121:4,5 122:13
 172:19                                         shoes                                                                    8:13,23 45:20 46:6,
                        Schroeder                                        153:12 208:13           123:2 124:11,14
ride                                             188:15                                                                  12
                         7:11                                           sitting                  125:11 126:7,9
 96:24 97:12 103:1                              shook                                                                   staff
                        Scopey                                           25:12 30:12 71:24       127:20,21 131:3,17
rights                                           83:8                                                                    127:23 192:16
                         10:20 13:8,9,19                                 89:7 90:18 175:17       132:8 133:13 134:19
 59:24 63:6,10 64:2,                            short                                            135:19,20 136:20
                                                                                                                        stage
 7,14                    14:9,13,18,22 15:8      76:7 80:10 138:20       190:19 192:5                                    28:13
                         16:3,7,13 17:17,18                                                      137:3,21 138:7,15
rod                                              152:4 189:7 197:22     sleeping                                        stamped
                         19:18 20:14 21:20                                                       139:1,7,8,24 140:2,
 47:8 134:11                                    shortly                  53:24                                           9:18 92:17
                         22:14,17 23:11,15,                                                      3,20,24 141:1,8
rode                                             174:18                 slept                    142:21 143:2,22        stand
                         23 24:1,5,13,18                                 60:3
 152:23
                         25:19 26:8 27:22
                                                shoulders                                        144:9 145:1 146:1,      20:17,19,20 88:17,
rolled                                           8:4                    sliced                   14 147:21 148:18,23     18 89:3 90:20 91:3,
                         28:1,4 30:6 32:5,10,                            203:5
 88:19                                          show                                             150:18 151:5,15         6,19 92:6 175:22
                         20,24 39:19 40:20
rolling                                          43:18 184:9 186:1      small                    153:2,7,13 154:2       standing
                         46:23 50:13 51:10
 51:9,10 131:8                                  showed                   21:16 85:12             155:20 156:2,7,8        57:12 122:9 124:22
                         52:10 68:17 69:2
room                     96:24 102:24 107:15     22:22 44:8,16,17       smelled                  157:15 158:2,16,23      125:2 132:16,20
 17:18 21:5,7 30:12      108:1,2,8,24 109:14     91:15,24 92:6 136:1     170:17                  159:4,15,18,22         stapler
 72:8,9,16 75:4          110:12,23 115:12        170:17                 smelling                 160:3,4,20 161:1,9      197:7
 77:15,19 78:2 86:20     125:5 142:17 143:4,    showing                  170:20                  162:6 163:6,10,14,     start
 89:3,19 114:10,22       12,24 145:15 146:3      78:16 183:23           Smith                    22 164:13 165:10,15     156:18 159:24
 121:15 124:1,15         163:2 172:20 174:12    shown                    128:2 134:1             166:6,9,13,15,23        171:16 187:17 196:3
 136:7 140:15 141:21     176:24 179:23           194:15                 Smolley                  167:14,22 168:7,18,    started
 175:7 178:10 191:12     180:13 190:23 199:5    shrug                    104:1                   22 169:17 170:1,13,     39:9 60:20 61:13
Rosemary                 200:6,14 201:8,17       8:4                    Smolley's                23 171:9,13,21,24       70:19 71:3 127:2
 31:6 96:23 97:11        204:12 205:13          shrunk                   106:8 113:15,20         172:1 173:4,15,18,      132:23 137:12
 102:24                  206:5,17                50:3                   Snickers                 24 174:3,6,9 175:1,     141:6,13 142:12
rough                   Scopey's                                         62:14                   15 176:18 177:10,14     150:21 151:8 157:18
                                                siblings
 111:1                   12:22 13:12 25:7                               solitary                 178:7,18 179:12,20      158:6 175:9 176:9
                                                 117:3
roundabout               28:7,18,24 29:4 31:2                            191:3,8,10              180:11,21 181:10,      starting
                                                side                                             16,18 182:6,9,11,13,
 80:21                   38:2,14,17 39:2         20:21 58:9 197:14      solve                                            81:6,8 141:9 184:3
row                      53:18,23 55:1 90:16                                                     23 185:1,9,24 186:3,    191:16
                                                 202:23                  149:18 182:4
 47:8                    110:23 111:23                                   209:12,16               16,23 187:2,5,15,20    starts
                                                sides                                            188:20,22 189:4,11
rules                    112:10 116:16 120:5     82:17 195:11           son                                              64:19 75:22 96:15
                         150:3 161:12 175:5                                                      191:9 192:11,22         114:6 119:21 128:22
 6:21 7:11                                      sign                     209:13,19
                         178:10 179:6 198:3,                                                     193:16,23 194:15,20     165:3 196:1
run                                              154:12,15,16           Sotos                    195:8,15,18,24
 8:16 58:12 186:18       14,20 205:12            156:15,21               6:2,15,17 7:5 8:20                             state
                                                                                                 196:5,8,12,16,22        9:15 13:15 37:14
run-ins                 scratching              signed                   9:3,12,13 10:8 11:1,    197:3,7,9,12,15         49:15 125:14 149:7
 201:3                   187:24                  63:21                   11 12:2,6,13,18 13:4    198:9,18 199:1,10,      161:12
running                 screaming               sin                      15:1,12 17:21 18:12,    18 200:3,11,18,23
 132:19                  157:18,20 158:7         99:9                    15 19:22 20:6 22:2,                            stated
                                                                                                 201:22 202:8,15
runs                    scrub                                            5,12 23:20 24:4,11                              11:7 20:16 36:20
                                                single                                           203:11,18,19 204:6,     77:11 91:22 93:9,13
 38:2                    70:8 82:8               87:19                   25:4,15 26:6 27:2,9,    21 205:3,9,10,19
                        scrubbed                                         16,19,20 28:12,16                               96:15 131:24 132:6
rush                                            sir                                              206:1,11 207:6,10
                         83:19                                           29:3,23 30:4,13,21                              141:18 165:4 197:22
 172:13                                          7:9 8:11 10:15,16                               208:9,10 210:22
                        section                                          31:1,9 33:6 34:13,14                            198:1
Russell                                          11:6,23 12:11 13:17                             212:12,17,23
 208:2,13                150:23                                          35:9,21 36:14 37:10                            statement
                                                 14:7 23:10,12 26:4,                            sound                    10:22 18:16 19:4
                        seeking                                          38:6,12 39:7,16
                                                 13,20,22,24 27:5,24                             48:18 69:6 130:18
                         135:6                                           40:2,7,10,17 41:12,                             20:7 22:6,7 40:14
                                                 28:3,22 29:19 31:4,                            sounds
          S                                                              17 42:1,10 43:21                                65:21 67:10,19
                        send                     8,13,15,17,24 32:3,                             131:11 190:16
                                                                         44:1,4,11,24 45:4,8,                            68:11 76:7,10,15
sad                      128:6                   6,8,11 33:10,16,22                             speak
                                                                         11,18,23 46:3,15,16                             87:15 90:19 98:9
 98:16                  sense                    34:1 35:2 43:17                                 122:3,4 124:20          154:13,15,17
                                                                         47:6,14,22 48:6
Sara's                   41:7 63:1 79:20         48:5,8,13 51:15                                 209:15
                                                                         49:1,9,17,19 50:18                              156:15,21 158:15
 188:5                  sentence                 52:4,8,16,20 53:4,7,                           speaks
                                                                         51:22 52:17 53:5                                204:22 206:14,20
sat                      15:15 17:23 19:17       10,15,19,21 54:4,24                             156:6
                                                                         54:5,13 56:6,10,18                              207:2
 141:13 153:3 179:2      21:19 51:4 75:24        55:3,6,23 56:17,20                             Specialist
                                                 57:6 58:6 62:7,21,24
                                                                         57:7,17 58:20 59:3,                            statements
Saturday                 107:5 112:17 137:13                                                     5:2
                                                                         8,17,18 61:6,8,19,23                            39:11,12 65:2,4,7
                         143:23 162:14           63:14,18 65:19 66:5
 160:14                                                                  62:16 63:9 64:23       specific                 117:21 145:10
                        separate                 67:14 69:4 76:16
Savory                                                                   65:11 66:6,12,21,24     70:24 148:8,9 210:2     153:22 172:22
                         45:1                    77:1,22,24 78:3,18
 5:7,10,19,21,23 6:1,                            79:22 86:13 94:8,14,
                                                                         67:3,11,16 68:5,7      specifically             173:6,11,12,19
 10,19 7:1,6 9:4,18     sergeant                                         69:11 71:7,19 73:2,     91:3 121:18 169:17      174:14 185:14
                         211:12                  20,23 95:5 100:3,22
 45:15 46:18 49:18                                                       18 74:17 75:20          185:10 186:11 188:6     189:20
                        series                   104:2 105:9 115:10,
 63:22 81:5 89:12,16,                            23 116:5 130:8
                                                                         76:12,14 77:2,8,13      194:8 210:5            states
 18 92:15,17 93:6        43:19 180:12                                    78:8,9 79:6,12 80:7,   speculate                5:11 12:21 13:8,11
                                                 139:4,16 140:11
 100:15 126:10,11,13    Services                                         19 81:3,16 83:9,12      98:8                    15:16 17:16,22 95:9
                                                 147:23 159:1 160:23
 127:15 139:2 142:23     5:3                                             84:3 85:14 86:1        speculating              100:23 107:3 108:6
                                                 162:4,19 163:21
 160:5,8 162:14         session                  164:3,6 165:18
                                                                         88:4,12 89:1,8,15       193:17                  112:24 121:12,13
 165:4 166:16,18,24      7:16 34:12                                      90:3 91:2,17 92:4,9,   speeding                 132:10 162:14 169:5
                                                 167:11 178:5 190:2,
 168:23,24 172:3,12     sessions                 20 191:2 197:19
                                                                         12,14 94:1,9,15,21      70:11                   197:21 202:24
 187:6 188:2 189:14      72:1                                            95:6 96:6,10 97:7,18   spending                stating
                                                 198:24 199:3,9
 194:3,4,5,6,17,21      set                                              98:4,10 99:2,14         59:20                   11:12 117:22 180:15
                                                 200:10,16 201:6,21
 195:6,12 196:14         19:19 20:9,13,19                                100:1,9,13,19 101:8,
                                                 202:1,6 203:10,16
 202:10 207:11                                                           14,21 102:2,15,20




                                       McCorkle Litigation Services, Inc.                                                                      8
                                        Chicago, Illinois· (312) 263-0052
                 1:23-cv-01184-CRL-JEH # 318-2                          Filed: 04/22/24             Page 64 of 65
                                                                                       Johnnie Lee Savory 02/17/2023

station                 supposed                 61:5,16 62:13 63:8     tendency                 162:12 163:12,23       truancy
 18:14 34:8 59:14        53:23 157:24            65:8 66:3,19,23 67:8    8:4                     164:5 168:6 170:10      74:11
 60:8,21 61:21 62:1,    suspect                  68:3 69:8 71:5,18      Teplitz                  171:21 172:7,24        true
 18,20 93:6 152:11       43:2                    72:24 73:14 74:16       84:23 85:4,16 86:14     179:14 182:6 183:12     27:10 37:21 56:3
 153:1 158:3 181:4,     swear                    75:18 76:11,13 77:6     100:7,17 104:3          184:12,16 186:18        81:17 88:2 90:1 96:4
 12,20                   5:17                    78:6,22 79:11 80:1,     110:1 112:1,9 114:8     189:5,10 197:22         98:6 107:15 131:10
stay                    sworn                    14 81:2,15 83:8,16      116:15 117:22           198:2 205:15 212:19     182:16
 111:16 152:14 161:2     6:7 7:2                 85:9,19 87:12 88:8,     118:23 140:13          timeframe               truth
 184:15 186:13                                   21 89:21 90:22          152:16 154:10           35:17 85:18 86:5        87:16,24 144:17,18
stayed                                           91:20 92:11 93:21       186:24 208:2           times                   truthful
 106:12 117:15 150:5               T             94:7,13,19 95:3        terms                    79:13 144:12            57:21 129:23
 160:13 161:19                                   96:5,8 97:4,13,23       49:5 80:15,18          Timmes                  Tuesday
                        T-O-M-P-K-I-N-S          98:7,23 99:11,21
Steak                    134:15                                          139:12 174:15           211:10,12,17 212:3      36:21 93:3 113:3
 69:12                                           100:12 101:5,13,18,     175:10 176:11 178:1    Tina
                        table                                                                                           turn
Stenson                                          24 102:12,18 103:8,    test                     52:12,19,22 106:5
                         17:18 18:6,17 19:5,                                                                             17:11 21:1 50:11
 209:4,9,18                                      18 104:11 105:5         41:23 42:8 43:5 74:1    116:22 183:23 185:4
                         11,14,19 51:9,10                                                                                64:17 176:6
                                                 106:21 107:17           75:8 84:16 120:19
step                     89:9 90:4,8,13,18                                                       202:19,24 205:14       turned
                                                 108:16 109:4,17         129:3,15,18,21,22       206:5
 29:12                   91:1 175:8 179:2                                                                                118:24 125:5 131:13
                                                 110:2,14 111:3          130:3
stepfather               192:3                                                                  Tina's                   132:11,14 133:9
                                                 112:2,4,12,21          testified
 29:13                  Taco                                                                     104:10,17 105:15,19     136:7 142:18 143:5
                                                 113:12 114:2,12         7:3 34:19,20 55:16
stick                    164:1,4                                                                 106:2 116:19 203:1      147:7 209:17
                                                 115:17 116:3,10,20      59:2 60:2 88:16
 22:18 26:2             tacos                    117:16 118:3,13,19
                                                                                                today                   TV
sticks                                                                   90:17 102:3 109:2       10:21 16:23 17:6        19:19 20:13,19 45:6
                         164:1                   119:1,10 120:7
 21:22 22:15,21 23:1,                                                    175:22 185:19           25:12 67:18 136:1       57:3 90:7 125:5
                        takes                    121:2,22 123:1          199:12,20 201:7
 8,11 109:15 176:10,     183:17                  124:5,9 125:7                                  told                     142:18 143:5 175:7,
 21 177:1 199:5                                                         testify                  10:18 17:6 19:18        17,19,22 176:7
                        taking                   127:18 130:23
                                                                         122:22 187:13
stomach                  120:18                  131:15,19 133:10,12                             20:2 22:8 27:22         192:1
 65:23 66:17 67:6                                135:12 136:12,24
                                                                        testifying               28:20 29:7,18,20       tweezer
                        talk                                             153:16
stood                                            137:19 139:6,23                                 31:20 32:1 34:7         82:9
                         57:1,8 60:7 64:4,14
 57:11                                           140:1,18,23 141:4      testimony                38:22 41:5,9 42:24     tweezers
                         68:17 69:2 71:12
stop                                             142:20,24 143:14        14:5 33:8,23 34:6       43:9 50:19 51:17,24     82:22
                         77:5 81:6 101:1,3,
 110:24 122:5,11                                 144:3,11 145:20         56:13 90:7 99:18        65:10,22 66:1 67:12    types
                         10,23 120:13
 123:8 144:7,20,21                               146:5 147:11 148:21     105:2 143:11            70:19 82:5,7 90:16      199:5
                         121:17,18,21 122:4
 147:5 184:6             123:6 132:22 164:23     150:15 151:2,11        thing                    93:13 94:5 95:24
                                                                         6:8 40:9 102:22         96:19 98:13 100:24
stopped                  172:20,22 174:12,       152:19 153:6,9,23                                                                 U
                                                 155:16,24 156:5         127:2 146:20 193:19     101:9,15 102:10
 85:22 123:14            13,19 182:11,14
                                                 157:4,23 158:9,22       204:1                   108:24 109:3,5,9
store                    187:10,11 188:11
                                                                                                 113:1 114:8 119:8,     ugh-ugh
 30:19 31:3              190:22 192:18 202:6     159:2,13,17,20         things                                           8:5
                                                 160:1 161:4 162:2       32:15,16 40:13,18       23 125:17,24 132:16
story                    203:21                                                                                         uh-huh
                                                 163:3,9,11,19 164:9     41:5,10 70:11 80:23     133:6 136:21 144:16
 97:22 102:10 126:14    talked                                                                   146:7,8,10 147:2        8:5
                         18:13 39:4 49:6 54:9    165:6,8,12 166:8,11,    105:3 132:1 136:16
 128:8 136:18                                                                                    149:3 154:21 155:5,    Um-hm
                         56:1,12 59:11 60:15     19 167:12,17 168:20     142:13 145:4 146:10
straight                                                                 148:9 151:14 157:12     6,13,14,18,22 156:9,    64:20 96:17
 31:23 169:9             68:15 71:16 78:19       169:13,22 170:6,21
                                                                         158:5 186:4,7           20 158:4 167:24        unacceptable
                         80:14 93:4 99:19        171:20 173:1 174:20
stray                                                                    187:17                  168:10 169:6            156:17
 111:9                   102:23 120:23 121:6     175:12 176:13
                                                 177:6,13 178:3,15      thinking                 174:11,21 176:1        unclear
Street                   139:11 167:2,23                                                         180:22 184:2,5,11       157:24
                         172:7 187:18 193:6      179:8,17 180:9,17       53:13 79:8 80:16
 12:24 13:14,20,23                                                       118:17                  198:2 199:12,19        understand
                         204:17                  181:9,14,17 182:10,
 15:7,18 16:3 37:6,16                                                                            200:1 203:4 209:22      7:17,21 15:13 18:21
                        talking                  17 184:22 186:21       Thompson
 93:12,15 94:18 95:2                                                                             211:13,16,17 212:3      40:14 42:13 58:21
                         18:9 19:2 34:12 40:6    187:1 190:24 192:9,     151:22 168:15
strike                                           20 195:22 196:3,10,     169:4,20 170:3         Tommy                    61:4 72:21 79:17
 69:19 95:20             42:14 59:16 61:13                                                       151:22 190:6            83:9,11 86:9 88:3
                         62:19 69:16,18          15,19 197:1,8,10,14     171:11 190:6
string                                           198:7,16,22 199:7,     Thomsen                 Tompkins                 106:2 111:13,19
 177:5                   76:18 77:8,9 79:8                                                                               127:1 145:8 147:24
                                                 14,21 200:8,15,21       5:24                    134:14,21
                         84:23 93:18 102:4                                                                               148:6 149:21,23
strip                                            201:19 202:4 203:8,    thought                 tons
                         107:19 114:19                                                                                   207:17
 210:14                                          15,23 204:19 205:1,     47:9 118:21 156:9       44:17
                         120:10,16 121:2
strokes                                          5,16,23 206:9 208:6                            top                     understanding
                         122:5 137:12 152:6                             thoughts
 189:18                                          210:21 212:15,18                                17:19 36:19 46:22       89:4 97:16
                         160:21 167:19                                   157:11
struck                                           213:2                                           50:11,20 82:13 93:1    understood
                         183:22 185:4 186:22                            throwing
 188:1                                          tears                                            98:20 108:6,11          7:23 64:3,14
                         190:10 192:6,13,15                              114:9,22
stuck                    208:20                  123:18 131:8                                    113:4 134:11 152:13    underwear
                                                                        Tiarks
 146:3                                          technically                                      155:3 157:16            83:5
                        tan                                              211:9 212:9
stuff                    47:10                   169:18                                          166:11,21 168:20       uniforms
                                                                        time                     178:13 207:14
 143:21                                         television                                                               57:23
                        Taylor                                           5:9 7:10 8:16,24
Styrofoam                5:18,19 6:8,16 9:2      20:9,17 38:1 46:21      12:4 15:7 18:10,14
                                                                                                topic                   United
 191:13                  10:23 11:10 12:1,5      51:5,9,18 88:17                                 185:10 186:17 188:2     5:11
                                                                         19:2 20:3 22:24
submitted                13:3 14:23 15:9         90:17,20                23:18,21 25:1 27:3     topics                  untrue
 135:11                  17:20 18:8 19:21       telling                  30:14,16 31:21 34:2     6:11,12                 145:11
substance                20:4 21:24 22:4,10      19:23 24:24 25:18       35:16,20 38:17         town                    upset
 138:1                   23:17 24:3,9 25:2       26:15 27:21 28:1,23     39:24 48:16 53:8,14     58:9                    156:14 157:8
sued                     26:3 27:1 29:2,22       29:11 30:5 32:12,19     58:13 60:17 61:3,24    traumatic
 194:23 208:24           30:9,20,22 31:7 33:3    33:19 34:23 36:3,7      62:22 63:11 67:22,      210:24
                                                                                                                                   V
suggested                34:10 35:6,18 36:10     50:12 65:13 66:1        23 68:16,18 69:10      treated
 82:1 146:8 149:4,5,6    37:7 38:4,10 39:5,      75:15 87:13,15,16       70:2,20 74:7 75:11,     49:6                   vagina
 151:14                  14,21 40:8 41:15,20     93:19 95:19 107:2       14 76:7 78:13 80:8,    trial                    150:22
suggests                 42:4 43:23 44:2,9,      108:18 125:10           13 84:21,24 85:23       151:18 152:2 153:4,    verbal
 67:1                    14,19 45:3,7,10,19,     132:23 145:17 147:1     90:1 94:11,12 99:20     5,8,11,15 186:6,8       8:3,10
summarize                22 46:2,7,10 47:2,      149:2 153:19,20         104:4 106:7 111:9       187:7 191:15 195:1     version
 9:24                    12,20 48:3 49:7         179:10 180:24           114:18 119:7 132:1     trouble                  45:5
                         50:16 51:20 52:14       181:11,19 211:11        133:1 135:3,7           180:1
suppose                                                                                                                 versus
 169:18                  53:2 54:3,11 56:5,9,   temporary                138:18,23 147:18                                5:10
                         16 57:5,16 59:15        74:10                   149:11 154:10,23




                                       McCorkle Litigation Services, Inc.                                                                      9
                                        Chicago, Illinois· (312) 263-0052
                  1:23-cv-01184-CRL-JEH # 318-2              Filed: 04/22/24   Page 65 of 65
                                                                     Johnnie Lee Savory 02/17/2023

victim                 Williams'              yesterday
 108:12 119:23          106:9 183:16           204:3
victims                window                 young
 155:4                  8:17 122:9 124:23      163:7
Video                   125:2 132:20          youths
 5:2                   witnesses               192:1,6
view                    196:7
 136:15 185:12         woke                              Z
violated                33:19 34:17,18,20
 83:23                  94:11 112:19 113:1    zoom
visit                  woman                   9:10
 35:4,24 119:23         133:24
visiting               won
 54:1                   108:8,13
voice                  wonderful
 154:24 157:2           103:23
                       word
                        125:18 138:3 144:19
            W           176:10 210:6
wait                   worded
 12:15 76:1 117:24      126:3 147:15
 131:15 134:6 144:13   words
 160:1 165:6,8          86:8 113:6 128:10
 195:10                 137:16 201:14
wake                   worked
 35:5                   139:12
walked                 working
 15:7,17 124:1          137:9
wall                   world
 17:19 21:2 51:6,14     157:13
 90:5 125:5 142:18     wrestle
 143:5                  31:14 88:20
Walter                 wrestling
 210:13                 19:13 21:12,15 23:4
wanted                  31:16 110:12,19,24
 38:21 43:6 101:3,23    143:8 175:9
 102:9 116:2 117:23    write
 121:18,20,24 122:11    102:9 127:16,22
 124:18 126:4 140:16    130:21 131:18
 141:2 144:6,8,21       132:10 133:7,11,16,
 146:18 147:4,19        18 137:17
 151:9 154:16 180:3    writes
 193:14 207:20          108:23 110:12
wanting                 111:22 140:14
 77:5 83:14             160:13
ward                   writing
 93:7                   126:21 127:9 129:5,
washroom                11 195:11,16 209:11
 82:5 138:14           written
watch                   112:6 131:22 132:2
 192:1                  135:10 160:6 167:1
watching               wrong
 201:10 205:20          12:3 13:10 86:7
weapon                  104:18,20 125:24
 180:14,20 181:1,2      141:21 169:14
weapons                 209:18
 50:14                 wrote
wearing                 21:20 127:8,11
 82:1 157:18,21         129:6 130:24 132:1
 158:7                  133:18 136:11 138:8
Wednesday               140:14 142:2,15
 167:5 169:7            145:4 156:3 158:5
West
 5:8 16:2                        Y
Western
 164:1                 Yarburaugh
wheels                  151:22 190:15
 20:20 88:18 89:3      year
 90:14,20 91:4,7,19     27:23
 92:6 175:23           years
white                   18:18,19 24:6 33:14
 27:23                  61:2 62:23 91:7,12
whomever                118:11 141:12
 36:13                  147:7,8 161:7
wide                   yell
 65:23 66:17 67:6       48:11
wife                   yelled
 199:17,19              79:24 81:11
William                yelling
 5:10 151:22 190:3      87:5 122:14




                                      McCorkle Litigation Services, Inc.                        10
                                       Chicago, Illinois· (312) 263-0052
